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                        In The Matter Of:
                    Steven Wayne Fish, et al. v.
                           Kris Kobach




                      Jesse T. Richman, Ph.D.
                           April 21, 2017




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Kris Kobach                                                                                                        April 21, 2017
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 7                              )                                7
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 8                              )                                8
     V.                         ) NO. 16-2105-JAR-JPO
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10   official capacity as       )                               10   NO.        DESCRIPTION                                   PAGE
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 1                  Videotaped deposition upon oral
                                                              1 the record, please?
 2   examination of JESSE T. RICHMAN, Ph.D., taken on behalf
                                                              2      A Yes. My name is Jesse, J-E-S-S-E, T.,
 3   of the PLAINTIFFS, before Kerry E. Zahn, Registered
                                                              3 Richman, R-I-C-H-M-A-N.
 4   Merit Reporter, a Notary Public for the Commonwealth of
                                                              4      Q I'm just going to go over really quickly
 5   Virginia at large, taken pursuant to notice, commencing
                                                              5 some basic ground rules for the deposition.
 6   at 8:38 a.m. on Friday, April 21, 2017, at the offices
                                                              6      A Thank you.
 7   of Zahn Court Reporting, 208 East Plume Street, Suite
                                                              7      Q The first is that when I ask you a
 8   214, Norfolk, Virginia.                                  8 question, if you could please give a verbal answer --
 9                                                            9      A Of course.
10                  (Expert Report of Dr. Richman marked as  10      Q -- rather than a gesticulation or a head
11                   Richman Exhibit Number 1)               11 nod or something like that, because the court reporter
12                  (Curriculum Vitae of Jesse T. Richman,   12 can't get that down.
13                 Ph.D., marked as Richman Exhibit   Number 13      A Undoubtedly.
14                   2)                                      14      Q I'm going to ask you to let me finish my
15                 (Questionnaire marked as Richman Exhibit  15 questions before you start answering, and I'll try to
16                   Number 3)                               16 do the same for you.
17                  (Compilation of names marked as Richman  17      A Thank you.
18                   Exhibit Number 4)                       18      Q Again, that's for the court reporter.
19                   THE VIDEOGRAPHER: This is the video     19 She can't record it if we're cross-talking over each
20   deposition of Dr. Jesse T. Richman, in the matter of    20 other. Is that okay?
21   Stephen Wayne Fish, et al., versus Kris Kobach, et al., 21      A That's fine.
22   U.S. District Court, District of Kansas, case number    22      Q It's okay to take a break whenever you
23   16-2105-JAR-JPO.                                        23 want.   The only thing that I would ask is that if I've
24                  This is held at 208 East Plume Street,   24 posed  a question to you, that you answer that question
25   Norfolk, Virginia. The time is 8:38 a.m., April 21,     25 before the break. Is that okay?


                                                      Page 6                                                       Page 8

 1   2017.                                                      1      A I -- in most circumstances. I can
 2             My name is Gary Payne, Jr., on behalf of         2 imagine some circumstances in which I might object to
 3   Zahn Court Reporting, located in Norfolk, Virginia.        3 that, but in general, yes, that sounds reasonable.
 4             Will the counsel please introduce                4      Q Okay.
 5   themselves.                                                5           You understand that you're under oath
 6             MR. HO: Dale Ho for the plaintiffs.              6 today under penalty of perjury?
 7             MS. LAKIN: Sophia Lakin for the                  7      A Yes.
 8   plaintiffs.                                                8      Q Is there any reason you can't give
 9             MR. ROE: Garrett Roe for the defendants.         9 truthful answers to questions that I pose to you today?
10             THE VIDEOGRAPHER: We are now on the             10      A Not that I'm aware of.
11   record.                                                   11      Q Okay. What did you do to prepare for
12             Would you please swear in the witness.          12 today's deposition?
13             (Discussion off the record)                     13      A I, I spent a little bit of time reviewing
14             MS. MORTIMER: Margaret Mortimer from            14 the documents that I had provided in this case, my
15   Dechert.                                                  15 reports, and that was about it.
16             THE COURT REPORTER: Thank you.                  16           About a month ago, I borrowed from the
17                                                             17 library a book on depositions which I leafed through,
18           JESSE T. RICHMAN, Ph.D., was sworn and            18 so I guess that was also deposition preparation of a
19   deposed on behalf of the Plaintiff as follows:            19 sort. So primarily what I've done is a little bit of
20                                                             20 review of my notes.
21              EXAMINATION                                    21      Q Did you meet with anyone to prepare for
22   BY MR. HO:                                                22 today's deposition?
23      Q Good morning, Professor Richman.                     23      A Not really. I -- I did have breakfast
24      A Good morning.                                        24 with Garrett. We mostly talked about other things, but
25      Q Could you state and spell your name for              25 we did speak for a couple of minutes about the


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 1 deposition.                                              1       Q Great.
 2      Q Is that the only meeting that you've had          2       A So that --
 3 in preparation for today's deposition?                   3       Q Could you at a very high level summarize
 4      A Yes.                                              4   your opinions in this case?
 5      Q And by "Garrett," you mean defense                5       A Well, I, I discussed a range of different
 6 counsel in the room today?                               6   sources of evidence. The general charge I was given
 7      A Exactly.                                          7   was to investigate the question of whether a
 8      Q About how long did you meet this morning?         8   substantial number of non-citizens were registering to
 9      A Breakfast started at about 7:45 or so and         9   vote or attempting to register to vote in the state of
10 concluded at about 8:15, 8:20.                          10   Kansas, and so I focused my investigation and report on
11      Q Okay.                                            11   those issues primarily.
12           I'm going to show you what's been marked      12             The -- I began by reviewing some evidence
13 as Exhibit Richman 1.                                   13   from national-level data, looking at broadly the
14      A Thank you.                                       14   question of the prevalence of non-citizen registration
15      Q Do you recognize this -- it already has          15   to vote, including specific evidence such as evidence
16 a, a sticker on it. You don't need to --                16   from the Cooperative Congressional Election Study
17      A Okay. I see it there.                            17   suggesting that a certain, not large, but potentially
18      Q I'll give copies to others.                      18   substantial and significant position -- portion of
19           Do you recognize this as the initial          19   non-citizens nationwide do register to vote.
20 expert report that you provided in this case?           20             And I discussed in the report, in the
21      A That's what it looks like, yes.                  21   attachments, evidence that kind of confirms this, in
22      Q How much were you compensated for this           22   terms of people who were asked twice that -- whether
23 report?                                                 23   they were non-citizens or not and twice said they were
24      A I was compensated at a rate of $100 per          24   non-citizens; asked whether they were registered to
25 hour for my time writing the report. I don't remember   25   vote, said they were; also had a verified voter file

                                                 Page 10                                                        Page 12

 1 exactly how many hours it took.                          1 match.
 2       Q Do you have a rough sense of how many            2           So, you know, especially in those cases,
 3 hours that it took?                                      3 we can be, I think, really quite confident that there
 4       A I --                                             4 are non-citizens registered to vote nationwide. And I
 5       Q And I mean all of your work in this case.        5 provided various estimates of the prevalence of
 6       A All of -- not just this report?                  6 non-citizens registration to vote nationwide.
 7       Q Not just that report.                            7           For the evident -- the estimate I just
 8       A Okay. So I prepared two reports. The             8 referred you to, that would be an estimate of something
 9 first one I think took about, a little bit over 60       9 like -- between 2 and 3 percent of non-citizens
10 hours. The second one, a little under 60 hours.         10 nationwide. So it -- most non-citizens aren't
11       Q Okay. So a total of about 120 hours in          11 registered to vote, and I think if you've gone through
12 this case?                                              12 some of the things I -- I've put on my blog and other
13       A Something on that order.                        13 things, I've really tried to push back against people
14       Q I notice that your compensation is not          14 who have taken the notion that most non-citizens are
15 listed in your report. Is there a reason for that?      15 registered to vote. No, most non-citizens aren't
16       A I thought I had listed it. I am sorry if        16 registered to vote. Only -- we're talking about a
17 it wasn't. I meant to include that.                     17 potentially substantial number, but, you know, modest
18           Yeah, it's in -- it's on the final page,      18 percentage overall.
19 page 14.                                                19           And then I talked about several lines of
20       Q Oh, okay.                                       20 evidence from the state of Kansas. And, so, that's --
21       A It is listed there: "Statement of               21 those are all in the report; analysis of various file
22 compensation. My rate is $100 per hour for my work      22 matching efforts, analysis of several survey data sets,
23 preparing this expert report. I will charge a rate of   23 and then drew some overall conclusions.
24 $250 per hour for time associated with deposition and   24      Q Great.
25 testimony, exclusive of travel and other expenses."     25           We'll talk about all those specific

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 1 analyses later today.                                        1   That's the primary role. It's imperfect, obviously,
 2      A I'm sure we will.                                     2   but it does its best to assess the value of, of work.
 3      Q I want to show you what's been marked                 3             One of the key ideas in peer-review is
 4 Richman Exhibit 2.                                           4   the idea of -- often, there are various versions -- but
 5      A Thank you.                                            5   the anonymity of the article, the author, so that the
 6      Q Do you recognize this as your C.V.?                   6   article is assessed on the basis of its merits, as
 7      A Yes. This is a C.V. I supplied with my                7   opposed to some kind of predisposition concerning the
 8 report.                                                      8   authors of the piece.
 9      Q Has it been updated since you supplied                9        Q Do you serve as a peer-reviewer for any
10 your report?                                                10   political science journals?
11      A I haven't actually gone through and                  11        A Yes.
12 updated it. There, there might be one or two things to      12        Q Which ones?
13 add. For example, I published a op-ed on filibuster in      13        A I served as a peer-reviewer for many
14 the local newspaper, The Virginian-Pilot, about two         14   journals. I think I've listed some of that on the C.V.
15 weeks ago. That, that would be the main thing to, to        15   But maybe not. I think this was a shorter version that
16 update.                                                     16   doesn't list all of that.
17      Q And your current job title is still                  17             I served for -- I was on the editorial
18 associate professor of political science at Old             18   board of Legislative Studies Quarterly for several
19 Dominion University?                                        19   years; I've done many reviews for them. State Politics
20      A That's correct.                                      20   & Policy Quarterly. American Political Science Review.
21          To be clear, political science, I also             21   American Journal of Political --
22 have a -- it's not reflected on here -- a joint             22          THE COURT REPORTER: Excuse me.
23 appointment with international studies. So my, my home      23          THE WITNESS: Am I going too fast?
24 department is political science and geography, but I        24          THE COURT REPORTER: I just want to slow
25 also teach some graduate courses in the international       25   you down.

                                                     Page 14                                                       Page 16

 1   studies program.                                           1           THE WITNESS: I'm sorry.
 2        Q Looking at your C.V., it looks like                 2           American Journal of Political Science. I
 3   you've published about a dozen or so peer-reviewed         3 mentioned American Political Science Review previously.
 4   articles. Does that sound right?                           4 State Politics & Policy Quarterly was another one I
 5        A That sounds roughly right. I don't know             5 mentioned a moment ago. Legislative Studies Quarterly.
 6   the exact count, but that sounds approximately right.      6           There are a variety of other journals.
 7        Q Are all of your peer-reviewed                       7 The Journal of Politics, I've done many reviews for
 8   publications listed here or is there anything missing?     8 them. American Politics Research. Just a range of
 9        A I think all of them are listed here.                9 different journals in the field of political science.
10        Q And what do you understand by the term             10      Q And you've published one peer-reviewed
11   "peer-review"?                                            11 article on non-citizen voting; is that correct?
12        A Well, peer-reviewed journals are journals          12      A That's correct.
13   that subject works to external review. They typically     13      Q That's the article that was published in
14   send out blinded copies of manuscripts to other           14 Electoral Studies?
15   scholars in a field of study and ask them to assess the   15      A That's right.
16   works on their merits, and then, as a result of this      16      Q Other than your article in Electoral
17   process of peer-review, they make decisions about         17 Studies, have you published any other articles about
18   whether to publish or not.                                18 non-citizens registration or voting?
19        Q What's the significance of peer-review in          19      A No, that's the article I've published to
20   the field of political science?                           20 date on non-citizens registration and voting.
21        A Well, so, the role of peer-review in the           21      Q Now, you understand that you are here as
22   field of political science is, as in all science, to      22 an expert witness today; right?
23   provide a degree of a, a check on the quality of          23      A That's right.
24   scholarly work. It's an effort to ensure that work        24      Q And what's your understanding of the role
25   that's published is of sub -- significant quality.        25 of an expert witness?


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 1        A The role of the expert witness is to               1   Dominion Social Science Research Center from 2012
 2   bring to a case knowledge and expertise that might        2   through 2015. I have conducted a number of surveys in
 3   otherwise not be available in the context of, of a        3   that capacity, and so I, I have substantial experience
 4   case.                                                     4   with survey research. And a -- so my sense of -- and I
 5            In the context of this particular case, I        5   have substantial background in the area.
 6   was asked to assess issues concerning registration or     6        Q Roughly how many surveys have you
 7   attempted registration by non-citizens in the state of    7   designed?
 8   Kansas. And, so, that's my role, particularly in this     8        A Let me see. It depends on what you count
 9   case.                                                     9   as designed.
10        Q And you've been an expert witness at              10             So there are probably about, about nine
11   least one other time before; right?                      11   or ten where I've been the principal person writing the
12        A That's right. I've been an expert                 12   survey, and then there are a number of others where
13   witness once previously.                                 13   I've played some more minor role.
14        Q And that was in litigation over                   14        Q Have you published peer-reviewed research
15   Virginia's voter ID law?                                 15   based on a survey that you've designed?
16        A Yes. Lee versus Virginia State Board of           16        A No, I have not. Principally, the surveys
17   Elections.                                               17   that I have designed have been targeted at more of a
18        Q And you were deposed in connection with           18   popular audience. We did the Life in Hampton Roads
19   that case; correct?                                      19   local quality of life survey annually. We did a number
20        A I was.                                            20   of political polls in the State of Virginia. So the
21        Q You did not testify at the trial in that          21   primary aim in those studies was more of a public
22   case; correct?                                           22   service than publication in peer-reviewed journals.
23        A That's correct.                                   23             I do have a couple of projects that are
24        Q And, to your knowledge, the Court did not         24   awaiting time to wrap them up that have to do with
25   rely on your opinion in that case; correct?              25   pieces of data drawn from some of that survey work.

                                                    Page 18                                                       Page 20

 1       A I have no basis for assessing that.                 1      Q Have you ever tested survey questions
 2       Q Other than the Virginia voter ID case,              2 that you've written in order to assess whether or not
 3   have you been deposed before?                             3 they generally produce accurate responses?
 4       A Yes. I was deposed -- when I was an                 4           MR. ROE: Objection, vague as to may have
 5   intern in D.C. in 1998, I helped apprehend a mugger on    5 tested. Can you explain that?
 6   Capitol Hill, and I was deposed in that case.             6           MR. HO: You can answer if you
 7             So that would have been -- the deposition       7 understand.
 8   would have been in either '98 or '99, I don't remember    8           THE WITNESS: Well, so, I'm not sure
 9   exactly, and I ended up testifying in trial -- the        9 exactly what you're getting at.
10   trial as well.                                           10           One does a variety of approaches to
11             And I think I was also deposed many --         11 validating the results of survey questions. And, so,
12   when was this -- early 2000 or so. I was in grad         12 I've engaged in various kinds of validation analyses
13   school. There was a, a case involving some issue with    13 related to survey questions.
14   the construction of the road outside the place where I   14 BY MR. HO:
15   lived, and I had ended up talking with an investigator   15      Q Have you ever published peer-reviewed
16   for one side of the case or another and they asked me    16 research concerning the accuracy of survey responses
17   to come in for a deposition related to that as I guess   17 for a survey that you've written?
18   a witness or something like that.                        18      A No.
19         Q Okay. But the Virginia voter ID case was         19      Q Have you ever compared survey responses
20   the only other time you've been deposed as an expert?    20 to government records in order to assess whether or not
21         A That's correct.                                  21 the responses are accurate?
22         Q Okay. Do you understand yourself to be           22      A Yes. In the context of this study we did
23   an expert in survey research?                            23 that, for instance.
24         A I've done a variety of work involving            24           In the, in the paper I published in
25   survey research. I was the faculty director of the Old   25 Electoral Studies, I didn't do that, but we did


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 1   analyses based on some matching efforts that were        1 the question that I've asked.
 2   conducted by the authors of the CCES data set.           2      A I attempt to respond to each question as,
 3        Q Have you ever published any peer-reviewed         3 as appropriate. And I am -- I, I was speaking around
 4   research based on your own efforts to compare survey     4 issues of assessing citizenship rates. This is
 5   responses to government records in order to assess the   5 something -- and the reason I brought this up is
 6   validity of those survey responses?                      6 because this was an instance of designing and proposing
 7        A I have not published research on that             7 questions specifically around the issue of measuring
 8   issue specifically.                                      8 citizenship rates. So I thought it was relevant. I am
 9        Q Have you ever designed or implemented a           9 sorry that, in your view, it wasn't.
10   survey that sought to measure voter registration rates? 10           I have also discussed -- my co-author --
11   Other than for this case.                               11      Q I didn't ask you a question just now,
12        A We've -- I've included questions on voter        12 Professor Richman. So when you speak, it will be in
13   registration in a variety of other surveys.             13 response to questions that I ask. Is that okay with
14        Q Have you, other than in this case, ever          14 you?
15   designed or implemented a survey to measure citizenship 15      A I will continue -- I was merely
16   rates?                                                  16 continuing to attempt to answer the question -- your
17        A No. I have suggested questions for the           17 previous question, which I have not yet finished
18   CCES on that particular issue. A focus of the, the      18 answering.
19   issue -- the criticism offered by Stephen Ansolabehere 19       Q My previous question was: Other than in
20   and his colleagues of my analysis of the CCES involved 20 this case, have you designed or implemented a survey to
21   the question of whether the individuals who said they 21 measure citizenship rates?
22   were non-citizens in the CCES study were, in fact,      22           And the answer to that question is no;
23   non-citizens. And I specifically spoke to both Stephen 23 correct?
24   Ansolabehere and Brian Schaffner, the principal co- 24          A No, that is incorrect.
25   investigators of that study, at a conference in early   25      Q When have you designed or implemented a

                                                     Page 22                                                    Page 24

 1   2016 and then followed up with an email proposing a set  1 survey that attempts to measure citizenship rates?
 2   of question language specifically targeting the issue    2      A My co-author on the 2014 study and I,
 3   of the accuracy of those citizen status self-reports.    3 David Earnest, spent some time working on various
 4            I, I have a copy of that email with me if       4 proposed -- so this is designed, rather than
 5   you'd like to see it. And Brian Schaffner replied that   5 implementation, until this case, in which case I did
 6   they would -- they would attempt to revise the question 6 design a series of questions aimed at implementing
 7   to, to specifically address that issue.                  7 citizenship status reports. But we've designed various
 8             Unfortunately, it doesn't appear that          8 other survey instruments that we've -- working on
 9   they did. In his testimony, Stephen Ansolabehere         9 developing various plans for investigating those.
10   seemed to suggest that nobody in the research community 10      Q Other than this case, you have never
11   had asked them to do anything about this, which         11 implemented a survey that attempts to measure
12   surprised me because I specifically had done that.      12 citizenship rates; is that correct?
13             And, so, I would be happy to show you         13      A That is correct.
14   copies of that email train.                             14      Q Okay.
15        Q That's okay. Professor Richman, my --            15          Outside of this case, have you ever
16   Richman, my question for you was a lot simpler than 16 published peer-reviewed research based on database
17   what you just answered; it was whether or not you, 17 matching that you yourself have performed?
18   outside of this case, have ever designed or implemented 18      A I have conducted matching analyses of a
19   a survey to measure citizenship rates. I didn't ask     19 variety of kinds in many of the studies I have
20   you a question about Professor Ansolabehere's           20 published; but I have done a variety of kinds of
21   deposition.                                             21 matching.
22             So in the future, when I ask you a            22          I tell my students in undergraduate and
23   question -- you will have plenty of time with your      23 especially graduate statistics and quantitative methods
24   counsel to say whatever you want after we've talked. 24 classes that matching is a, really an essential skill
25   When I ask you a question, could you please respond to 25 for a qual -- quantitative researcher, because it's


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 1   rare that everything you want to analyze in the context    1 confidence intervals, and I typically do include them.
 2   of a study is all neatly packaged for you by someone       2           At the time I wrote my initial report for
 3   else in a single data set. And, so, you need to match      3 this case, I was -- and I regret the decision now, but
 4   different, different pieces of information.                4 I was feeling rather aggravated at the way the
 5        Q Can you just give me one example of a               5 confidence intervals I provided in the 2014 study were
 6   peer-reviewed article that you've published that           6 being twisted by some people, taking the top end of
 7   involved some database matching that you yourself          7 confidence intervals and that sort of thing to claim
 8   performed?                                                 8 that, oh, this is -- this is what they are saying,
 9        A So the -- let me, let me go through                 9 when, in fact, that's not.
10   various ones. The --                                      10           And, so, I only reported some confidence
11        Q One example will suffice.                          11 intervals, particularly only for the one estimate that
12        A Certainly.                                         12 was -- where there was a doubt about whether it was
13             In the piece published in American              13 statistically significantly different from zero. And
14   Political Science Review, I matched survey responses      14 for the others, I did not include confidence interval
15   from members of Congress with voting records in order     15 estimates, but focused simply on the -- the point
16   to assess their perceptions of where policy status quo    16 estimate, while verbally saying that there was a range
17   are in American politics.                                 17 of uncertainty around the estimate.
18             So based on the survey responses by             18      Q For the --
19   members of Congress, where do they perceive current       19      A That was probably -- that was probably a
20   policy to be on defense spending, on capital gains        20 mistake. I probably should have provided the full
21   taxation, and so forth. So I used those survey            21 range, and I have in my second report provided a full
22   responses in conjunction with their voting records to     22 range of confidence interval estimates based on a
23   assess status quo locations, and I used that to test      23 variety of different statistical techniques to assess
24   theories of how the legislative process operates.         24 confidence intervals.
25        Q Have you ever published a peer-reviewed            25      Q Have you, in a peer-reviewed publication,

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 1 article based on a matching to a state's voter               1 ever utilized the Score Wilson method for calculating a
 2 registration file that you yourself performed?               2 confidence interval?
 3      A I have not done that previously.                      3      A No, I have not.
 4      Q In your previous publications, you                    4      Q Have you in a peer-reviewed publication
 5 sometimes publish statistical estimates; right?              5 previously used the Exact method for calculating a
 6      A Yes.                                                  6 confidence interval?
 7      Q And generally when you publish articles               7      A No, I have not. I've -- principally,
 8 featuring statistical estimates, you include standard        8 when I've discussed confidence intervals in my
 9 error calculations?                                          9 research, as I said, I'm reporting results of
10      A I do typically do that. And in the -- in             10 regression analyses and related types of analyses.
11 many of these studies, I'm performing various kinds of      11           Typically, in those cases, we're not
12 regression analyses. You know, the basic idea of null       12 dealing with tasks of binomial proportions, and so the
13 hypothesis testing resolves around issues of whether an     13 appropriate calculations for confidence intervals are,
14 effect or a finding can be statistically distinguished      14 are different.
15 from some null hypothesis. And, so, I've done that in       15      Q In peer-reviewed publication, have you
16 a variety of contexts in most of the articles I have        16 ever used the Agresti method for calculating a
17 published.                                                  17 confidence interval?
18      Q As a peer-reviewer, if you received an               18      A No.
19 article that included statistical estimates but did not     19      Q Have you ever used the Jeffreys method in
20 include tests for statistical significance, that is, to     20 a peer-reviewed publication for -- before, for
21 project the null hypothesis, would you accept that          21 calculating a confidence interval?
22 article for publication as is?                              22      A No.
23      A This would depend a great deal upon the              23      Q I'd like to talk about Exhibit 1, your
24 specific context of the estimates and the article. In       24 report in this case --
25 many situations, it would be appropriate to include         25      A Sure.

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 1      Q -- a little bit.                                    1      Q And even though .5 percent of your survey
 2          And could you turn to page 7 in the               2 respondents indicated they were non-citizens, you
 3 report?                                                    3 didn't take that .5 percent and just apply it to the
 4      A Certainly.                                          4 suspense list as a whole to reach your estimate of
 5          MR. ROE: Dale, is this Exhibit 1?                 5 people on the suspense list who were non-citizens;
 6          MR. HO: Yes.                                      6 right?
 7          MR. ROE: Okay.                                    7      A I -- there was a waiting process, which I
 8 BY MR. HO:                                                 8 engaged in prior to that, that exercise. The concern
 9      Q Now, on this page at the bottom, into               9 was that different groups within the suspense list
10 page 8, this is where you describe a telephone survey     10 might be more likely or less likely to respond and that
11 of a sample of individuals from the suspense lists in     11 this could bias the estimates.
12 Kansas; is that right?                                    12      Q So when you made your calculation, your
13      A Among other groups, yes.                           13 estimate of the number of people on the suspense list
14      Q Let's just start with the suspense list.           14 who were non-citizens, you used 9 out of 1,380 rather
15      A Okay.                                              15 than 7 out of 1,380?
16      Q Is it accurate to say that you obtained            16      A That is what I intended to do.
17 responses from 1,380 individuals on the suspense list?    17      Q Okay.
18      A That's my best estimate. As I discuss in           18      A However, I believe that there was a error
19 the report, we reached more than that from the, the       19 on this in the calculation that I reported. When I, I
20 calling numbers from the suspense list, but I, I used a   20 meant to report .65 percent, I reported .009, which
21 number of criteria to reduce that number to an estimate   21 would be a different quantity. So I think there was a
22 of people we were -- I was confident were in fact the     22 typo there that led to a degree of error in the
23 individuals that we were intending to reach.              23 calculations.
24      Q So your best estimate is that you                  24           So if, if done correctly, the number
25 successfully received responses from 1,380 individuals    25 should have been 116.7 as the estimate of the number of


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 1   on the suspense list; correct?                           1 suspense list individuals, rather than the number that
 2        A Let me check the report for that specific         2 was reported there, and I realized that error after I
 3   number.                                                  3 had sent in the report. And I was -- I think what
 4            It, it says here a total of 1380.               4 happened is I got the -- I had the 9, and somehow the 9
 5        Q And of those 1380 individuals, 7 of them          5 ended up down there, which was a, a mistake.
 6   reported being non-citizens; is that correct?            6      Q So, just to clarify: Your best estimate
 7        A That is correct.                                  7 is that there are 117 people on the suspense list who
 8        Q And you estimated in your report that 161         8 are non-citizens?
 9   individuals out of 17,905 people on the suspense list    9      A Yeah, 116.77, so round up to 117.
10   are non-citizens; is that right?                        10      Q And that constitutes 0.65 percent of the
11        A Sorry, I lost you there. Could you go            11 suspense list?
12   over that a second time?                                12      A Yes.
13        Q Sure.                                            13      Q So there was an error in your initial
14            You ultimately estimated in your report        14 report?
15   here that 161 individuals out of 17,905 people on the   15      A There was an error, an error in that
16   suspense list are non-citizens; is that right?          16 calculation.
17        A Yes, that's the estimate I gave there.           17      Q Because your initial report said 161;
18        Q All right. I'm going to hand you a               18 but, actually, your better estimate is about 117.
19   calculator.                                             19      A That's right. There was an error in that
20        A Um-hum.                                          20 report.
21        Q 7 divided by 1,380 is equal to about             21      Q You didn't note that error in your
22   .5 percent; is that right?                              22 rebuttal report, did you?
23        A 7 divided by 1380? .005.                         23      A I don't know. I don't remember.
24        Q That's .5 percent; correct?                      24      Q Okay.
25        A Yes.                                             25      A I'm not sure when I, when I realized that

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 1   there was that error.                                      1      Q Was it your idea to conduct a survey of
 2         Q Now, the suspense list that you're using           2 people on the suspense list?
 3   of close to 18,000 individuals, I just want to clarify     3      A I -- we -- this was a survey that was
 4   what that list is.                                         4 conducted of suspense-list individuals. I thought
 5              Is that a list of all people whose              5 about a variety of different tactics in terms of trying
 6   registrations have been held in suspense in Kansas for     6 to conduct some surveys for this project in the context
 7   failure to provide documentary proof of citizenship, or    7 of limitations on resources and time. I thought that
 8   is it limited only to those people who attempted to        8 issues involving the suspense list would be worth
 9   register to vote through a DMV office?                     9 spending some time investigating.
10         A I don't believe it is limited to any              10      Q So it was your idea to have a survey of
11   particular source of registration.                        11 people on the suspense list, not someone else's idea?
12         Q Do you know one way or the other?                 12      A You know, I don't remember exactly.
13         A My sense is that, but I'm not an expert           13 There were some discussions that were held by --
14   on the specific processes underlying construction of      14 between myself and the Kansas Secretary of State's
15   the suspense list, my sense is that the list is a list    15 office, both the Secretary and Garrett Roe, about the
16   of all individuals who have been requested to provide     16 various directions that we might look in terms of doing
17   proof of citizenship and haven't done so.                 17 some kind of survey work.
18         Q What's that sense based on?                       18           And, so, one of the possibilities that we
19         A That sense is based upon what I've been           19 discussed was the suspense list, but I don't remember
20   told to a degree, what I've read in the media about the   20 the exact -- those conversations were several months
21   Kansas case. That's my sense of what it is.               21 ago now, and I don't remember exactly what the sequence
22              I don't -- I don't know the precise            22 was.
23   nuances of exactly who and how and under what             23      Q Would it be a fair description to say
24   circumstances individuals are added or removed from       24 that the suspense list survey was the product of a
25   that list.                                                25 joint collaboration between you and the Secretary of


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 1        Q   You made a reference to what you've been        1    State's office?
 2   told.                                                    2              MR. ROE: Objection, vague.
 3             Do you have a recollection of being told       3              THE WITNESS: I, I would say that that
 4   whether or not this was the complete universe of people 4     would be incorrect. The, the survey -- once, once the
 5   in Kansas whose registrations have been suspended for 5       basic data set was -- the list was, was sent to me and
 6   failure to provide proof of citizenship or if it was a   6    I -- we worked out the -- and the Kansas Secretary of
 7   list limited to only such people who applied to          7    State's office contracted with issues and answers, the
 8   register to vote at DMVs?                                8    specific design of the survey questions was done by me
 9         A I was not told that it was limited to            9    in conjunction with issues-and-answers staff.
10   people who applied to vote at DMVs. I don't recall 10         BY MR. HO:
11   that I was specifically told something else either. I 11           Q Well, we'll talk about the survey design.
12   assumed it was more general than that.                  12    I just mean the decision to take a survey of people on
13         Q Why did you conduct a telephone survey of 13          the suspense list; whose decision was that?
14   people on the suspense list?                            14         A Ultimately, the decisions on where to
15         A There were -- there were a couple of            15    direct the surveys I think were done by me.
16   different things that I thought this could be useful    16         Q And the process for choosing the wording
17   for.                                                    17    of questions, who was responsible for that?
18             One aspect would be to assess the             18         A I was principally responsible for that.
19   frequency, as we were just discussing, the frequency of 19    As I said, I also consulted with staff at Issues &
20   non-citizens on the suspense list. And the other would 20     Answers as, as the question wording was, was shaped.
21   be to sus -- to assess the degree to which citizens on 21          Q I'm going to show you what's been marked
22   the suspense list had access to the kinds of documents 22     as Richman Exhibit 3.
23   that are requested to document citizenship. And those, 23          A Yes.
24   those documents are -- were, were asked about in the 24            Q Do you recognize this as the survey
25   later part of the survey.                               25    instrument you utilized for your survey for your report


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 1 in this case?                                              1 survey field today to adjust as well for differences
 2      A Yes.                                                2 that arise, not from the sample design, but from
 3      Q And you recorded the gender of all of the           3 differences in response rates. And, so, I -- that's
 4 survey respondents; is that right?                         4 why I did the weighting here, to adjust for differences
 5      A It was recorded by observation. So this             5 in response rates or from the -- from the survey.
 6 was the, the interviewer recorded their impression of      6           To a degree, those differences in terms
 7 the gender of the respondent.                              7 of people on the suspense list may have also, but I
 8      Q And the interviewer also recorded whether           8 didn't do extensive analysis of this, been on the basis
 9 or not each respondent was of Hispanic or Latino           9 of differences in the free -- the incidence of
10 dissent; is that correct?                                 10 telephone numbers and that sort of thing on the list.
11      A That was -- that was recorded on the               11           But the primary, the primary purpose here
12 basis of asking them a question. So the specific          12 was more on that secondary side, in terms of
13 question there was, do you consider yourself to be of     13 differences in response rates.
14 Hispanic or Latino descent.                               14      Q So in your opinion as a political
15      Q There's also a question on there about             15 scientist, if I'm trying to assess how many
16 the race of each survey respondent; is that correct?      16 non-citizens are on the suspense list, and I'm trying
17      A That is correct.                                   17 to use your survey to estimate that, do you believe
18      Q There's also a question about the age              18 that the weighted or the unweighted number is more
19 group of each survey respondent; is that right?           19 likely to be accurate?
20      A That is correct.                                   20      A I think the weighted is more likely to be
21      Q Can you tell me why you decided to weight          21 accurate.
22 the results of your survey respondents indicating that    22      Q And the reason you think the weighted
23 they were non-citizens rather than just taking the        23 number is more likely to be accurate is because --
24 straight percentage of survey respondents who said they   24 primarily because of differences in response rates in
25 were non-citizens and applying it to the suspense list    25 your survey sample among particular demographics;


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 1 as a whole?                                                1 correct?
 2      A Well, so, I reported both numbers                   2      A Differences among response rates and/or
 3 because -- and I also reported the weights in the data     3 differences in the incidence of telephone numbers. So,
 4 set that I provided as one of my exhibits.                 4 so those are the two factors that play into it here.
 5           The purpose of weighting data is to              5      Q Why do you choose gender as something
 6 adjust for differences in the frequency -- differences     6 that you would control for in that weighting?
 7 between the frequency with which individuals appear in     7      A Well, because gender was -- I, I weighted
 8 some population and the frequency with which they          8 on most of the variables I had available in the -- in
 9 appear in the sampling frame.                              9 the list, in the suspense list. Gender was one of
10      Q So would it be accurate to say that if             10 them.
11 you want to make estimates based on a sample to a         11      Q But you chose those variables?
12 larger population, you want to try to account for         12      A I chose those variables because those are
13 differences in the composition of those two pools?        13 the ones I had available. I weighted on more or less
14      A Generally, that's, that's a good idea.             14 all of the variables I had available, including gender,
15 There are a series of arguments in the literature about   15 because my sense was -- I didn't have a particular
16 just how far one ought to go. The unambiguous and         16 theory there would be a disproportionate response by
17 totally clear case for weighting happens when the         17 gender. In this case there didn't seem to be much of
18 differences between the sampling frame and set of         18 one. The weight on gender was a pretty modest
19 respondents you get and the, the population are by        19 difference.
20 design.                                                   20            But it, it was one of the demographic
21           So, for instance, sometimes surveys are,        21 characteristics I had available, and in some instances
22 are designed to over-sample minority groups in order to   22 there are differences in response rates between men and
23 facilitate more accurate estimates of those groups. In    23 woman on surveys.
24 that case, there's an entirely unambiguous case for       24      Q But you didn't just happen to have gender
25 weights. Weights are used very frequently in the          25 available. You designed the survey and decided to make


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 1   gender one of the variables that you wanted surveyors      1   weighted to match the overall list across the following
 2   to record about respondents; correct?                      2   variables: Gender, age group, party affiliation,
 3         A That's right. It's a standard                      3   geographic location, first three digits of their zip
 4   demographic variable. It was also one of the measures      4   code, year of registration and foreign name."
 5   that we had available in, I believe in the suspense        5        Q And why did you decide to weight on the
 6   list, if memory serves.                                    6   basis of foreign name?
 7         Q Why did you choose age as a variable to            7        A My concern there was that there could be
 8   control for?                                               8   a differential response rate from individuals who --
 9         A Well, again, sometimes there are                   9   for whom perhaps English was not a first language. We
10   differences in response rates across different ages.      10   had the survey being conducted in both Spanish and
11   This is a common issue in survey research, and so I       11   English, but, nonetheless, there might be an issue with
12   thought it would be important to include age. It was      12   differential response rates. And, so, this was an
13   also a variable that we had available in the suspense     13   effort to, to assess and to weight for that, that
14   list. We had, we had ages.                                14   issue.
15         Q Why did you choose race and ethnicity as          15        Q How did you identify foreign names?
16   a variable?                                               16        A This was a coding which was conducted by
17         A Again, these are potentially important            17   both myself and I hired a graduate student to help me
18   demographic characteristics.                              18   with it. We coded 5,000 or so cases, both of us, and
19             Sometimes there are differences in the          19   then each of us coded some of the cases separately.
20   degree to which people from different races and           20             If --
21   ethnicities respond to surveys, and so this was one       21        Q Did you code -- you didn't code all the
22   that I would have very much liked to be able to weight    22   names in the suspense list?
23   on in this case.                                          23        A We coded all the names.
24             The suspense list did not have -- the           24        Q So --
25   broader suspense list data set did not have information   25        A There were 5,000 that we jointly coded

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 1   on race, and so in this particular case, for this          1 them.
 2   particular purpose, we were not able to use race as        2          So both of us coded 5,000; that was the
 3   part of the waiting, if I remember correctly, because I    3 basis for calculation of the intervener agreement.
 4   don't believe that race was recorded in the suspense       4 Then I don't recall exactly how many each of us coded
 5   list.                                                      5 separately, but each of us coded -- I think he coded
 6         Q Did you use Hispanic ethnicity as a                6 something like 9,000 total and I coded the rest.
 7   variable that you controlled for?                          7     Q Who is the grad student who assisted you
 8         A Again, we didn't have that in the                  8 with this project?
 9   suspense list, if I recall correctly. It's been            9     A His name is Ryan Nixon.
10   several months since I've looked closely at that, but     10     Q Did anyone else --
11   my memory is we didn't have it. And I don't believe       11     A No, I'm sorry, not Ryan Nixon. Ryan
12   we -- I weighted on that, because I don't believe that    12 Roberts.
13   was in the list.                                          13     Q Did anyone else assist you with this
14             If we look -- if you look specifically at       14 project?
15   my discussion of weighting, I think I have a list of      15     A No.
16   the particular, particular items we weighted on.          16     Q I'm going to show you what's been marked
17             Let me see.                                     17 as Richman Exhibit 4.
18             Yes. So (inaudible) response waited to          18     A Nice thick one here.
19   match the overall --                                      19     Q Yes. This is a list of your foreign name
20             THE COURT REPORTER: I'm sorry, I missed         20 coding.
21   a few words in there.                                     21     A Um-hum.
22             THE WITNESS: Sorry. I was simply                22     Q Does that look accurate to you?
23   saying -- let me see.                                     23     A Yeah, this looks vaguely familiar. It
24             "The suspense list respondents" -- I'm          24 was several months ago now, but I think this is it.
25   reading now from the paragraph on page 8 -- "were         25     Q Could you turn to page 77?

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 1      A Page 77, okay.                                       1   foreign or non-foreign names?
 2      Q We've highlighted some of the names here             2        A I don't think he has specific experience
 3 on page 77.                                                 3   with that either.
 4      A Okay.                                                4        Q The sixth name on this list is Sophia
 5      Q At the top of page 77, the top six rows              5   Hernandez. Do you see that?
 6 are all individuals with the last name Hernandez.           6        A Sophia Magdolyn Hernandez.
 7 These are respondents to your survey.                       7        Q And "Sophia" is spelled with a P-H here.
 8           Three -- the first three Hernandez's are          8   Do you see that?
 9 coded as not having a foreign name. The second three        9        A Yes.
10 Hernandez's are coded as having a foreign name.            10        Q Do you know how "Sophia" is spelled in
11           Is that right?                                   11   Spanish, with a P-H or an F?
12      A Let me try and find my coding here.                 12        A My guess is that in this case the coding
13 Where is the coding on foreign name?                       13   was based on "Magdolyn" rather than "Sophia."
14      Q I believe it is the second column and               14        Q The bottom of this page, there are five
15 then --                                                    15   Lopez respondents, three of whom are coded by one of
16      A Foreign name -- second column? Oh, over             16   the coders as non-foreign and two are coded as foreign.
17 here, okay. That's for rater one.                          17              Do you see that?
18           Yeah. So -- and for rater two, so we             18          A   Let's see.
19 both agreed on this.                                       19              Yes.
20           You're, you're curious about why one was         20          Q   What accounts for the difference?
21 code and not the other?                                    21          A   Well, so I think in this case -- let's
22      Q Try not to anticipate my questions, but             22   see, so what do we have as far as the coding? We have
23 that is in fact my question this time: Why did you         23   two coded as foreign; right? Allandra and Henrique
24 code three Hernandez's as non-foreign and three            24   were coded as foreign, and then the two -- Maria Lopez
25 Hernandez's as foreign?                                    25   and the Henrique Angelo Lopez -- okay, Ellie Lopez was

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 1        A Our criteria was that we needed to                 1   not.
 2   have -- typically, and I'm sure we made some mistakes     2              So what accounts for the differences?
 3   in applying this across so many names, which I was        3   Again, these are subjective judgments about names. So
 4   rating as quickly as I could. We got the -- this was,     4   this was on the basis of, I suppose, the assessment was
 5   this was something that was done rapidly.                 5   that Allandra and Henrique seemed more likely to be
 6             But the criteria was that we needed to          6   names that were less common anglophone names than some
 7   have at least two names that were, that appeared to us    7   of the others.
 8   to be foreign names, foreign origin.                      8        Q Than Maria, for instance?
 9        Q And what do you mean -- and, I'm sorry,            9        A Obviously, these are judgment calls that,
10   what do you mean by appears to you to be foreign?        10   I wouldn't be surprised if at some point one of us
11        A Well, that was a very subjective coding,          11   coded Maria as a foreign name.
12   so this is an aspect of whether the name looked like a   12        Q But you didn't code Maria as a foreign
13   sort of anglophone name or not, primarily. But I'm       13   name here?
14   sure we made many mistakes within the specific coding.   14        A Whoever coded this didn't.
15             The goal here was to get some sense of         15        Q If you came across the name Shree
16   whether we had unequal response rates across different   16   Sherenovossen, would you code that as foreign name?
17   groups of respondents.                                   17        A Shree Sherenovossen?
18        Q Prior to this project, had you done any           18        Q Yes.
19   peer-reviewed research that involved coding names for    19        A Yes, I generally would code that as a
20   foreign or not foreign?                                  20   foreign name. I wouldn't be terribly surprised if, in
21        A No, I had not.                                    21   going through this entire data set, there were some
22        Q What experience, if any, are you aware of         22   names of that sort that we missed, but I would have
23   that Mr. Nixon -- is that his name?                      23   coded that as a foreign name.
24        A No, I'm sorry. Roberts.                           24        Q Now, with respect to the seven
25        Q -- that Mr. Roberts has for identifying           25   individuals from your suspense list survey who

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 1   indicated that they were non-citizens, did you do           1   validated their citizenship status through means
 2   anything to confirm whether or not their reports of         2   outside of the survey, you wouldn't have left that out
 3   non-citizenship status were in fact accurate?               3   of your report --
 4        A So, with those individuals, a couple of              4        A No.
 5   things. So on the survey itself, we had two questions       5        Q -- would you, Dr. Richman?
 6   on citizenship status.                                      6        A I don't believe I would have.
 7             The first question asked purely: Are you          7        Q I'd like to mark something as I think
 8   a citizen of the United States? The response                8   Richman Exhibit --
 9   categories were yes and no.                                 9        A Unless it was inadvertent and accidental.
10             The second question was an open-ended            10   That is possible. I was writing this report in a hurry
11   question: Of what country or countries are you a           11   at that point and also ill, so I might have left
12   citizen?                                                   12   something out, but I would not have intended to.
13             And, so, in the context of the survey, we        13             MR. HO: I'd like to mark something as
14   evaluated citizenship status on that basis.                14   Richman Exhibit 5.
15        Q Did you do anything to assess the                   15             ("Can the College Vote Turn out?:
16   non-citizenship status of your seven survey respondents    16             Evidence from the U.S. States, 2000-08"
17   from your suspense list survey who indicated that they     17             by Richman and Pate, marked as Richman
18   were non-citizens, other than taking their survey          18             Exhibit Number 5)
19   responses at face value?                                   19             THE WITNESS: Thank you.
20        A We did, I think -- I can't remember if we           20   BY MR. HO:
21   did it for this group or not. For some groups we --        21        Q Do you recognize this article?
22   the Secretary of State's office was able to get matches    22        A Yes.
23   with Department of Homeland Security. I don't know if      23        Q This is an article that you published in
24   we did that for this group, because I don't, I can't --    24   State Politics & Policy Quarterly; is that correct?
25   I can't recall.                                            25        A Yes. This was published with Andrew

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 1         Q Well, we'll talk about the other matches            1   Pate.
 2   and the other surveys that you did.                         2        Q And this article was peer-reviewed;
 3             But my recollection is that for this              3   correct?
 4   survey of the suspense list, you did not do anything to     4        A Yes.
 5   confirm the citizenship status of your respondents or       5        Q Could we look at the first page of the
 6   non-citizenship status in this case, other than taking      6   article.
 7   their survey responses at face value.                       7        A Okay.
 8             Do you have a different recollection?             8        Q Page 51. And I want to look at the last
 9         A I don't -- I'm not sure whether or not              9   full paragraph and the last sentence: "Higher costs
10   that is the case. I'm going -- I would have to look        10   should lead to lower turnout."
11   back at my notes.                                          11             The next sentence: "The electoral
12         Q Do you mind just looking at your report            12   participation literature has studied extensively the
13   for a second and telling me whether or not there's         13   effect of other institutional variables on voter
14   anything in your report indicating one way or the other    14   turnout."
15   whether you did anything to assess the non-citizenship     15        A Um-hum.
16   status of your 7 survey respondents from the suspense      16        Q Electoral rules that increase the costs
17   list, other than taking their survey responses at face     17   of voting are expected to diminish participation.
18   value?                                                     18             Did I read your words correctly?
19         A Well, as far as this report goes, I don't          19        A Yes.
20   see any discussion of that, so I guess we didn't do        20        Q What do you mean by "higher costs"?
21   that for these individuals. I'm not -- I'm not             21        A Well, so, costs can arise from a variety
22   absolutely certain of that though.                         22   of things. In this particular paper, we were studying
23             If I was -- so I think you're right, but         23   differences in whether or not state policies
24   I'm not certain.                                           24   facilitated registration by college students in their
25         Q If you had done that, if you had                   25   college town. And our argument was that if students


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 1 were not allowed to register in their college town,        1 cost for voters, potentially leads to decrease in
 2 this would make it more difficult for students to          2 participation.
 3 register to -- or less likely that students would vote,    3           MR. ROE: Dale, real quick, just -- I'm
 4 rather, because the cost of participation would be         4 not trying to be a pain here, but after every question
 5 higher in the sense that they couldn't vote in the         5 I'm going to have to probably say the same objection as
 6 place where they were living. They would have to send      6 this, not because I'm trying to be a pain, but because
 7 off for an absentee ballot, and also, informationally,     7 I think under the rules, there are no standing
 8 where they were living they're more likely to be able      8 objections.
 9 to get information on local races than in the context      9           MR. HO: Well --
10 of races that are potentially halfway across the          10           MR. ROE: So if I object, don't think
11 country.                                                  11 that I'm trying to be argumentative. I'm just -- I
12      Q So I understand that's what this article           12 need to raise those objections. Okay?
13 is about specifically. But I just want to back up a       13           MR. HO: Okay.
14 second and ask you more broadly: What do you mean when    14           Is, is your objection relevance, Garrett?
15 you say "higher costs"? Is that a reference to the        15           MR. ROE: Three: Relevance; scope of --
16 costs of voting framework?                                16 outside the scope for which discovery is real; and,
17           Have you heard that before?                     17 three, that he's not a -- he's not retained as an
18      A Yeah.                                              18 expert to discuss those.
19           MR. ROE: Dale, real quick, I'm going to         19           MR. HO: Okay.
20 register an object -- a couple objections here. One is    20           So I remember lots of questions for
21 relevance; two is it's out -- outside the scope of        21 Professor Ansolabehere and Professor Hersh about their
22 discovery; three, it's outside what he was retained as    22 views on registration requirements and election day
23 to be an expert in this case.                             23 specifically. Are you withdrawing all those questions
24           You can go ahead and answer.                    24 now?
25           THE WITNESS: So there is a long line of         25           MR. ROE: Well, no. I wasn't part of the

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 1 literature in political science on electoral               1   deposition.
 2 participation.                                             2            MR. HO: Okay. So --
 3           And one of the famous frameworks -- this         3            MR. ROE: I'm just letting you know that
 4 originates with Downs and then was revised by Riker and    4   I'm going to be -- I'm just letting you know I'm making
 5 Ordeshook, involves thinking about electoral               5   objections. I am not trying to do it to cause
 6 participation through a framework kind of utility          6   problems. It's just that I think, under the Rules, I
 7 function for the costs and benefits of voting.             7   have to make those objections every time.
 8 BY MR. HO:                                                 8            MR. HO: I think under the Rules you're
 9      Q And when you say that electoral rules               9   actually prohibited from making that objection. I'm
10 that increase the costs of voting are expected to         10   going to give you the Kansas local rules on deposition
11 diminish participation, what do you mean by that?         11   objections; and, specifically, rule 5A about
12      A Well, so, there have been various studies          12   objections.
13 that have looked at various kinds of electoral rules.     13            "The only objections to be asserted are
14 For example, I think we have a discussion in here at      14   those involving privilege or work product protection or
15 some point about some natural experiments that were       15   some matter that may be remedied if" present --
16 analyzed involving the implementation of voter            16   "presented at the time, such as an objection to the
17 registration requirements.                                17   form of the question or the responsiveness of the
18           And if you require people to register to        18   answer."
19 vote, this creates -- this means that they have to        19            So I'm going to ask you not to make any
20 register to vote ahead of the election potentially,       20   more of those objections. And if you do, you are on
21 depending on states. Some states have                     21   notice that it's an improper objection and I may move
22 same-day-of-registration rules, others don't.             22   for sanctions.
23           And, so, the literature has found some          23            Okay?
24 modest-sized effects of requiring voter registration on   24            MR. ROE: Can we take a break? Just two
25 participation, and the argument is that this creates a    25   minutes.

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 1          MR. HO: Sure. Let's go off the record.            1        Q So I understand what you are saying about
 2          THE VIDEOGRAPHER: Going off the record            2   the evidence that there may be that registration
 3 at 9:45 a.m.                                               3   requirements prevent people from registering to vote,
 4          (Recess)                                          4   but my question was more about how that happens.
 5          THE VIDEOGRAPHER: We are back on the              5             How is it the case that a registration
 6 record at 10:01 a.m.                                       6   deadline decreases participation?
 7 BY MR. HO:                                                 7        A Well, as I was just talking about, the --
 8      Q Professor Richman, could you turn to page           8   one way is that people decide they want to register to
 9 64 of your article?                                        9   vote after the deadline has passed.
10      A This is the Richman and Pate article?              10             And one of the things I found in that
11      Q Um-hum.                                            11   paper was that it looked like this was -- a larger
12      A All right.                                         12   share of the searches for registration to vote happened
13      Q Do you see the header "conclusion"?                13   after the deadline in mid-term elections. So those
14      A No. Wait, 64 or 65?                                14   were situations in which the -- there was a lower
15      Q 64.                                                15   intensity of information early in the season. So more
16      A Yes, okay, here we are.                            16   people were likely to sort of realize, oh, there's a
17      Q Do you see the header "conclusion"?                17   congressional election coming up, you know, a week, two
18      A Yes.                                               18   weeks before the election, which in some states would
19      Q And the first sentence under that header           19   mean they'd missed the registration deadlines.
20 reads: "We know that registration requirements and        20             In -- whereas, in presidential election,
21 long pre-election registration deadlines can decrease     21   there's a lot more -- you know, you've got the
22 participate."                                             22   conventions, there's a lot more intensity early, so it
23          When you write that "registration                23   looked like a smaller portion of the searches happened
24 requirements and long pre-election registration           24   after the deadline in that situation.
25 deadlines can decrease participate," what do you mean     25        Q So I want to show you another exhibit.

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 1 by that?                                                   1 We'll mark this as Richman Exhibit 6.
 2      A That's -- that was a -- that was based on           2            (Virginia Capitol Connections, Spring
 3 the literature review which was earlier in the paper.      3            2013 edition, marked as Richman Exhibit
 4 There's a writing evidence in the field concerning         4            Number 6)
 5 those issues.                                              5            (Discussion off the record)
 6      Q And how do registration requirements                6 BY MR. HO:
 7 decrease participation?                                    7      Q This is a copy of the Virginia Capitol
 8      A Well, the specifics vary. I have a                  8 Connections quarterly magazine, spring of 2013, and on
 9 working paper that I'm hoping to get out the door          9 page 10 there's an article by you; right?
10 sometime soon on -- using search data to try to           10      A Right.
11 identify people who are searching for voter               11      Q The title of your article is: "How Photo
12 registration information in particular states after the   12 Identification Can Increase Turnout."
13 deadline has passed.                                      13            Do you see that?
14           And, so, you can, in a sense, using             14      A Yes.
15 search data, observe the presence of these people who     15      Q And on the left-hand column, the fourth
16 are, you know, trying to find information on how do I     16 paragraph down reads: "At minimum, passage of photo ID
17 register to vote. That's what they are searching for.     17 eliminates nearly all justifications for not allowing
18           And you know that's not going to work out       18 same-day registration at the polls."
19 for them in that election cycle because the state         19            Is, is it still your view that having a
20 deadline is gone.                                         20 photo ID requirement "eliminates nearly all
21      Q Alex Street did some research on that;             21 justifications for not permitting same-day registration
22 right?                                                    22 at the polls"?
23      A I wouldn't know specifically. I don't --           23      A I rethought that a little bit. I think
24 I don't recall. We might have cited that work in this     24 when I wrote that I didn't realize the degree to which
25 paper. I don't -- I don't know.                           25 state-issued photo identification, for example,


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 1 driver's licenses, were available to people who were       1 and preelection registration deadlines reduce turnout."
 2 ineligible to vote by reason of not being citizens, for    2           When you reference "many studies" showing
 3 example.                                                   3 that preelection day registration requirements reduce
 4           On the other hand, in the con -- in the          4 turnout, what are you referring to?
 5 context of some kind of implementation of real ID that     5       A Well, so I think in the working paper
 6 did provide that kind of information, I would believe      6 that this was partly based on, I had some citations to
 7 that if you have a, a state that has done -- that, you     7 those studies, and some of them are probably cited in
 8 know, where you know that these are people who are         8 the paper we were previously discussing. I don't have
 9 citizens and they have the state ID card, I think that     9 that list of citations ready for you right off the top
10 there's little reason to require any delay in             10 of my head.
11 registration. You know that they are who they are.        11       Q Any of them come to mind? It's okay if
12 The ID has their, their address. I would be in favor      12 you don't.
13 of same-day registration in that context.                 13       A I don't have them in mind. I'll start
14      Q So in a state that has implemented the             14 listing studies and miss some and be -- get some -- the
15 REAL ID Act and has photo ID law, you would be in favor   15 date of some study wrong, and so forth.
16 of same-day registration?                                 16            Ben Highton has done various studies on
17      A Not quite. That's not quite what I said.           17 this. A wide range of people have done studies on
18      Q Okay.                                              18 these kinds of issues.
19      A Because there are a variety of meanings            19            As Professor Ansolabehere talked about in
20 of implementation of the REAL ID Act, and so forth.       20 his deposition, there's been a lot of work on
21           What I said is, a state that has                21 cost-of-voting kinds of issues and not much work on
22 implemented The REAL ID Act in such a way that --         22 voter-fraud issues. And, so, there's a pretty large
23           THE COURT REPORTER: I'm sorry?                  23 literature on these, these kinds of issues.
24           THE WITNESS: I'm sorry.                         24       Q Now, you're aware that most states permit
25           If a state has implemented the REAL             25 registration by mail, right, Professor Richman? All


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 1 ID Act in such a way that the identification being         1 states do, in fact.
 2 issued may -- is aligned with or has some notation         2      A I, I am not an expert on the current,
 3 designating individuals as being eligible to --            3 most, most up-to-date set of state laws on registration
 4 eligible to vote, so some notation of people who are       4 status. We had a set of variables for registration
 5 non-citizens, for instance, I would be in favor of         5 status and it was covered in the study with Andrew
 6 using that as a -- more or less, I advocate here nearly    6 Pate, for example, but that was a number of years ago.
 7 a substitute for, for voter registration.                  7            I don't follow it exhaustively. But most
 8      Q Now the fifth paragraph, the next                   8 states have a variety of ways for voters to register,
 9 paragraph down, you write: "Shifting to same-day           9 including, increasingly, online registration.
10 registration would allow thousands of additional          10      Q And by mail; right?
11 Virginians access to the ballot."                         11      A And by mail.
12           Is it still your view that shifting to          12      Q Would you agree that for almost all
13 same-day registration would increase ballot access in     13 eligible voters, it's possible to register either by
14 Virginia for thousands of voters?                         14 mail or online in advance of election day?
15      A I -- that's still my view on the basis of          15      A I don't know the specifics, but most
16 the evidence that I discuss, yeah.                        16 likely it's possible. I know it's going to be
17      Q I think in the right-hand column you talk          17 individual- and context-dependent, I suppose, the
18 about potentially 40,000 voters in Virginia who might     18 particular person's circumstances; but usually.
19 be able to participate with same-day registration; is     19      Q So what I'm trying to understand is, if
20 that correct?                                             20 most people can register to vote either by mail or
21      A That was the estimate. Of course, that             21 online in advance of election day, how would having
22 could be wrong.                                           22 registration available on election day actually
23      Q Now the -- still in the fifth paragraph            23 facilitate participation?
24 on the left-hand column -- your next sentence reads:      24      A Well, so let me -- if you look at, for
25 "Many studies show that voter registration requirements   25 example, the figure here for searches in 2010, there


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 1   were a lot of searches for "register to vote" that         1 some people and thereby decrease participation?
 2   happened after the registration deadline.                  2      A The -- you're asking a, a broad -- I
 3             Presumably, those were people who were           3 think it would be contingent a bit on what the specific
 4   interested in registering to vote, at least a good         4 requirements we're talking about are.
 5   number of them likely were. And, so, at that point,        5      Q Um-hum.
 6   the option of registering to vote by mail or on the        6      A The -- but -- the example I gave you
 7   internet is not available, and neither is, in most         7 before in answering this question was, yes, there are
 8   states, though it varies, the option of same-day           8 some people who, because of the timing and because of
 9   registration.                                              9 their relative inattention to the electoral process,
10        Q So would you agree then that a                     10 may be shut out of participation by a registration
11   registration requirement that most people can comply      11 deadline that has passed at the time that they realize
12   with can still increase the cost of voting and            12 they want to register to vote in that particular
13   therefore decrease overall participation?                 13 election.
14        A As I argued here, in this case, it's a             14           So it's going to be context specific,
15   matter of timing. There are people who realize they       15 particular people in particular contexts, and so
16   want to register to vote in a, in a particular election   16 sometimes the costs associated with some election rule
17   after the deadline has passed. That's the issue with      17 or requirement are born broadly and across lots of
18   registration deadlines.                                   18 people in the same small degree; other times they are
19             And, so there -- so the issue there is          19 concentrated on some people. So there's going to be
20   some kind of balancing of various states' interests in    20 variability in the way it plays out across different
21   terms of the security of the electoral process and        21 specific contexts.
22   verifying the information provided by registrants and     22      Q And as a political scientist, if you're
23   access to the ballot.                                     23 trying to assess whether or not a registration rule
24        Q Right.                                             24 affects voter participation, you wouldn't just -- well,
25        A Ultimately, I think what we should aim             25 you wouldn't just ask yourself whether, in the


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 1 for is an electoral system that is both very secure and      1   abstract, it sounds like the kind of requirement that
 2 very accessible.                                             2   most voters can comply with; right?
 3      Q So my question wasn't about balancing and             3        A Ultimately, it's going to be contextually
 4 it wasn't about the timing of registration deadlines         4   dependent. So, for example, some rules look like they
 5 specifically. It was sort of just a more broad               5   will have a larger effect than they end up having
 6 question about the costs of voting framework, and it's       6   because the kinds of people affected by those rules are
 7 this: If a registration requirement is something that,       7   people who wouldn't be participating in elections in
 8 for most people, it's relatively easy to comply with,        8   general already.
 9 can that requirement still increase the costs of voting      9             So the context matters a lot in terms of
10 for some people and thereby decrease overall                10   assessing what the impact is, and it might end up being
11 participation?                                              11   larger or smaller than one thought it would be
12      A I think I already answered that question.            12   pre-examination of any evidence.
13      Q Well, you told me something about timing.            13        Q And if you want to examine that context
14      A Yes.                                                 14   that you're referring to about how a law actually might
15      Q But I'm not talking just about the timing            15   affect voter participation, you'd want to have some
16 of registration requirements. I'm talking more broadly      16   sense about how that law actually affects voters in
17 about whether or not registration requirement,              17   practice; right?
18 generally speaking --                                       18        A That's what the empirical literature
19      A Um-hum.                                              19   attempts to do in a variety of ways. It's sometimes
20      Q -- whether it's you fill out a particular            20   challenging to get an accurate assessment because
21 form or you do it at a particular time or you do it in      21   sometimes things are correlated with each other, so --
22 a particular place or you provide certain information,      22   and you have to try to find ways to control for that.
23 just registration, generally, requirements, whether or      23   So maybe states that have tougher voter registration
24 not a requirement that is easy for most people to           24   rules, for example, maybe the effects -- the
25 comply with can still increase the costs of voting for      25   differences in turnout that you are observing are not

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 1   due to the registration rules but due to various other     1   election statewide --
 2   factors that might be co-associated, including just a      2        A Um-hum.
 3   state political culture that puts less emphasis on         3        Q -- before the rule was enacted, and then
 4   voting by everybody above and beyond any particular        4   comparing it to turnout in that same state in an
 5   effective rules. And, so, the specific empirical           5   election after the registration requirement was enacted
 6   assessment can be done in a variety of ways, and it's      6   and saying that that constituted evidence, all by
 7   always -- you know, it's always a process of marshaling    7   itself, just those two numbers, of the effect of the
 8   of a variety of evidence and assessment of that            8   registration rule?
 9   evidence. And that's what the literature attempts to       9        A It would seem to be one relevant piece of
10   do in various ways.                                       10   evidence. It's not the only kind of evidence one could
11        Q Now, as a political scientist, if you              11   examine, and so my confidence in any conclusion would
12   wanted to assess the effect of a new registration rule    12   depend upon a variety of other evidence as well.
13   on voting, do you think it would be methodologically      13       Q What other evidence would you want to
14   sound to simply compare total turnout numbers in one      14   know in order to have some confidence in a conclusion
15   election before the law was enacted to total turnout      15   drawn from the comparison that I just described?
16   numbers in a similar election after the law was           16         A Well, so, for instance, one could look
17   enacted?                                                  17   at -- one could try to examine nearby states that were
18        A I think that that would be a useful                18   similar and see what -- you know, try to look at -- you
19   strategy. In fact, that's -- one of, one of the           19   know, the concern in that kind -- in the kind of
20   articles I think we cited in here was an experiment --    20   analysis you just laid out would be that perhaps there
21   was a quasi-experimental analysis of some counties in a   21   was some -- something else that happened that drove an
22   couple of states that hadn't had voter registration       22   increase or a decrease. And, so, you want to try to
23   requirements when nearby counties did, and then rules     23   look for various ways to get some control over that.
24   were changed that forced those counties to add            24            Absent any kind of control, the evidence
25   registration requirements.                                25   doesn't come in two shades, black and white; it comes

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 1            And, so, the examination was both between         1 in various shades of certainty. And, so, I would
 2 comparable counties that had and hadn't previously, and      2 consider evidence comparing the election before and
 3 then post. So this allowed for, potentially, a fairly        3 election after as one potentially useful piece of
 4 good assessment.                                             4 evidence, but I don't think it's the last or the only
 5            With looking purely within states, the            5 kind of evidence one could examine.
 6 one challenge is there could be changes in the overall       6           And, so, ultimately, I'd want to look at,
 7 election environment that might make a difference. But       7 in terms of -- you know, so that would influence my
 8 it's a reasonable place to go in terms of trying to          8 assessment to a degree, but I'd want to see what other
 9 assess.                                                      9 kinds of evidence could be assessed potentially as
10            There was recently a study published on          10 well.
11 the Virginia photo identification requirement, for          11      Q Let me give you a hypothetical of a kind
12 example, which suggested that turnout went up after         12 of evidence that we could use to assess --
13 identification -- after implementation of that              13      A Okay.
14 requirement.                                                14      Q -- the effect of, we'll just say same-day
15       Q Well, let me ask you about the county               15 registration. Okay?
16 example that you just listed.                               16      A Okay.
17            That was a comparison of multiple                17      Q And here's the hypothetical: Let's say
18 counties, some of which had the registration                18 we live in a state with same-day registration. Let's
19 requirements --                                             19 say there are a hundred thousand voting-age people in
20       A That's right.                                       20 the state and -- voting-age citizens. Okay?
21       Q -- some of which didn't; right?                     21           Feel free to write it down.
22       A That's right, yes.                                  22           And let's say we do a survey, and we
23       Q Would you think it would be a                       23 contact 50 voting-age citizens in the state. Let's say
24 methodologically sound way to assess the effect of a        24 half of them, 25, tell us that they are registered to
25 new registration rule by simply taking turnout in an        25 vote, and let's say 5 of those people say that they


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 1 became registered to vote in time for the last election    1      Q Let me add one more fact to the
 2 because of same-day registration. They give us this        2 hypothetical. There's a hurricane. All right? We're
 3 information in the survey.                                 3 in a coastal state, and it wipes out the state's
 4           So 10 percent of our survey sample of            4 registration records, no backups; it's all gone in the
 5 voting-age people tell us that they use same-day           5 flood. And we wanted to find out how many people used
 6 registration.                                              6 same-day registration in the last election.
 7      A Wait, I thought -- okay, sample is 50,              7           Do you think it would be methodologically
 8 yeah. Right, okay.                                         8 sound to take the 10 percent figure from your sample of
 9      Q Got the hypo?                                       9 50 and apply it to the full state's population of a
10      A Yeah, I got the hypothetical.                      10 hundred thousand and say, I believe that 10,000 people
11      Q Okay. Great.                                       11 were able to register and vote because of same-day
12           So now assuming these facts --                  12 registration based on my sample of 50?
13      A Um-hum.                                            13      A Well, so, again, a lot depends upon the
14      Q -- would you take that 10 percent number           14 context. You said a sample of 50. Is that for some
15 from our sample of 50 and then apply it to the total      15 reason all that one can sample? Ideally, if there are
16 voting-age population of a hundred thousand and           16 opportunities to get a larger sample, one might well
17 conclude that 10,000 people in the state were able to     17 want to try to do that. And, so, if we're thinking
18 register to vote because of same-day registration?        18 about all state -- all hundred thousand state
19      A Well, I -- as I articulated to you                 19 residents, are you going to add also there are only 50
20 before, I -- in any context, the more information you     20 who have phones left?
21 can get, the better.                                      21           In that case, I would worry about --
22           If this is -- this is an odd hypothetical       22 worry about why they had phones. But --
23 in the sense that if we think about same-day voter        23      Q There's going to be some response bias
24 registration, there's good data on how many -- likely     24 there; right?
25 to be good data on how many people actually registered    25      A So --

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 1 same day. And, so, in that case, using a survey of         1      Q But let's just say, this is what you got.
 2 this sort in order to estimate effects might not be the    2      A Right.
 3 most powerful approach.                                    3      Q Someone comes to you, you're a
 4           It's a -- lot is going to depend upon            4 peer-reviewer for an article. Someone says, hey, look,
 5 what other kind of data is available. So in your           5 I did this survey, hurricane, we don't know how many
 6 hypothetical, it seems implausible that this is the        6 people actually used same-day registration in the last
 7 only kind of information that was available.               7 election, but I got a sample of 50 through a phone
 8           If this was, however, in a context in            8 survey.
 9 which, for some reason, no other information is            9      A Um-hum.
10 available, there's going -- you have to -- it's           10      Q Those are the responses I got. I tried
11 obviously very uncertain, but it would indicate that a    11 calling more, but this is what I got, and I want to
12 portion of people were advantaged by same-day             12 publish this article and say that 10,000 people
13 registration.                                             13 registered to vote in this state using same-day
14           So it's information. It's imperfect             14 registration.
15 information, very much so.                                15            Would you accept that article for
16           In the context of your hypothetical,            16 publication?
17 there's probably a lot of other information that one      17      A The standards for peer-review include a
18 could use because your hypothetical with same-day         18 variety of things, including novelty. In this context,
19 registration where, presumably, any kind of reasonable    19 there's a lot -- there has been a lot of study of the
20 state recordkeeping would provide some specific           20 issue of same-day registration. And, so --
21 numbers.                                                  21      Q Let's leave other --
22           There are other contexts in which less          22      A A lot of uncertain -- a lot of
23 other information is available, in which case one has     23 uncertainty would be associated with an estimate based
24 to rely on, to the extent one can draw conclusions, one   24 on such a small sample.
25 has to rely on the information that is available.         25            My guess is, in the context of that

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 1 uncertainty, this wouldn't provide much new                1   I do respect you have a follow-up question, but I'm not
 2 information. Novelty is an important criteria in terms     2   quite done with my answer.
 3 of peer-review. I doubt that this hypothetical study       3              The current population survey, which is
 4 would have sufficient novelty to warrant publication       4   used to assess nationwide unemployment, has a sample
 5 because there's been so much other work done using         5   size well over a hundred thousand per month. That's
 6 better data than that. So I think a lot depends upon       6   because we want pretty precise estimates. We want it
 7 what's available.                                          7   to mean something when we say the unemployment rate
 8            So in my graduate statistics class last         8   moved by 2 -- .2 percent.
 9 week, we were talking -- we were examining an instance     9             The American Community Survey, which is
10 of a study that was published in the Journal of           10   used to assess various aspects of the populations of
11 Politics, which is one of the leading journals in         11   different communities across the country, has an annual
12 political science in America, looking at the issue of     12   sample size of several million. The five-year estimate
13 what happens to coalitions that win wars, do they start   13   is more than 10 million. That's because we need more
14 fighting with each other.                                 14   precise estimates. So it's really, as I said before,
15            The overall sample is only, in the             15   it's extremely context-dependent what -- and it depends
16 article, is only about 26 cases or something like that.   16   upon partly how much information is already known.
17 Why is it so small? My -- basic -- my sense is that's     17              That affects -- and how much -- how large
18 because that's basically the universe of cases. And,      18   the sample sizes potentially can be, all of that
19 so, that's a small sample size.                           19   affects the question of whether a result based on 50
20            But it got published in a leading journal      20   observations is publishable or not.
21 because in the context of this question, that is about    21              The example I gave from the Journal of
22 as good a sample as one can get. And, so, if you're       22   Politics was a sample of less than 30 observations.
23 going to try to learn about this interesting and          23   That was published in a leading journal because, in the
24 potentially important issue, you're going to have to      24   context of that particular research area, that was a
25 learn from the kinds of data that are available.          25   good sample. Obviously, there's uncertainty associated

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 1       Q Okay. Let's forget about the novelty               1   with working from such a small sample, but it -- a lot
 2 question and stick with my hypothetical here for a         2   is, as I said, context dependent.
 3 second. Okay?                                              3        Q Okay. You have told me a lot about other
 4           Leaving aside the novelty issue, would           4   different contacts, like the ACS, the CCES, and the
 5 the hypothetical that I gave you, where someone tried      5   study about wars, but I'm asking you about this
 6 to extrapolate the effect of same-day registration         6   context.
 7 based on a sample of 50 survey respondents to a            7              Your answer to my last question was
 8 population of a hundred thousand people, would a           8   nonresponsive, so I'm going to ask it to you again.
 9 straight mathematical extrapolation be methodologically    9              Leaving aside the novelty question, is a
10 sound?                                                    10   sample of 50 people to determine whether or not they
11       A This is the sort of thing that polls do           11   used election-day registration a methodologically sound
12 all the time. The basic technology of polling is you      12   sample from which to estimate how many of a population
13 sample -- you sample a portion of some population.        13   of 100,000 used same-day registration, Professor
14 It's typically very small. The naive sense among the      14   Richman?
15 public is, well, so this poll only had -- only surveyed   15        A So you're leaving -- are you including
16 a thousand people, how in the world can it tell us        16   the issue of publishability or not? That was part of
17 anything about what people nationwide think about         17   your earlier question; I didn't hear that this time.
18 something.                                                18        Q It's not. It's just about is it
19           But, but there -- you know, it provides         19   methodologically sound, as a political scientist?
20 some information. It's imperfect. Depending on how        20             MR. ROE: Dale, real quick, can you
21 precise you want the information to be, you need a        21   clarify something? Is this the same hypothetical you
22 larger sample size. So, for ex -- for instance --         22   gave earlier?
23       Q Is 50 people --                                   23             MR. HO: Yes.
24       A -- the current population survey --               24             MR. ROE: Is this about all the same --
25           I'm sorry. I, I hadn't quite finished.          25             THE WITNESS: This is election day, and

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 1 so forth. As I said before, one might -- well, you         1 in 2006. It has been conducted for each congressional
 2 know, we're in a -- we're down a rabbit hole in this       2 election since; so 2006, 2008, 2010, 2012, 2014, and
 3 hypothetical where somehow there isn't much other          3 most recently in 2016.
 4 information available.                                     4      Q Do you consider Professor Ansolabehere to
 5           In that context, yes, we're learning             5 be an expert on survey research?
 6 something about the effectiveness of the election day      6      A I think that he is to --
 7 registration requirement by looking at this data.          7           MR. ROE: Objection, calls for legal
 8 BY MR. HO:                                                 8 conclusion.
 9      Q And I believe you at one point said that            9           THE WITNESS: Professor Ansolabehere is a
10 an estimate drawn in this context from 50 survey          10 political scientist I've known for some time. When I
11 respondents to a population of 100,000 would be very      11 did the summer program in empirical implications of
12 uncertain. Do you remember using that expression?         12 theoretical models at Harvard in 2002, I think it was,
13      A I don't specifically, but I did use                13 Professor Ansolabehere was one of the faculty members
14 expressions about uncertainty previously.                 14 there and I got to know him a little bit.
15      Q And what do you mean when you say it               15           I, I think that this, their construction
16 would be very uncertain?                                  16 of this survey instrument has done a great service to
17      A Well, it's because of sampling error.              17 the political science community, and I, I appreciate
18           Now, this is what the -- this is what           18 the tremendous efforts that he and his colleagues went
19 confidence intervals attempt to put some balance on.      19 through to get that project to work.
20           And in my response to Professor                 20 BY MR. HO:
21 Ansolabehere, which I imagine is another exhibit that     21      Q Do you consider him to be knowledgeable
22 we'll be seeing at some point today, I provided a range   22 about survey research?
23 of different confidence intervals using a variety of      23      A On the whole, I think he is knowledgeable
24 different methods for the various estimates.              24 about survey research.
25           These are attempts to quantify that             25      Q Do you consider Professor Ansolabehere to

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 1 uncertainty, which I, I mentioned. Right? You're           1 be knowledgeable and qualified to offer an opinion
 2 sampling -- the smaller the sample, the less precise,      2 about statistics?
 3 and I talked about this in the context of the different    3           MR. ROE: Objection, calls for legal
 4 size samples for different purposes.                       4 conclusion.
 5           The smaller your sample, the less precise        5           THE WITNESS: I don't know in detail his
 6 the information is that you can draw from it.              6 statistics background. I was struck by some of the
 7      Q I want to show you something we'll mark             7 choices he made in his response to my piece, which
 8 as Richman Exhibit 7.                                      8 seemed inappropriate. That surprised me to a degree.
 9           ("Do non-citizens vote in U.S.                   9           Nonetheless, on the whole I think he has
10           elections?" by Richman, Chattha, Earnest,       10 a reasonable background in, in survey research and in
11           marked as Richman Exhibit Number 7)             11 statistical analysis.
12           THE WITNESS: Thank you.                         12 BY MR. HO:
13 BY MR. HO:                                                13      Q What is your knowledge of
14      Q This is your Electoral Studies article on          14 Professor Ansolabehere's reputation as a political
15 non-citizens registration; correct?                       15 scientist amongst other political scientists?
16      A Yes.                                               16      A My impression is that he has a good
17      Q And your estimates for non-citizens                17 reputation.
18 registration in this paper are based on the Cooperative   18      Q All right. Let's talk about your article
19 Congressional Election Study or CCES; correct?            19 here for a moment. Can you turn to page 150, which I
20      A Correct.                                           20 think is the second page?
21      Q And who designed the CCES?                         21      A 150, page number -- yes.
22      A The CCES was designed by a group of                22      Q Can you look at the left-hand column, the
23 researchers. Stephen Ansolabehere and Brian Schaffner     23 second full paragraph of the last sentence: "We find
24 are two of the principal investigators for the study.     24 that non-citizen participation in U.S. elections is low
25 It was -- I believe the first round of it was conducted   25 but non-zero, with an unusual set of covariants with


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 1 participation and the potential to change important          1 argue that they are things that they weren't.
 2 election outcomes."                                          2      Q Is it your view that non-citizens'
 3      A I'm sorry. I'm having trouble finding                 3 participation in elections in Kansas is at a similar
 4 that here. Which, which paragraph are you on? Okay.          4 level to the national rate of non-citizens'
 5 You're on the left side.                                     5 participation, or is there a difference?
 6      Q The left column, second full paragraph                6      A Well, I think a relevant aspect might
 7 before the header data --                                    7 involve the time period that one is looking at, also.
 8      A Okay.                                                 8           I discussed a little bit in my report
 9      Q -- the last sentence. Do you see that                 9 data from the CCES from 2012 to prior. That was before
10 last sentence there?                                        10 Kansas implemented the requirements which I believe are
11      A I see it.                                            11 the focus of litigation in this case.
12      Q What do you mean when you say that                   12           My sense from that data is that I didn't
13 "non-citizen participation in U.S. elections is low"?       13 see any particular evidence that Kansas was unique.
14      A That it's modest compared to                         14           Given that we've had several years now of
15 participation by other groups. So our estimates vary        15 a lot of publicity around the issue of non-citizens not
16 widely and -- but the -- because it's -- they are based     16 being allowed to vote and of variable degrees of
17 on small samples, as we talked about, more -- larger        17 enforcement of requirements that people provide proof
18 samples lead to tighter confidence intervals.               18 of citizenship to register to vote, my guess would be
19           But -- and there are also -- there are            19 that at this point, those requirements have had some
20 also various ways of assessing whether someone is           20 effect in terms of diminishing the degree to which
21 registered to vote or not, which lead to different          21 non-citizens are registering or attempting to register
22 estimates, as we discuss in the paper.                      22 to vote in the state of Kansas.
23           So what I meant was, it's modest; it's            23      Q When you say that non-citizens
24 not, not large compared to, well, for instance,             24 participation is non-zero in this article, that means
25 naturalized citizens or all citizens.                       25 you calculated statistical significance for purpose of


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 1        Q Is it your -- still your view that                  1   this article; correct?
 2   non-citizens participation in U.S. elections is low?       2        A We have -- we have some confidence
 3        A Absolutely. As I articulated in various             3   intervals that are included at some points in the
 4   contexts, it's not high. It's modest. It's low. I          4   article. We didn't include very many, but we did
 5   have tried to push back in various places against          5   include some.
 6   narratives that have tried to use this study to take       6        Q And just to back up so that I understand
 7   the view that extremely large numbers of non-citizens      7   what --
 8   are registered in voting. For example, the claim by        8        A But --
 9   some people associated with Trump's team that several      9        Q -- "confidence intervals" mean. That's a
10   million -- I wrote some pieces on my blog, and they got   10   range within which you have a certain degree of
11   some circulation in terms of trying to push back          11   statistical confidence that the true value of the thing
12   against that notion.                                      12   you're trying to estimate lies. Is that an accurate
13             The level of non-citizens participation         13   way of describing a confidence interval?
14   is not high. At the same time, it's large enough, as      14        A More or less, yes.
15   we also argue in this paper, to tip sufficiently close    15        Q And it's standard in political science to
16   elections.                                                16   use a confidence interval with a 95 percent
17             And, so, it's been a -- it's been hard to       17   probability; is that right?
18   communicate that to, in a public and media environment    18        A That's conventional.
19   which tends to either want there to be none or want       19        Q Did you use a 95 percent probability
20   there to be as many millions as one needs to make up      20   range in this article when you calculated your
21   for whatever electoral deficit one wants to claim is      21   confidence intervals?
22   due to non-citizens participation.                        22        A I believe we did.
23             Although the estimates are very                 23        Q And what does it mean when you have two
24   uncertain, at the same time, there are things that they   24   estimates for the same thing but the confidence
25   aren't, and I've tried to push back against attempts to   25   intervals -- and the confidence intervals overlap?

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 1   That means that, statistically speaking, you can't         1           And you have another estimate that's the
 2   really distinguish between those two estimates; is that    2 high-end estimate, that is, people who said they were
 3   right?                                                     3 non-citizens and either said they were registered to
 4        A Potentially, but not always. Sometimes              4 vote or could be linked to an official voter
 5   when confidence intervals do overlap, they are still       5 registration record; correct?
 6   statistically distinguishable, because you have to         6      A Right.
 7   calculate the confidence interval for the difference       7      Q As a political scientist, which of those
 8   and see whether that confidence interval for the           8 two estimates do you think is more likely to give you
 9   difference is larger than the difference or not.           9 an approximation of the actual value?
10             So, so that's, that's one aspect.               10      A I think that the actual value is likely
11             I, I think it's important, also, in the         11 to be somewhere between them. The high-end estimate, I
12   context of the study, we have a report, for example,      12 think, is almost surely too high, in the sense that I'm
13   estimates of registration based upon both on the low      13 not confident that someone who said they were
14   end, most conservative count, which is people who said    14 registered but doesn't have a voter file match -- or,
15   that they were registered and had a verified              15 rather, has a voter file match which says they are not
16   registration status by catalyst; that's the low end       16 registered, or vice versa, I'm not that confident that
17   estimate, here on table 1 on page -- the page number is   17 that person has voted.
18   obscured here, but I think it's 152.                      18           On the other hand, matching is imperfect
19             That's the low end estimate, so that's          19 and people don't always tell the truth in surveys and,
20   the most conservative estimate.                           20 in particular, I think one might want to be concerned
21             And then we have an estimate which is the       21 about whether someone who said they are a non-citizen
22   least conservative estimate, which is people who gave     22 is going to self-report that they are also registered
23   some indication that they were registered to vote.        23 to vote or that they voted, because that's admission of
24   That could be that they, that they reported that they     24 a -- an activity that is a violation of election laws.
25   were registered to vote; it could be that they had        25           So the low-end conservative estimate is

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 1 verified registration status; it could be that they had      1   probably too low.
 2 both; it could be that they had contradictory evidence       2       Q Do you think that the true value for
 3 in terms of, for instance, they said they weren't            3   non-citizen registration is closer to the low-end
 4 registered to vote, but then they had verify -- they         4   estimate or the high-end estimate?
 5 had a voter file match.                                      5       A You know, I don't know. This is
 6           So that's the least, that's the least              6   something that hopefully subsequent research will help
 7 certain high-end estimate, so the least conservative         7   us get a stronger handle on.
 8 estimate.                                                    8             THE VIDEOGRAPHER: Excuse me, Counsel,
 9           Those are two very different estimates.            9   your microphone fell off.
10 There's no -- you know, it's not necessarily the case       10             MR. HO: Thank you.
11 that these confidence intervals are going to intersect      11             THE WITNESS: Do you need to rerecord
12 with each other, because they are confidence intervals      12   anything or we're okay?
13 for two different estimates based upon different ways       13   BY MR. HO:
14 of operationalizing the concept of a non-citizen who is     14        Q So getting back to this broader question
15 registered to vote.                                         15   about confidence intervals, is it a good rule of thumb
16      Q Let me just unpack some of the different             16   that if you have confidence intervals for two estimates
17 things that you said there. You have one estimate           17   that do not overlap, that those estimates are
18 that's conservative, which is non-citizens who could be     18   statistically distinct?
19 linked to a voter registration file with a state;           19        A Yes, that's -- that's typically what that
20 correct?                                                    20   means. And, so, in the case of these two estimates,
21      A No. And who also at the same time said               21   what that means is they are distinct, which is hardly a
22 they were registered to vote.                               22   surprise because they are different estimates.
23      Q Okay.                                                23        Q So if you have two estimates for the same
24      A So it's both of those together.                      24   phenomenon and they are statistically distinct, both
25      Q Got it.                                              25   estimates can't be correct; would you agree with that?


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 1   In terms of telling us what the true value is.           1           If we calculate an estimate and the
 2        A Well, as we were just talking about -- I          2 confidence interval overlaps with zero, that means we
 3   think I already answered this, more or less -- you are   3 can't reject the null hypothesis; right?
 4   going to have -- but to generalize that response,        4       A That's typically what it means.
 5   because we're talking more in the abstract now, in that  5       Q And, typically, the null hypothesis means
 6   kind of context, you want to look at how each measure    6 the hypothesis that the phenomenon that we're trying to
 7   is being operationalized, what is the specific way that  7 observe, in fact, does not exist; is that correct?
 8   the estimate is being constructed and what are the       8       A The null hypothesis takes on a variety of
 9   potential limitations, flaws, biases of the different    9 forms. It's usually more a matter of whether we can
10   estimates.                                              10 distinguish the phenom -- whether we have confidence at
11        Q If you calculate an estimate and the             11 95 percent level that the true value is not some value.
12   confidence interval for that estimate overlaps with     12           So if the confidence interval includes
13   zero, what does that mean?                              13 zero, we're not confident at 95 percent level that the
14        A So if you calculate an estimate and the          14 true value is different from zero.
15   confidence interval overlaps with zero, what that means 15           Now in the context of a binomial
16   is -- there's some ambiguity about what that means. If 16 proportion, as I articulated in my result, my report, I
17   you have a -- if you have identified actual cases, my 17 think it is odd to conclude that when one has valid
18   personal view is that any fully valid case demonstrates 18 cases above zero, that the true percentage is zero.
19   that the actual value can't be zero.                    19           But clearly a confidence interval that
20              But in terms -- and some methods --          20 includes zero suggests that the proportion could be
21   methods of calculating confidence intervals handle this 21 very close to zero, and so that's -- that's more what
22   in various ways. Some methods include -- create         22 it would likely indicate.
23   confidence intervals that go to the other side of zero. 23       Q Back to your article.
24   For a binomial proportion, that's a little bit odd.     24           I want to ask you about -- I think you're
25              In general, when you -- you're conducting    25 on page 152 there -- the right-hand column, the last


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 1 hypothesis testing. So let's say you have a regression       1 full paragraph, or the only full paragraph in the
 2 coefficient, you're asking -- the question you're            2 right-hand column.
 3 interested in is, is the slope of the effect of one          3      A Okay.
 4 variable on another variable non-zero or not; right?         4      Q It reads: "How many non-citizen votes
 5 The question is, does the confidence interval include        5 were likely cast in 2008? Taking the most conservative
 6 zero. If the confidence interval includes --                 6 estimate" -- I think that's supposed to be "of" --
 7           Sorry. I'll slow down. Do you need me              7 "those who both said they voted and cast a verified
 8 to go back?                                                  8 vote, yields a confidence interval based on sampling
 9           THE COURT REPORTER: Yes.                           9 error between 0.2 percent and 2.8 percent for the
10           (Discussion off the record)                       10 portion of non-citizens participating in elections."
11           THE WITNESS: The slope of one variable            11           I read that -- did I read that correctly?
12 over another variable, say from a regression analysis,      12      A I think that must be a typo in the 2.8
13 you'll construct an estimate of the confidence interval     13 percent, but 0.2 to some upper level. But I think
14 and your interest is, is this slope zero or not. So         14 that's probably a typo --
15 you will examine does the confidence interval include       15      Q Okay.
16 zero. If the confidence interval includes zero, then        16      A -- the 2.8, because the estimate was 3.3.
17 we don't -- you don't have 95 percent confidence that       17      Q Just to be clear, you, you made sure to
18 the slope is non-zero.                                      18 calculate your margin of error before you published
19           Conventionally, that means you don't have         19 this article; right?
20 enough evidence to reject the null hypothesis that the      20      A Yes.
21 slope is zero.                                              21      Q You wouldn't have submitted this article
22 BY MR. HO:                                                  22 for publication without calculating your margin of
23      Q So let's unpack that null hypothesis                 23 error, would you?
24 terminology for non-political scientists who don't know     24      A No.
25 as much about this as you.                                  25      Q Would it have comported with accepted

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 1   standards in political science to submit this article   1      who say they've participated in elections to the
 2   without calculating a margin of error?                  2      non-citizen population as a whole?
 3        A No.                                              3          A And later in that paragraph, we say we
 4        Q And in this article, what method did you         4      confront this issue primarily by weighting the data,
 5   use for calculating the margin of error for your        5      and discuss the way we use the CCES weights and then
 6   estimate of non-citizen voting?                         6      supplemented those with additional weighting as well.
 7        A I, I believe that what I used was the            7           Q And one of the additional weights that
 8   conventional Wald met -- approach.                      8      you applied, correct me if I'm wrong, is that you
 9            At that point, I was not yet aware of          9      weighted the CCES respondents for race --
10   some of the literature that I discussed in my response 10           A That's right.
11   to Ansolabehere concerning the limitations of the Wald 11           Q -- in order to match up with the
12   approach. It is the conventional approach and remains 12       non-citizen population as a whole; is that correct?
13   so in spite of substantial criticism.                     13        A Um-hum.
14        Q So in your lone peer-reviewed article on           14        Q And you did that because there might be
15   non-citizen registration, you used the Wald method for    15   some variation in terms of registration by race, and so
16   calculating the margin of error for non-citizen           16   you wanted to make sure that your survey sample was
17   registration; correct?                                    17   weighted appropriately when you applied -- when you
18        A I believe I did.                                   18   made an estimate about the overall population; is that
19        Q And when you published this article, you           19   right?
20   believed that that was the methodologically appropriate   20        A I'm sorry, you said -- you suggested that
21   method for calculating the margin of error for            21   we thought there might be differences in registration
22   non-citizen registration; correct?                        22   by race?
23       A Yes.                                                23        Q Yes.
24       Q You didn't use a method that you thought            24        A Okay.
25   was methodologically inappropriate at the time?           25            Our concern was more with the

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 1       A That's right.                                        1   representativeness of the sample.
 2       Q And the method that you used for                     2       Q Okay.
 3   calculating the margin of error was adequate for           3       A And so our -- so the CCES sample in the
 4   peer-review?                                               4   appendix of this paper provides the unweighted
 5       A Yes.                                                 5   proportions. You'll note that the proportions don't
 6       Q What value did you use for P when you                6   match fully the racial demographic estimates for the
 7   used the Wald method for calculating the margin of         7   country on race for non-citizens. Some groups are
 8   error at 0.5?                                              8   over-represented. And, so, on that basis, the -- we
 9       A The value I used for P was the observed              9   wanted to correct for the -- by re-weighting on race.
10   proportion. So the observed proportion in the survey.     10       Q So just to be clear, before you made an
11       Q I'd like to turn back to the previous               11   estimate of non-citizen registration based on the CCES
12   page in your article, the left column.                    12   sample that you have in this article, you wanted to
13       A The previous page?                                  13   weight by race in order to adjust for differences
14       Q Yeah, page 151.                                     14   between your sample and the non-citizen population as a
15       A Okay.                                               15   whole; correct?
16       Q The second full paragraph reads: "It is             16        A We weren't purely weighting by race. We
17   impossible to tell for certain whether the non-citizens   17   also -- we took the regular current -- the regular
18   who responded to the survey were representative of the    18   weights from the CCES, and then we re-weighted those to
19   broader population of non-citizens, but some clues can    19   have the non-citizen sample match the appropriate
20   be gained by examination education levels."               20   current population survey or American Community Survey,
21           Now, am I right in reading you here as            21   I can't remember exactly which, since this data set we
22   making the point that the non-citizen sample from the     22   were using, but to match overall country level
23   CCES may not be representative of non-citizens as a       23   estimates of the racial demographics of non-citizens in
24   whole, and that, therefore, you want to investigate       24   the United States.
25   that before applying the percentage of CCES respondents   25        Q And an additional weight that you

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 1 applied, correct me if I'm wrong, was to try to ensure      1 column, the first sentence of that last paragraph
 2 that the education -- was to account for differences in     2 starts with "given."
 3 the education levels of the CCES sample and the             3           Do you see that?
 4 non-citizen population as a whole; is that correct?         4       A First sentence of the last paragraph
 5       A We did not specifically reweight for                5 of --
 6 education --                                                6       Q We're on -- still on 155, left-hand
 7       Q Okay.                                               7 column --
 8       A -- but what we did note was that when we            8       A Okay.
 9 reweighted by race, other characteristics seemed to         9       Q -- last partial paragraph on the page.
10 swing closer to appropriate levels.                        10       A Oh, we're in the appendix now. Okay.
11       Q Were there other variables that you                11       Q Yes.
12 reweighted the CCES data by, other than race?              12           "Given confidentiality and legal issues,
13       A No.                                                13 it is not" ethical -- "ethically possible to directly
14       Q And I believe you use an expression,               14 verify whether individuals who voted were/are
15 "best guess," in this article from time to time. For       15 non-citizens."
16 example, page 151, right-hand column, last paragraph,      16           Did I read that right?
17 first sentence.                                            17       A Yes.
18       A Um-hum.                                            18           In the context of this survey, we had no
19       Q So you provide throughout this paper a             19 access to any information about the survey respondents
20 best guess at rates of non-citizen participation;          20 beyond completely anonymized survey data set, and
21 right?                                                     21 the -- and I did not think it was going to -- it would
22       A Yeah, we do. That's correct.                       22 be possible, given confidentiality and legal issues, to
23       Q Okay.                                              23 get access to that kind of --
24           Now, on page 155 of the article, the             24       Q What are those --
25 left-hand column, first full sentence, you write: "In      25           THE COURT REPORTER: I'm sorry; to get

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 1   any case, such measures would come with significant       1   access to that kind of --
 2   costs for some citizens for whom the necessary            2             MR. HO: Sorry, I apologize.
 3   documentation could be challenging to provide."           3             THE WITNESS: -- to get access to that
 4              Did I read that correctly?                     4   kind of information.
 5        A I'm sorry. I'm having trouble finding              5   BY MR. HO:
 6   where you are.                                            6        Q What do you mean when you refer to
 7              155? Which paragraph?                          7   ethical issues here?
 8        Q 155, first full sentence.                          8        A Well, so, my one concern involved what --
 9        A Oh, first full sentence, okay.                     9   and if -- the principles of, of research involves the
10        Q Did I read that correctly?                        10   question of harm to participants. And, so, a concern
11        A Yes.                                              11   would be that specifically identifying individuals
12        Q And when you say "significant costs,"             12   would violate the trust, in terms of the anonymity or
13   that's a reference to the costs of voting framework we   13   confidentiality that they were guaranteed in the
14   discussed earlier; right?                                14   context of completing a survey. To then unmask them in
15        A Yes, that is a reference to that                  15   some way would be unethical. If they were promised
16   framework.                                               16   anonymity or confidentiality, that would be a violation
17        Q And when you refer to "measures" that             17   of the expectations they had when they entered into the
18   could come with significant costs for some citizens,     18   process of completing the survey.
19   you're referring to, for example, requirements that      19        Q Why do you offer people anonymity and
20   people show documentary proof of citizenship when        20   confidentiality when you conduct surveys sometimes?
21   registering to vote; correct?                            21        A Well, offering anonymity or
22        A That's what this paragraph is about, I            22   confidentiality is to protect individuals from being
23   believe.                                                 23   harmed by people using the survey research data set in
24        Q Okay.                                             24   some way that would take advantage of them, and it's
25              Going down to the last paragraph in this      25   also as an incentive for people to participate in

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 1 research because it provides a, perhaps a little bit       1      Q Could you turn to the second page --
 2 more comfort about the ways in which whatever they say     2      A Certainly.
 3 will be used.                                              3      Q -- of this post?
 4      Q So the thinking is you might get a better           4           And the third paragraph reads: "An
 5 response rate when you promise confidentiality in a        5 alternative approach to reducing non-citizen turnout
 6 survey?                                                    6 might emphasize public information. Unlike other
 7      A Potentially.                                        7 populations, including naturalized citizens, education
 8      Q Do you also believe you're more likely to           8 is not associated with higher participation among
 9 get accurate results when you promise confidentiality      9 non-citizens. In 2008, non-citizens with less than a
10 in a survey?                                              10 college degree were significantly more likely to cast a
11      A No, I haven't thought about that in                11 validated vote, and no non-citizens with a college
12 detail.                                                   12 degree or higher cast a validated vote. This hints at
13      Q Are you familiar with any research that            13 a link between non-citizen voting and lack of awareness
14 suggests one way or the other whether you're likely to    14 about legal barriers."
15 get --                                                    15           Did I read that correctly?
16      A I think the general expectation is that,           16      A Yes.
17 particularly involving sensitive matters, you're more     17      Q Now, is it an accurate statement of your
18 likely to have people respond honestly about some         18 views that public education about the fact that
19 sensitive matter if they are offered more protections.    19 non-citizens are not permitted to vote could help
20           My impression of the empirical literature       20 prevent non-citizen electoral participation?
21 on that matter is that the degree of trust that people    21      A Exactly. And I think that that's part of
22 actually put in those assurances and the degree to        22 what I articulated in terms of, when you asked about
23 which you actually get more honest answers is somewhat    23 whether I thought non-citizen voting rates were -- or
24 in doubt, but that's the hope.                            24 registration rates were lower in Kansas than the
25      Q Can you cite specific research, sitting            25 country as a whole.


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 1 here today?                                                1           I suspect that the law in Kansas and the
 2      A Not sitting here today.                             2 controversy surrounding it has played an educated role
 3      Q I want to show you something. We'll mark            3 in terms of increasing awareness among non-citizens, of
 4 this as Richman Exhibit 8.                                 4 the law which is in place more or less nationwide, a
 5           ("Could non-citizens decide the November         5 couple of mail-in counties may be an exception, but
 6          Election"? by Richman and Earnest, marked         6 more or less nationwide, that non-citizens are not
 7           as Richman Exhibit Number 8)                     7 supposed to register and vote in U.S. elections.
 8 BY MR. HO:                                                 8       Q Besides adopting a law that requires
 9      Q This is a blog post that you co-authored            9 people to show physical citizenship document when
10 for The Washington Post's Monkey Cage blog; is that       10 registering to vote, is it your view that public --
11 correct?                                                  11 other kinds of public education measures could be
12      A Yes.                                               12 effective in preventing non-citizen electoral
13      Q And it's dated October 24th, 2016 --               13 participation?
14 2014, I'm sorry; is that correct?                         14       A I think it's possible. Now, in any kind
15      A Yes, that's what it's dated.                       15 of public information campaign, the challenge is to get
16      Q And this blog post refers to your                  16 the information out there.
17 research, the same research described in your Electoral   17           And, so, it would be interesting. And I
18 Studies article about non-citizen registration and        18 hope ultimately the literature develops in ways like
19 voting; is that right?                                    19 this, where we, we investigate aspects like, like that.
20      A That's right. So this blog post                    20           Like what we talked about, here was some
21 discusses -- provides a kind of popular summary of some   21 evidence based on inform -- on education, which is
22 of the results that are discussed in that article.        22 obviously associated with a lot of different things.
23      Q And that's the same research based on the          23 It's not evidence specifically about some kind of
24 CCES; correct?                                            24 public information campaign.
25      A Correct.                                           25           Getting the population that most perhaps

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 1   needs this information access to it might be difficult     1 of awareness is a role. Certainly -- we talked about
 2   through simply public information ads or something like    2 the association with education again, and so I think it
 3   that.                                                      3 suggests that that's one of the factors.
 4        Q   But is it --                                      4           Whether and to what extent and to how --
 5        A   One would have to be careful about how            5 you know, in terms of magnitudes, this is something I'd
 6   those were phrased, because one certainly wouldn't want    6 love to be able to give you a much more concrete sense
 7   to have things phrased wrong or mistranslated in some      7 of, but the field of studying both fraud in general and
 8   way that led naturalized citizens to get the               8 non-citizen voting in particular is still relatively
 9   misimpression that they're not allowed to vote.            9 young, and I don't think we have that level of
10   Something like that would be, would be very               10 precision.
11   problematic.                                              11      Q Staying on this same page of the
12         Q But it's an accurate statement of your            12 Washington Post blog that we were talking about
13   views that lack of awareness about the rule that          13 earlier, the last full paragraph on this page that
14   non-citizens can't vote is a contributing factor in       14 starts with the word "finally."
15   non-citizen electoral participation; correct?             15      A Um-hum.
16         A I think it's a factor. I don't think              16      Q The first sentence reads: "Finally,
17   it's a factor in all cases.                               17 extrapolation to state specific level or district level
18              So, for example, the father of a very          18 election outcomes is fraught with substantial
19   good friend of mine from college was a French citizen     19 uncertainty."
20   for many years before he naturalized and registered to    20           Did I read that correctly?
21   vote years before he became a naturalized citizen, in     21      A "Fraught with substantial" -- yes.
22   full awareness, I think, of the law. So I think           22      Q And when you say "extrapolation," you
23   there's a mix of different reasons non-citizens           23 mean extrapolation from the CCES survey data; is that
24   register to vote.                                         24 correct?
25         Q Outside of anecdotes, are you aware of            25      A Extrapolation from the national level

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 1 any empirical information suggesting that factors other      1   survey aggregates that we reported in the study.
 2 than lack of awareness contribute to non-citizen             2        Q And your view is that extrapolation from
 3 electoral participation?                                     3   those national-level estimates of non-citizen
 4      A There was a case very recently, highly                4   participation to specific state elections is fraught
 5 publicized, in Texas involving a non-citizen who was         5   with substantial uncertainty; is that right?
 6 registered to vote in one jurisdiction, moved to             6        A That's right.
 7 another jurisdiction, attempted to reregister to vote,       7        Q I'd like to move to another document.
 8 this time checking a box indicating non-citizenship          8   We'll mark this Richman Exhibit 9.
 9 status, was told you're -- if you are a non-citizen,         9            ("Some thoughts on non-citizen voting,"
10 you are not allowed to register to vote. Subsequently       10            by Richman, marked as Richman Exhibit
11 reregistered, this time checking the citizen box, and       11            Number 9)
12 ultimately led to a series of litigation, and so forth.     12            THE WITNESS: Could we take just a
13           I think it's pretty clear in that case            13   one-minute break and then come back?
14 that this is someone who was informed that -- this is       14            MR. HO: It could be more than a minute.
15 my impression from the news accounts, I'm not a legal       15            MR. ROE: A couple minutes.
16 expert on the details of the case -- but it certainly       16            MR. HO: Sure.
17 looked like an instance where someone was, was informed     17            MR. ROE: I'd like to stretch and use the
18 of the law and nonetheless pursued voter registration       18   bathroom.
19 anyhow.                                                     19            MR. HO: Of course. Yeah, it's a good
20      Q You would agree that the statistical                 20   time to take a break.
21 research you did on the CCES suggests that lack of          21            THE VIDEOGRAPHER: Going off the record
22 awareness about the rule against non-citizen                22   at 11:13 a.m.
23 registration is a contributing factor in non-citizen        23            (Recess)
24 electoral participation; correct?                           24            THE VIDEOGRAPHER: Back on the record at
25      A It suggests that it's possible that lack             25   11:23 a.m.

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 1 BY MR. HO:                                                  1   over the course of a couple of election cycles, and we
 2      Q So before the break, we handed you                   2   have a table summarizing the ones that were closest to
 3 Richman Exhibit 9. Do you have that in front of you?        3   being in a range where our estimates would suggest
 4      A I do.                                                4   potentially non-citizen votes could change the outcome.
 5      Q And this is a post for your blog;                    5              Most were not in that range. Most were
 6 correct?                                                    6   not even in the range where a hundred percent
 7      A That's correct.                                      7   participation by non-citizens would potentially have
 8      Q And you wrote this post?                             8   changed the outcome. So there are some elections which
 9      A Yes.                                                 9   are in that range, and there are many elections which
10      Q And it's dated October 31, 2016; is that            10   are not, and that's what I was trying to convey here.
11 correct?                                                   11        Q On the second page of the printout of
12      A Yeah, I think that's what it's dated,               12   this blog post, you write: "On this vein, we would
13 yup.                                                       13   also like to remind readers that we were merely raising
14      Q And this blog post also refers to your              14   the Minnesota Senate race and the North Carolina
15 research based on the CCES about non-citizen               15   electoral college outcome as examples of the types of
16 registration and voting; correct?                          16   races that could be swayed by non-citizen
17      A That's correct.                                     17   participation. The survey data we use provides no way
18      Q So on the first page, the last paragraph,           18   at all to determine whether, in fact, the outcomes of
19 I want to ask you about the third sentence, which          19   these races were or were not, in fact, swayed by
20 reads: "But one should keep in mind that such              20   non-citizen participation. We used terms like
21 elections can be swayed by any number of factors that      21   'plausible' rather than anything more definitive."
22 arguably bias election results toward or against           22              Did I read that correctly?
23 particular parties and candidates. Put another way,        23        A Yes.
24 our results suggest that almost all elections in the       24        Q So is it accurate to say that you are not
25 U.S. are not determined by non-citizen participation,      25   expressing the opinion that the Minnesota

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 1   with occasional and very rare potential exceptions."     1    Franken/Coleman Senate race was in fact decided by
 2            Did I read that correctly?                      2    non-citizen participation?
 3        A Yes.                                              3         A I think it's plausible that it was. But
 4        Q So as a political scientist, is it still          4    to know for sure, one would have to have addition -- to
 5   your opinion that almost all elections in the U.S. are   5    know for sure, you would have to have identified the
 6   not determined by non-citizen participation?             6    specific non-citizens who voted in that race and, also,
 7        A It is.                                            7    somehow have identified how they voted.
 8        Q And when you say "almost all elections,"          8              That kind of information is not available
 9   what are you referring to?                               9    through survey research.
10        A Most elections aren't close enough, for          10         Q So you are not saying that it is your
11   one thing, based on the estimates of non-citizen        11    opinion that the Minnesota Franklin (sic) Coleman
12   participation that we gave.                             12    Senate race was in fact decided by non-citizen
13            Some people have -- for example, The           13    participation?
14   Washington Times had a piece that fall which            14         A I answered that question a moment ago.
15   misinterpreted our work, suggesting that when we found 15     Do you have some clarification you need from my answer?
16   certain percentage of non-citizens voted, that that     16        Q    Yes, I do.
17   meant a certain percentage of voters were non-citizens, 17             My question is: Are you saying, that in
18   which is orders of magnitude off, because non-citizen 18      your opinion, the Minnesota Franken/Coleman Senate race
19   are a modest share of the overall adult population.     19    was in fact decided by non-citizen registration?
20            And, so, there are many elections that         20         A I think it is plausible, but I do not
21   simply are not close, enough given the kinds of         21    know whether it was or not.
22   estimates we reached, for it to be plausible that       22         Q And you do not know -- I'm sorry, let me
23   non-citizen participation changed the outcomes.         23    try that again.
24            In the Electoral Studies paper, we             24              You are not saying that you know that the
25   discussed an analysis of all house and Senate elections 25    North Carolina presidential contest in 2008 was in fact


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 1 decided by non-citizen participation; correct?               1 voting for Clinton over Trump at a high rate, probably
 2      A Again, I think it's -- there's a                      2 higher than we estimated as well. I think it's quite
 3 reasonable probability, lower in that case, because the      3 unlikely.
 4 level of non-citizen participation would have to be          4       Q Are you aware of any research indicating
 5 substantially higher for that to have been the case.         5 that the popular vote margin in the 2016 presidential
 6 So there's a probability that it was, but, again, I          6 election could be attributed to non-citizen voting?
 7 don't know for sure, because, again, survey data simply      7       A Let me try to make sure we're being clear
 8 cannot provide the kind of specific information on           8 that we're talking about the same thing.
 9 particular people voting and how they voted that would       9           There's a difference between -- my
10 be required to make a determination like that. That         10 argument here is that the entire margin would not
11 would be more a matter for some kind of court               11 plausibly be.
12 proceeding than survey research.                            12           You used the words "the margin." I think
13      Q I'm going to show you something we'll                13 it is quite possible that some portion of that margin
14 mark as Richman Exhibit 10.                                 14 was due to the votes of non-citizens. The evidence
15           ("Is it plausible that non-citizen votes          15 that I've seen suggest that non-citizens tend to, in
16           account for the entire margin of Trump's          16 recent elections, favor democratic candidates over
17           popular vote loss to Clinton?" by                 17 Republican candidates. For example, in 2012, among
18           Richman, marked as Richman Exhibit                18 non-citizens -- self-reporting non-citizens who cast a
19           Number 10)                                        19 validated vote, more than 90 percent reported
20 BY MR. HO:                                                  20 supporting Barrack Obama.
21      Q Do you recognize this?                               21           So it's quite plaus -- I think that
22      A Yes.                                                 22 there's evidence from a variety of sources that some
23      Q This is a post for your blog?                        23 non-citizens participate in U.S. elections, and there's
24      A Yes.                                                 24 evidence from the CCES that non-citizens tend to favor
25      Q You wrote this post?                                 25 democratic candidates at the presidential level. So I


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 1        A Yes.                                              1 think it is entirely plausible that some fraction of
 2        Q And it is dated January 24th, 2017?               2 that margin was due to the votes of non-citizens, but I
 3        A That was an update on an earlier post.            3 do not think that it's plausible that the entire margin
 4        Q And if we turn to page 2, under the               4 was due to those votes.
 5   December 1st update, in the first bullet, number 1, you  5      Q And are you aware of any research out
 6   write in the third sentence: "My goal was to show that   6 there supporting the notion that the entire margin in
 7   an extrapolation from my co-authored work on the 2008    7 the popular vote for president in 2016 can be
 8   election to the 2016 election did not support the        8 attributed to non-citizen voting?
 9   arguments some seem to be making that the entire         9      A I am not aware of any.
10   popular vote margin for Clinton was due to illegal      10      Q On page 3 of this blog post, before
11   votes by non-citizens."                                 11 bullet number 3, so just going up from there --
12            Did I read that correctly?                     12      A Okay.
13        A Yes.                                             13      Q -- the last sentence reads: "The
14        Q In your opinion, does your research based 14 underlying study on which the extrapolation is based
15   on the Cooperative Congressional Election Study support 15 has been the subject of some cogent criticisms, and
16   the notion that Hillary Clinton's winning the national 16 this leads me to believe that the actual rate of
17   popular vote margin over Donald Trump in the 2016 17 non-citizen involvement is on the low end of our
18   presidential election -- can be attributed to           18 initial estimates rather than anywhere close to the
19   non-citizen voting?                                     19 high end."
20        A I do not believe that the entire margin          20           MR. ROE: Dale, what exhibit are you
21   can be attributed to that. I think it's very unlikely.  21 looking at now?
22   What's the popular margin now? Almost 3 million votes? 22            THE WITNESS: This is still that blog
23   For that to be the case, you would have to have a       23 post.
24   substantially higher level of non-citizen voting than 24             MR. HO: Same exhibit. Exhibit 10.
25   we estimated, and you would have to have non-citizens 25             MR. ROE: You said page 3?

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 1             MR. HO: Page 3, near the top.                   1 election."
 2             THE WITNESS: 3 of 12, just above                2            Did I read that right?
 3   bullet -- or number 3. It's about seven lines from --     3      A That's right, and that's what we were
 4             MR. ROE: Thank you. Sorry.                      4 just talking about. As I said before, I don't think
 5             MR. HO: Sure.                                   5 that it's plausible that the entire margin was
 6   BY MR. HO:                                                6 accounted for by non-citizen votes.
 7        Q Did I read that correctly?                         7      Q And, specifically, you do not believe
 8        A Yup.                                               8 that your research supports the notion that millions of
 9        Q Is it still your view that the actual              9 non-citizens voted in the 2016 president --
10   rate of non-citizen involvement in elections is at the   10      A Not that -- not that --
11   low end of your estimates from the Electoral Studies     11            THE COURT REPORTER: Excuse me. Could
12   article?                                                 12 you let him finish the question.
13        A It remains largely my view. I've done             13            THE WITNESS: Sorry.
14   some initial -- additional analyses since then, which    14            Are you finished with the question?
15   have shifted my perceptions up somewhat. This is an      15 BY MR. HO:
16   ongoing thing, as I -- as more information becomes       16      Q I don't think so. Let me try it again.
17   available, but I think if you look at our low-end        17            Specifically, you do not believe that
18   estimates, that was 3.3 percent of non-citizens          18 your research supports the notion that millions of
19   registered to vote. I think it's closer to that than     19 non-citizens voted in the 2016 presidential election;
20   to the high end of, what was it, 19 percent or           20 correct?
21   something like that.                                     21      A I do not believe that three to five
22        Q I'll show you another document we'll mark         22 million non-citizens voted in the presidential
23   as Richmond Exhibit 11.                                  23 election.
24             ("Why I would sign the 'open letter' if        24      Q Well, you here write that your research
25             it were true," by Richman, marked as           25 does not, in all caps, support Trump's claim that


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 1               Richman Exhibit Number 11)                    1 millions of non-citizens voted in the 2016 election.
 2               THE WITNESS: Okay.                            2      A That's right.
 3   BY MR. HO:                                                3      Q So you don't think it's millions of
 4         Q This is another post for your blog;               4 non-citizens that voted; correct?
 5   correct?                                                  5      A I think it's probably less than millions.
 6         A That's correct.                                   6           As I walked through, in one of the
 7         Q It is titled "Why I would sign the 'open          7 earlier pieces that we've been talking about, if you
 8   letter' if it were true"; is that correct?                8 extrapolate from our kind of middle estimate based on
 9         A Yup.                                              9 an effort to combine the two estimates in that -- the
10         Q And you authored this blog post?                 10 low and high end, that got to an estimate of about
11         A Yes.                                             11 800,000 or so.
12         Q And it is dated --                               12      Q Is that your best estimate for the number
13         A I don't know. I don't see a date on              13 of non-citizens that have voted in a recent
14   this.                                                    14 presidential election?
15         Q I think on the last page there's a date          15      A You know, I've been -- various people
16   of March 10, 1017. Do you see that?                      16 have tried to claim that I have an estimate of the
17               MR. ROE: It's at the very bottom.            17 number of non-citizens who voted in 2016; I don't yet
18               THE WITNESS: Yeah, I got it.                 18 have one, and that's because I'd like to analyze, once
19   BY MR. HO:                                               19 the voter-verified -- the data matches with the 2016
20         Q So, let's look at the first page, last           20 CCES are out, I'd like to be able to look at that with
21   paragraph here, the third sentence.                      21 some care.
22         A Okay, the third sentence.                        22           There are several factors in play. One
23         Q You write: "My study," and then, all in          23 is, have there been any changes in the level of
24   caps, "does not" -- end of caps -- "support Trump's      24 non-citizen participation over the last four years
25   claim that millions of non-citizens voted in the 2016    25 since the 2012 election. And, two, how did the fact


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 1   that Donald Trump was on the ballot and saying some        1 some indication that they voted.
 2   pretty incendiary things about immigration policy alter    2          And I would argue that someone who merely
 3   the proportions of people supporting the Republican and    3 quoted the high-end estimate would potentially be
 4   Democratic versus other candidates among the               4 misleading people, because that estimate is the
 5   non-citizen population. Those are things I haven't yet     5 high-end estimate, and we were clear about the way in
 6   had a chance to look at.                                   6 which each of those estimates was constructed, I
 7             And I think one can extrapolate from the         7 believe, in the paper.
 8   previous estimates, but one should be very cautious        8           And, so, I would -- I would want to
 9   about doing that. And I don't have an estimate for         9 caution anybody trying to draw that conclusion from the
10   2016 that I have substantial confidence in because of     10 study that they should be careful about letting any
11   those kinds of sources of uncertainty.                    11 consumers of their, their analysis, their
12        Q Would it be an accurate representation of          12 extrapolation, know that that's the particular sort of
13   your research, Professor Richman, to suggest that it      13 estimate, and there are other -- there are other ways
14   supports the notion that 11.3 percent of non-citizens     14 of looking at it. And I've tried to do that in some of
15   voted in the 2016 presidential election?                  15 the pieces that we've looked at lately.
16        A I think that would be one of the issues            16      Q So let's talk about Exhibit 11 again,
17   that we've seen, which is taking relatively high          17 this blog post, "Why I would sign the 'open letter.'"
18   estimates.                                                18      A Okay. Let me find it. Sorry.
19             So that number from this paper, if you          19           Okay.
20   look at -- let's see, which table -- I'm returning here   20      Q Let's turn to page --
21   to Exhibit 7. Let's see, table 2.                         21      A Wait. I haven't found it yet.
22             The 11.3 percent number is the high-end         22           Okay.
23   estimate based on all individuals who said either that    23      Q Let's turn to page 4. Last paragraph,
24   they voted or had a voter file match or both.             24 last sentence.
25             As we articulate -- as I articulated when       25           You write: "I share your concern with

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 1 we were discussing table 1 about voter registration, we      1   the way Richman, et al., 2014 study has been abused by
 2 offer high- and low-end estimates, based on either a         2   those who would like to cherry-pick upper-end
 3 conservative way of looking at this in terms of              3   estimates, but there are more measured and accurate
 4 self-reported and verified, and a -- and a much less         4   responses available than this one."
 5 conservative way of looking at it, high-end estimate,        5            Did I read that correctly?
 6 that's based on anybody for whom we have some                6       A Yes.
 7 indication that they may have voted.                         7       Q So is it your view that if someone is
 8           As I said before, I think there are                8   describing non-citizen participations in elections and
 9 reasons to think the conservative estimate is probably       9   cherry picks your high-end estimate without describing
10 too conservative, and the, the other estimate, the          10   the full range of estimates that we're talking about
11 highest estimate, is too high.                              11   here, that that would constitute an abuse of your
12      Q Okay. So I understand the differences                12   research?
13 between the low and the high estimates; I understand        13         A I think it would potentially mislead
14 your article.                                               14   people about the research. This research -- it's been
15           My question to you is, if someone cited           15   a very, as you may get a sense from these blog posts,
16 your work and said that it supports the notion that         16   it's been very much -- through the last couple of years
17 11.3 percent of non-citizens voted in the 2016              17   with this research, I've been trying to fight a
18 presidential election, would that person be accurately      18   two-front battle with distortions of it: On the one
19 representing your work?                                     19   hand, weak, sometimes baseless efforts to debunk it,
20      A 2016.                                                20   mixed sometimes with some reasoned analyses that I
21      Q Yes.                                                 21   appreciate and have sought to address; and, on the
22      A Again, the -- I would much rather if they            22   other hand, people who have taken it as a demonstration
23 read the article as carefully as you probably have, in      23   of levels of non-citizen participation that go well
24 terms of understanding that that high estimate is very      24   beyond what I think our results warrant.
25 much a high estimate based on people from whom we have      25            And, so, I've, I've --

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 1           Communication -- this has deepened my            1 grading and teaching and other things like that to do.
 2 appreciation of the challenges of scientific               2      Q One last question about this, Professor
 3 communication. It's been, been an interesting              3 Richman.
 4 experience.                                                4           Would citing your research and saying it
 5      Q So you mentioned The Washington Times               5 supports the notion that the entire popular vote margin
 6 article before. Besides that Washington Times article,     6 in the 2016 presidential election can be attributed to
 7 can you give me other examples specifically of people      7 non-citizen participation constitute what you would
 8 who have abused your work?                                 8 describe as an abuse of your work?
 9      A Not off the top of my head.                         9      A I, I don't -- you keep using the term
10      Q Well, would citing your work and saying            10 "abuse." I'm not sure exactly how I would define that.
11 it supports the notion that millions of non-citizens      11 But to offer a definition, I think it would be
12 voted in 2016 constitute an abuse of your work?           12 misleading people about the implications of the work.
13      A I think it would depend upon the way in            13      Q Okay. Let's talk again about your
14 which it was cited, but, as you can see, I've objected    14 report, which is Exhibit 1.
15 to the way that it's been used by the Trump               15      A Let me find this. It's at the bottom of
16 administration. So there are certainly contexts in        16 this now.
17 which -- again, it's going to be a matter of              17      Q Maybe during the break we'll try to
18 contextualizing in part.                                  18 organize these.
19      Q And would citing your work and saying              19      A Yeah, it's beginning to get a little
20 that it supports the notion that 11.3 percent of          20 bit -- okay, back to the report.
21 non-citizens voted in the 2016 presidential election      21      Q Now, in your reports in this case, and
22 constitute what you would describe as an abuse of your    22 particularly your first one, you produced, is it
23 work?                                                     23 accurate to say, four estimates of non-citizen
24      A I would particularly object if somebody            24 registration based on, first, the CCES; second,
25 gave the impression that I had some new study of the      25 naturalization data from Sedgwick County; third, a


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 1 2016 election, specifically on that election.              1 survey of temporary driver's license holders, or TDL
 2           As I articulated to you before, I think          2 holders; and, fourth, a sample of incidentally
 3 there are reasons why one might -- potentially 2016        3 contacted non-citizens. Is that correct?
 4 could be different from previous elections, on high or     4      A Those are the primary pieces of evidence
 5 low ends, and I -- I don't have a 2016 analysis of         5 examined in that report. There was also a match of the
 6 national level data at this point.                         6 TDL filed with the suspense list. There was also a
 7       Q You've done no analysis of non-citizen             7 table provided by the Kansas Department of Vehicles. I
 8 voting rates in the 2016 election specifically;            8 discussed both of those.
 9 correct?                                                   9           In the second report, I also did some
10       A Not entirely true. I recently got a copy          10 additional analyses of Sedgwick County.
11 of the 2016 CCES. I haven't had a chance to do much       11           In addition, there's the analysis of the
12 with it. I don't intend to do much with it until the      12 suspense file survey itself, which is not specifically
13 validated voting data is out, which it isn't yet.         13 a survey of, of non-citizens, obviously, and a survey
14           But I have run one or two cross tabs            14 of registered voters in some select Kansas counties.
15 looking at the self-reported voting rates, which look     15 So there were those analyses as well.
16 broadly consistent with previous years.                   16      Q There's a lot of analysis in your
17       Q So you have not performed any analysis or         17 reports, Professor Richman.
18 seen any data at this point to suggest that non-citizen   18           I'm wanting to discuss a specific subset
19 Electoral Studies participation in 2016 was               19 of your analyses.
20 significantly different from previous elections;          20           And what I'm asking about is the subset
21 correct?                                                  21 of analyses that you used to produce estimates as to
22       A Not yet, but I haven't done -- I just got         22 the percentage or number of non-citizens in Kansas who
23 that data recently, and I have not done very much         23 are registered to vote.
24 analysis of it. I've been busy with other things.         24           Do you understand what I'm referring to?
25 It's the end of the semester, and so there's a lot of     25      A Okay. Yes.

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 1      Q And my understanding is that you rely on              1 driver's license.
 2 four data sources to produce your estimates of the           2       Q We'll talk --
 3 number or percentage of non-citizens registered to vote      3       A And that particular table is about those,
 4 in Kansas: The CCC -- CCES; the Sedgwick County              4 those individuals and their portion of the suspense
 5 naturalization information; the TDL survey; and the          5 list for particular years that are -- that were in that
 6 incidentally contacted non-citizens; is that correct?        6 category of individuals.
 7      A Those are the primary ones that I                     7           And then broken down further on the basis
 8 examined. As I mentioned, there are the another              8 of when they provided that documentation.
 9 analyses as well.                                            9       Q Professor Richman, I don't think you
10      Q Okay.                                                10 understood my question.
11           In your view, are the four estimates that         11       A I'm sorry.
12 I described, based on those four different data             12       Q It wasn't about the range of data in your
13 sources, in your view as a political scientist, are all     13 report. It's a very simple question.
14 of those estimates methodologically sound in the way        14           Are you providing in your reports an
15 that they were calculated?                                  15 estimate as to the number of non-citizens in Kansas who
16      A Like all social science research, there              16 registered to vote or attempted to register to vote
17 are potential issues with, with the analyses. I             17 through a DMV office specifically?
18 addressed a number of the issues that were raised by        18       A I said that at the beginning; I'm not
19 Ansolabehere and others in my second report.                19 aware that I was.
20           On the -- but taken as a whole, I think           20       Q Okay. And you are not in your reports
21 that they do provide valid information about -- though      21 providing an estimate as to the number of non-citizens
22 with substantial uncertainty, about the degree to which     22 in Kansas who have actually cast a ballot; correct?
23 non-citizens are registered or attempting to register       23       A My analysis was focused on registration.
24 to vote in the state of Kansas.                             24 The charge I was given by the Secretary of State's
25      Q Now, in your reports, you're not                     25 office was to examine the issue of how many


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 1   providing an estimate as to the number of non-citizens     1 non-citizens have registered to vote or attempted to
 2   in Kansas who have registered or attempted to register     2 register to vote; that was my focus in this report.
 3   to vote through a DMV office specifically; correct?        3 And, so, in the Kansas-specific analyses, I focused on
 4         A The -- as far as -- all of the analyses            4 that issue.
 5   we just talked about, I don't believe those are. We        5      Q So, for each of your estimates of the
 6   talked earlier about how exactly individuals get on the    6 number of non-citizens in Kansas who are registered or
 7   suspense list. It's possible that if I -- my               7 who have attempted to register to vote, is it accurate
 8   understanding of how individuals get on the suspense       8 to say that you start with a sample; is that right?
 9   list was incorrect, I might have inadvertently provided    9      A Yes, more or less.
10   such an analysis.                                         10      Q And we described essentially the four
11              The table from the Kansas Department of        11 samples that you start with; right?
12   Vehicles is specifically about their efforts to provide   12      A Well, as we discussed previously, there
13   information to the Secretary of State's office about      13 are a variety of other estimates as well that we might
14   individuals they were able to match in their data         14 want to talk about, but in the case of the survey data
15   files, as I understand it. So when individuals passed     15 sets, we started with a sampling frame and surveyed
16   a certain year it appears, or perhaps in certain          16 individuals from that sampling frame.
17   contexts, I'm not sure exactly when and under what        17           In the case of Sedgwick County, it's the
18   circumstances the DOV has or does not have information,   18 group of -- the sampling frame is, I guess, the group
19   but for a portion of individuals in the driver's          19 of individuals who naturalized and then filled out
20   license files, the Department of Vehicles has             20 voter registration forms at the naturalization
21   information about the sort of documentation of legal      21 ceremony.
22   precedence, I guess it is, that was provided to them.     22      Q So for each of your estimates of the
23             So some individuals in that table, for          23 number of non-citizens in Kansas who are registered to
24   example, provided what's globally called a "green card"   24 vote, you start with a sample and you take the
25   when they were identifying themselves to apply for        25 percentage in that sample that you determined were


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 1   registered or had attempted to register to vote; is        1   due. So I had limited time.
 2   that the first step?                                       2             I've done a variety of other analyses.
 3        A The percentage of non-citizens who we --            3   Waiting to match the, the demographics of the
 4   there's some filtering in, in various cases first to       4   non-citizen population in the state of Kansas arguably
 5   eliminate individuals who gave some indication they        5   can provide a further assurance that any estimate from
 6   were citizens.                                             6   the sample isn't being biased in some way by
 7        Q Okay.                                               7   differences between the relative frequency of different
 8             So you take the percentage of                    8   demographic groups within the sample and in the
 9   non-citizens in each of your four samples, and, in         9   population. Those estimates led to results that were
10   turn, you apply that percentage to the total              10   quite similar to the ones that I reported in the
11   non-citizen population of Kansas; correct?                11   initial report as well.
12        A I take the percentage of non-citizens who          12             So that kind of weighting can be a way to
13   registered -- who indicated that they had registered to   13   potentially explore whether there's some kind of
14   vote or attempted to register to vote, or for whom we     14   sampling or response bias that might be leading to --
15   had evidence that they had attempted to register to       15   leading to some sort of bias in the estimates.
16   vote or had registered to vote, and then I calculate a    16        Q Well, let's leave aside your rebuttal
17   percentage.                                               17   report for a moment. We'll get to it in a second.
18             And then, ultimately, the question is one       18   Let's just talk about your initial report.
19   of the extent to which this is a level of registration    19             When you take the percentage of
20   that is potentially substantial. And, so, to examine      20   non-citizens who you believe are registered to vote or
21   the question of the size of the level of registration,    21   have attempted to register to vote from each of your
22   to give a sense of that, which is another way -- so I     22   samples and you apply that percentage to the
23   then extrapolated from those specific estimates from      23   non-citizen population of Kansas as a whole, in your
24   those samples to the current -- American Community        24   initial report, that's a calculation that any person
25   Survey five-year estimates of the non-citizen adult       25   with a calculator can make; right?

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 1   population in the state of Kansas.                         1      A It should be, yes.
 2        Q Now, let's just start -- let's just stay            2      Q Okay.
 3   there. When you apply the percentage of non-citizens       3      A And, so, it's a calculation that I hope I
 4   in one of your samples who say that they are -- or you     4 made accurately.
 5   determine that they are registered or have attempted to    5           But I think there was one place where it
 6   register to vote to the total non-citizen population of    6 was confusing, and I might have made that -- if you're
 7   Kansas as a whole, what expertise as a political           7 looking for your calculator, it's over here.
 8   scientist are you bringing to bear to that                 8      Q Nope.
 9   extrapolation?                                             9      A So it's a pretty straightforward
10        A So in the, in the second report, I                 10 calculation.
11   provided additional details. The first report aimed to    11      Q Let's talk a little bit about your
12   give a, a succinct statement of, of the estimates and     12 rebuttal report, which I think we can mark as
13   their levels.                                             13 Exhibit 12.
14             There are, there are various things that        14           (Supplemental Expert Report marked as
15   one can do in terms of this extrapolation. One, the       15           Richman Exhibit Number 12)
16   most basic is to assume that the sample is                16 BY MR. HO:
17   representative of the broader population and              17      Q Exhibit 12 is your rebuttal report in
18   extrapolate on that basis. That's primarily what I did    18 this case; correct?
19   in this report, with some weighting so try to ensure      19      A Yes.
20   that I had appropriately estimated from the various       20      Q And can you turn to page 12, paragraph
21   samples.                                                  21 23?
22             In the rebuttal report, I did some              22      A Yes.
23   additional analyses. I had more time. You may notice      23      Q Now, in this paragraph, you described
24   on the survey data set, we've got the -- the column       24 what you refer to as a meta-analysis of your various
25   finished a short period of time before the report was     25 estimates of non-citizen registration; correct?


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 1        A That is correct.                                    1 table, in the column that reads "pooled effect size,"
 2        Q And would you agree with this                       2 that's the -- that's the second column in this table;
 3   description, that a meta-analysis aggregates the data      3 correct?
 4   of individual estimates to derive a single pooled          4      A Um-hum.
 5   estimate?                                                  5      Q And this column, for each of your
 6        A That's what it aims to do.                          6 meta-analyses, this gives the point estimate for the
 7        Q And in the second line in this table, you           7 percentage of non-citizens in Kansas registered to vote
 8   are aggregating the four individual estimates of           8 once we aggregate your different data sources; correct?
 9   non-citizen registration that we described -- discussed    9      A That is correct.
10   earlier and present a meta-analysis of that               10      Q And the next two columns have the lower
11   aggregation; correct?                                     11 confidence and upper confidence bounds for that
12        A Correct.                                           12 estimate, aggregating your various analyses of
13        Q Okay. Now, from your perspective as a              13 non-citizen registration; correct?
14   political scientist, your view is that the second line    14      A Correct.
15   in this table, which has -- which aggregates four         15      Q And did you use a 95 percent confidence
16   estimates, is a methodologically superior meta-analysis   16 interval for this?
17   than the first line in this table which aggregates        17      A Yes.
18   those four estimates, in addition to one other one; is    18      Q So your point estimate for your
19   that right?                                               19 aggregation of your four estimates of non-citizen
20        A Well, so, the issue with the one other             20 registration in Kansas is that 1.1 percent of
21   one is that it's -- it is an estimate derived from a      21 non-citizens in Kansas have registered or attempted to
22   sample that primarily is of citizens. And, so, that       22 register to vote; correct?
23   sample provides some evidence concerning the degree to    23      A That's correct.
24   which non-citizens are registered, in the sense that if   24      Q Now, in your initial report, I remember
25   that rate of registration was very high, one would have   25 you taking these point estimates and then calculate --


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 1   probably identified some non-citizens in that sample.    1 calculating actual numerical values.
 2            On the other hand, it's a sample of about       2           Do you remember that?
 3   530 or so, I can't remember the precise numbers, of      3      A Calculating what this would extrapolate
 4   individuals who are on the registration lists in four    4 to for the state of Kansas, in terms of non-citizen
 5   counties. If the non-citizen registration rate was,      5 registration rates.
 6   say, 1 percent in those counties in those years,         6      Q Do you remember doing that?
 7   leaving aside issues of mobility and other things which  7      A Yes.
 8   might have made the phone numbers in the list            8      Q And you used a figure, I believe, of
 9   particularly problematic for non-citizens, since         9 114,000 non-citizen adults in Kansas; right?
10   non-citizens tend to be a much more mobile population, 10       A Right. That was based on slight rounding
11   the -- finding zero would be quite likely, given the    11 down of the 2010 through 2014 American Community Survey
12   size of the sample and the number of -- the -- a low 12 five-year estimates. The, the 2011 to 2015 estimates
13   rate of non-citizen participation.                      13 are now out, so, arguably, the more correct figure
14         Q So because the fifth sample consists            14 would be 115,000; but give or take a thousand, it's not
15   largely of citizens, maybe all of citizens, your view 15 going to make much difference.
16   is that it's methodologically more appropriate when 16          Q Well, you're the political scientist,
17   conducting a meta -- meta-analysis of your work to do 17 which number would you prefer to use, 114,000 or
18   an aggregation of the four samples that we have         18 115,000?
19   discussed, rather than including a fifth one?           19      A I'd use -- I'd use the newer number,
20         A I think to include the fifth one, one           20 since that is out now. The data storage that I was
21   would have wanted to do some additional post processing 21 getting the estimate from was updated on I think
22   first in terms of adjusting for the nature of that      22 February 2nd of 2017.
23   sampling frame.                                         23      Q Okay.
24         Q Okay.                                           24      A So I have those estimates now.
25              Now, just so I understand what's in this     25      Q So let's assume about 115,000 non-citizen

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 1 adults in Kansas; is that fine?                             1      Q Okay. If I told you that the director of
 2      A Sure.                                                2 elections in this case for the state of Kansas has
 3      Q Great.                                               3 submitted a declaration saying that there are about
 4            MR. HO: Let's -- let me hand you another         4 1.8 million registered voters in Kansas, would you have
 5 exhibit.                                                    5 any reason to think that might be inaccurate?
 6            (Meta-Analysis of Richman's Estimates of         6      A No.
 7            Non-Citizen Registration marked as               7      Q So let's use that 1.8 million figure.
 8            Richman Exhibit Number 13)                       8      A Okay.
 9            MR. HO: Okay. It should be --                    9      Q 1,265 people is equivalent to what
10            THE COURT REPORTER: 13.                         10 percentage of the 1.8 million registered voters
11            MR. HO: -- 13.                                  11 approximately in Kansas?
12 BY MR. HO:                                                 12      A It's equal to 0.07 percent.
13      Q So this is a blank worksheet I've created           13      Q So the point estimate for your
14 just to try to understand your numbers. Let's ignore       14 meta-analysis of non-citizen registration in Kansas,
15 the first row, all five samples, since you think that      15 which aggregates your various individual estimates of
16 that is methodologically inferior to all four -- just      16 non-citizen registration in Kansas, produces a figure
17 using the four samples. Okay? I just want to walk          17 of non-citizen registration or attempted registration
18 through some numbers here. Is that fine?                   18 that's equal to about 0.07 percent of the registered
19            Now, you've said that your estimate for         19 voters in Kansas; correct?
20 non-citizen registration or attempted registration when    20      A That's correct. And, you know, so this
21 we aggregate your four estimates is 1.1 percent of         21 gets to the point of what I've been trying to explain
22 non-citizens in Kansas; right?                             22 to people reading my estimates too high, in the sense
23      A Right.                                              23 that this is a small fraction.
24      Q And what does that translate to in terms            24           On the other hand, in the conclusion of
25 of absolute numbers, assuming there are -- and let's       25 my initial report, I think it was, I -- I had a


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 1   say 115,000 non-citizens in Kansas.                       1 paragraph at the bottom of page 12 which discusses
 2        A All right. So, thank you for the                   2 close elections in the state of Kansas.
 3   calculator.                                               3           And, so, we just came to an estimate of
 4        Q Sure.                                              4 .07. That's higher than the .04 and .036 percent
 5        A And you want all sales in this table               5 margins in two of those elections that I discussed.
 6   filled out or --                                          6      Q Okay, we'll talk about those elections in
 7        Q Let's just do them one at a time?                  7 a second.
 8        A One at a time?                                     8           Leave that aside and just calculate the
 9        Q Yeah.                                              9 numbers first, but I definitely want to hear about your
10        A Okay. So --                                       10 views about those elections.
11             I usually do calculations in Excel rather      11      A Okay.
12   than on a calculator.                                    12      Q So the lower bound of your estimate here
13        Q Sure.                                             13 of non-citizen registration and attempted registration
14        A I keep hitting the wrong buttons.                 14 from your meta-analysis of all your individual
15             Here we go.                                    15 estimates is 0.4 percent of non-citizens in Kansas;
16             That would be 1265.                            16 correct?
17        Q So your estimate of 1.1 percent of                17      A That's correct.
18   non-citizens registered or attempting to register to     18      Q And that translates into how many
19   vote in Kansas, based on a meta-analysis of your         19 non-citizens in Kansas who have registered or attempted
20   various estimates, produces a figure of 1,265?           20 to register to vote?
21        A Um-hum.                                           21      A 460.
22        Q And you're aware that there are about             22      Q Can you record that?
23   1.8 million registered voters in Kansas?                 23      A (Complying)
24        A I didn't know the specific figure, but I          24      Q And 460 individuals is equivalent to
25   guess I'll take your word for it.                        25 approximately what percentage of the approximately


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 1 1.8 million registered voters in the state of Kansas?      1        A I have it right here.
 2      A It's 0.026 percent.                                 2        Q Great. This is Exhibit 1. And could you
 3      Q Now, the upper bound of your estimate for           3   turn to page 11.
 4 non-citizen registration or attempted registration in      4        A (Complying)
 5 Kansas, from the meta-analysis, based on the               5             Um-hum.
 6 aggregation of your individual estimates, is               6        Q So at the bottom of page 11 through page
 7 1.8 percent of non-citizens in the state; correct?         7   12, you describe your estimate of non-citizen
 8      A Correct.                                            8   registration or attempted registration in Kansas based
 9      Q And what does that translate into in                9   on incidentally-contacted non-citizens; is that right?
10 terms of total numbers of the 115,000 non-citizens in     10        A Yes.
11 Kansas?                                                   11        Q And that estimate is based on 19
12      A 2,070.                                             12   incidental contacts with non-citizens; correct?
13      Q And 2,070 individuals is equivalent to             13        A Correct.
14 approximately what percentage of the registered voters    14        Q And just so I understand what's happening
15 in Kansas?                                                15   here, in the course of performing your various surveys,
16      A 0.115 percent.                                     16   the surveyors unintentionally ended up in contact with
17      Q So, just to be clear, when we aggregate            17   19 self-identified non-citizens who then completed the
18 all of your data and perform a meta-analysis of the       18   survey; correct?
19 number of non-citizens in Kansas who have registered or   19        A Exactly.
20 attempted to register to vote, the upper bound of that    20            So, for instance, if the surveyor called
21 estimate translates to about 0.115 percent of the total   21   a number and reached someone other than the named
22 number of registered voters in Kansas; correct?           22   individual they were looking for, they would then ask
23      A That's correct.                                    23   if -- you know, there was some query as an indicator in
24      Q When you calculated the margin of error            24   the survey data file, sometimes the person who they
25 for your meta-analysis, you used the Score Wilson         25   were looking for would come to the phone.

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 1 method; correct?                                           1           But in other cases, they wouldn't, and
 2       A I believe that's the method that I used.           2 then the surveyor would ask the individual who had been
 3       Q And is it your view that the Score Wilson          3 contacted whether they were willing to complete the
 4 method is appropriate for calculating the margins of       4 survey.
 5 error for your various estimates of non-citizen            5           And, so, that's what -- how these
 6 registration in your report?                               6 individuals were a part of that group.
 7       A Yes. I provided a couple of citations to           7      Q And there were 19 of these individuals;
 8 articles from the literature which suggest that,           8 correct?
 9 particularly in this kind of context, that is an           9      A There were 19 individuals incidentally
10 appropriate methodological choice.                        10 contacted who also indicated on the two questions
11       Q Do you think it is the most appropriate           11 involving citizenship status that they were
12 methodological choice for calculating the margins of      12 non-citizens.
13 error for your estimates of non-citizen registration,     13      Q And, so, it's accurate to say that this
14 or do you think there's a different method that is more   14 estimate is based on a sample of 19; correct?
15 appropriate?                                              15      A That's right, and so it's very uncertain.
16       A I don't have a really strong view. I              16           I reported a confidence interval in that
17 cited the literature on this issue, but the -- those      17 initial report for this estimate, which includes zero,
18 articles recommend -- both of them recommend multiple     18 because this is a -- a very uncertain estimate relative
19 methods. I report in my meta-analysis a number of         19 to only one individual who indicated that they had
20 times several different methods, which I'll come to, as   20 registered to vote or attempted to register to vote.
21 you'll see in that report, largely the same intervals,    21           It's a very small number of individuals
22 but some small variations.                                22 sampled overall.
23       Q Okay.                                             23           So this is a highly uncertain estimate,
24            Could we talk about your initial report        24 and this is the one instance in the, in the set of
25 for a moment, if you can find it?                         25 estimates we've been talking about in which an


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 1 inappropriately calculated confidence interval includes    1        A Yes.
 2 zero among those four estimates.                           2        Q And you describe this confidence interval
 3      Q So let me just unpack some of those                 3   as -- sorry.
 4 things you just said there.                                4             You describe this estimate with a 10.1
 5           Of the 19 people in the sample, one of           5   percentage point confidence interval as "very
 6 them indicated that they were registered to vote;          6   uncertain"; correct?
 7 correct?                                                   7        A It is very uncertain that, as we
 8      A Had registered to vote or attempted to              8   discussed earlier, in terms of the question of whether
 9 register to vote.                                          9   we have statistically significant evidence of
10      Q And that translates to about 5.1 percent           10   non-citizen participation, because the estimate --
11 of your sample; correct?                                  11   point estimate itself is quite low and the confidence
12      A Yes.                                               12   interval is quite large, we not only have a lot of
13           Well, 5.3 maybe? I'm not sure. Might            13   uncertainty, as with several of the other estimates as
14 not be quite 5.1, but close, anyhow.                      14   well, but the point estimate is low enough that the
15      Q Okay.                                              15   confidence interval includes, or comes very close to,
16           And you describe this sample of 19              16   zero.
17 individuals as "extremely small" in your report. I'm      17        Q Now, in your initial report when you
18 looking at the first full paragraph on page 12. Is        18   calculated the margin of error as 10.1 percentage
19 that right?                                               19   points, what method did you use for calculating the
20      A Sample size is -- I say: "Although the             20   margin of error?
21 sample size is extremely small and any estimates are      21        A I don't recall. I think it was the -- I
22 accordingly very uncertain," and then I give the          22   think it was the Wald method, but it might have been
23 estimate, after some further caveats.                     23   the Agresti method.
24      Q So your opinion is that, for purposes of           24        Q You did not use the Score Wilson method?
25 the calculations that you're performing here, a sample    25        A I did not use that method.

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 1 of 19 is extremely small; correct?                         1      Q So your initial report when you
 2      A As we discussed some hours ago, the                 2 calculated the margin of error that you reported here,
 3 larger a sample size is, the more certain the estimates    3 you did not use what you currently believe is the
 4 are. In this case, we have a sample size of 19;            4 appropriate method for calculating the margin of error
 5 consequently, a lot of uncertainty.                        5 for these estimates; correct?
 6           As I noted in the rebuttal report,               6      A That's correct. Professor Ansolabehere's
 7 depending on which methodology you use to calculate a      7 rather dramatically-inappropriate estimates led me to
 8 confidence interval for this sample, some versions the     8 do some deeper reading in the statistical literature on
 9 confidence intervals include zero, some versions           9 issues of calculating confidence intervals and to
10 (inaudible) --                                            10 realize that, like many people in the field, I'd been
11           THE COURT REPORTER: "Some versions" --          11 relying upon a Wald approach, which is problematic.
12           THE WITNESS: Some versions, some ways of        12           MR. HO: Okay. I think now would be a
13 calculating a confidence interval, the confidence         13 good time to take a break for lunch, if you'd like to.
14 interval includes zero; other approaches to calculating   14           (Discussion off the record)
15 the confidence interval, the confidence interval does     15           THE VIDEOGRAPHER: Going off the record
16 not include zero.                                         16 at 12:25 p.m.
17           But the, the basic fact of the matter is,       17           (Lunch recess 12:25 p.m. until 1:17 p.m.)
18 with a sample of 19, you're going to have a lot of        18
19 uncertainty. And, so, if you have a low estimate as       19
20 well, the confidence interval is going to include very    20
21 low values because of that uncertainty.                   21
22 BY MR. HO:                                                22
23      Q Now, you calculate a confidence interval           23
24 in your initial report for this estimate with a total     24
25 margin of error of 10.1 percentage points; correct?       25


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 1                   Afternoon Session                          1      A Yes.
 2            (Confidence Intervals for Richman's four          2      Q And I have here in our chart as your
 3            Estimates of Non-Citizen Registration in          3 confidence interval, using the Score Wilson method, for
 4            Kansas marked as Richman Exhibit                  4 this estimate, of 0.9 percent to 24.6 percent; is that
 5            Number 14)                                        5 right?
 6            ("The 'farcical' stats Republicans use to         6      A Yes, that's right.
 7            claim millions voted illegally," by               7      Q And if that's your confidence interval
 8            Joshua Eaton, marked as Richman Exhibit           8 that you calculate using the Score Wilson method, then
 9            Number 15)                                        9 that means you have a total margin of error of 23.7
10            ("Does Your Vote Count?" by the Heritage         10 percentage points; is that correct?
11            Foundation, marked as Richman Exhibit            11      A That's, I think, an incorrect way to use
12            Number 16)                                       12 the term margin -- "margin of error" is typically used
13            THE VIDEOGRAPHER: Back on the record at          13 for symmetrical confidence intervals, and, typically,
14   1:17 p.m.                                                 14 the margin of error is one-sided. So how far is it
15   BY MR. HO:                                                15 from the estimate to the -- to the edge of the
16        Q Professor Richman, I'd like to start by            16 confidence interval for a symmetric estimate.
17   talking again about Exhibit 12, your rebuttal report;     17           The, the confidence intervals here, as
18   and, specifically, you have it there on page 9 -- or 8,   18 Professor Ansolabehere talked about actually in his
19   rather. I'm sorry. Table 2.                               19 deposition and briefly in a footnote in his report, are
20        A Yes.                                               20 not symmetric because these are estimates for
21        Q Which continues onto page 9.                       21 confidence intervals that are quite close, where the
22            Now, this table lists various ways --            22 point estimate is relatively close to zero.
23   sorry.                                                    23           That said, the total range, it looks like
24            This table lists various estimates for           24 you have correctly taken the upper end of the
25   non-citizen registration and attempted registration in    25 confidence interval and subtracted the lower end, so I


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 1 Kansas and different ways for calculating the margin of      1 think it would be correct to say the total size of the
 2 error for each of those estimates; correct?                  2 confidence interval is, is that quantity, 23.7.
 3      A Correct.                                              3       Q So, so, if we relabel the last column
 4      Q Okay.                                                 4 "size of confidence interval" --
 5           I'd like to show you a demonstrative               5       A Total size, yeah.
 6 exhibit, a chart that we've labeled Exhibit 14. I just       6       Q -- that would be accurate in your
 7 want to make sure that the information we've compiled        7 assessment?
 8 in Exhibit 14 is an accurate reflection of your work;        8       A I think that would be a reasonable way to
 9 and maybe you can tell me if there's anything in here        9 title it.
10 that looks incorrect as we go. Okay?                        10       Q Okay. So we'll call the last column
11      A Okay.                                                11 "total size of confidence interval."
12      Q So, we talked about your estimate based              12       A Okay.
13 on incidentally-contacted non-citizens; that's on the       13       Q And with that relabeling, does all of the
14 bottom row on this chart.                                   14 information in the fourth row look correct to you?
15           Do you see that?                                  15       A Yes.
16      A Yes.                                                 16       Q Now, just to be clear, if we look at your
17      Q And there's a sample size of 19; is that             17 table 2 here on page 9, you also list other methods for
18 correct?                                                    18 calculating the confidence interval, including the
19      A Yup.                                                 19 Exact method and the Jeffreys method; correct?
20      Q And the number of registered or attempted            20       A That's right, the Agresti, the Exact, and
21 to register is one; is that correct?                        21 the Jeffreys method are all listed.
22      A Yes.                                                 22           I'd also note the value
23      Q And your estimate of non-citizens                    23 Professor Ansolabehere estimated, which was based upon
24 registered or attempted to register in this sample is       24 assuming that half -- that it was a confidence interval
25 5.3 percent; is that right?                                 25 appropriate for a situation which half of non-citizens


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 1 are believed to be registered to vote, which is an odd     1 that are used in the field for calculating confidence
 2 assumption, given that he's written in other places        2 intervals. It is known to be a conservative method, so
 3 that he thinks almost none are.                            3 depending upon whether one wants a particularly
 4      Q You believe that the Jeffreys and Exact             4 conservative confidence interval, that is, large
 5 methods are also appropriate methods for calculating       5 confidence interval or not, perhaps it's more or less
 6 the confidence interval for your estimates; correct?       6 appropriate.
 7      A These are -- there are a range of                   7      Q All of the methods for calculating a
 8 different methods for calculating confidence intervals.    8 confidence interval listed in this table have a total
 9 These are some of the others. The Agresti method as        9 size of confidence intervals for this estimate of
10 well is another method for calculating confidence         10 larger than 15 points; correct?
11 interval.                                                 11      A Yes, they do.
12      Q Do you believe the Agresti method is an            12      Q And --
13 appropriate way to calculate the confidence interval      13      A In this part we're looking at, the
14 for your estimates in this case?                          14 (inaudible).
15      A I think it's a little bit problematic              15           THE COURT REPORTER: I'm sorry, what was
16 because of the small proportion; however, there are       16 the word --
17 contacts in which arguably this is an appropriate         17           THE WITNESS: We're looking at
18 method.                                                   18 particularly this part of the table. You said "in this
19      Q So, for your purposes as an expert in              19 table"; I'm assuming you mean just this part --
20 this case, you believe the Wilson Score method is         20 BY MR. HO:
21 appropriate; correct?                                     21      Q Correct.
22      A I believe that is an appropriate method.           22      A -- the one of 19.
23      Q And do you also believe that the Exact             23      Q Yes.
24 and Jeffreys methods are appropriate in this case?        24      A They, they all have total confidence
25           MR. ROE: Objection, compound.                   25 interval of greater than 15.


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 1           THE WITNESS: I, I included all of these          1      Q So let's leave aside
 2 methods for the purpose of illustrating a range -- how     2 Professor Ansolabehere's calculations of the confidence
 3 a range of different assumptions about the specific way    3 intervals because you don't believe that they are
 4 to calculate a confidence interval would lead to           4 methodologically appropriate. Okay?
 5 broadly similar conclusions about what that confidence     5      A Okay.
 6 interval looked like.                                      6      Q All of the methods that you used for
 7 BY MR. HO:                                                 7 calculating the confidence interval for your estimate
 8      Q So that wasn't my question.                         8 of non-citizen registration or attempted registration,
 9           My question was not why did you include          9 based on the incidentally-contacted non-citizens, are
10 these methods.                                            10 larger in size than 20 percentage points; correct?
11           My question was: Do you believe that the        11      A They are.
12 Exact method, for example, is an appropriate way to       12      Q Let's look at the second line from the
13 calculate the confidence interval for your estimates in   13 bottom, labeled "TDL survey."
14 this report?                                              14           Now, this is another of your estimates of
15      A The Exact method tends to produce                  15 non-citizen registration based on your survey of TDL
16 confidence intervals that are a little bit too large,     16 holders; correct?
17 typically, so, arguably, that's a particularly            17      A Yes.
18 conservative confidence interval.                         18      Q And your sample size is 37; is that
19      Q So I don't think you answered my                   19 accurate?
20 question.                                                 20      A Yes.
21           Do you believe that the Exact method is         21      Q Of those 37 people, six indicated that
22 an appropriate method, methodologically, for              22 they were registered or had attempted to register to
23 calculating the confidence intervals for your estimates   23 vote; correct?
24 in this case? It's a simple yes or no.                    24      A Yes.
25      A As I said, it is one of several methods            25      Q And that gives you a point estimate of

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 1 16.5 percent of non-citizens who are registered or        1      A And that they were a non-citizen.
 2 attempted to register to vote; correct?                   2      Q Right.
 3      A Yes.                                               3           And there were 14 such individuals in the
 4      Q And your calculation of the confidence             4 CCES, pooling the election -- pooling the surveys from
 5 interval for non-citizen registration or attempted        5 2006 through 2012; correct?
 6 registration using the TDL survey is from 7.7 percent     6      A Yes.
 7 to 31.1 percent; correct?                                 7      Q And four of those 14 individuals stated
 8      A Correct.                                           8 that they had registered to vote; correct?
 9      Q And that yields a total size of the                9      A Correct.
10 confidence interval of 23.4 percentage points; is that   10      Q And that gives you an estimate of
11 right?                                                   11 28.6 percent of non-citizens who have registered to
12      A Yes, I believe so.                                12 vote in the state of Kansas; correct?
13      Q And if we look at your various methods            13      A Correct.
14 for calculating the confidence interval for your         14      Q And using your Score Wilson method for
15 estimate based on the TDL survey, all of the methods     15 calculating the confidence interval, you get a
16 that you use generate a confidence interval of over 20   16 confidence interval of between 11.7 percent and
17 percentage points in total size; correct?                17 54.6 percent of non-citizens registered to vote in
18      A That is correct.                                  18 Kansas based on the CCES respondents; correct?
19      Q Okay. Moving up one line to the Sedgwick          19      A Yes.
20 County naturalization information.                       20      Q And that means that you have a total size
21           Here you had a sample size of 789;             21 of a -- of your confidence interval, based on this
22 correct?                                                 22 estimate, of 32.9 percentage points; is that right?
23      A Yes.                                              23      A That's correct.
24      Q And of those 789 individuals, 8 were              24      Q And if -- so all of the information on
25 identified as having registered or attempted to          25 the top line here looks correct?


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 1 register to vote prior to naturalization; correct?        1       A As far as I can tell. I haven't put
 2      A Correct.                                           2 it -- punched into a calculator every one of your
 3      Q And that gives you an estimate of                  3 subtractions, but I'm assuming -- eyeballing it, they
 4 1 percent of non-citizens who have registered or          4 all look right.
 5 attempted to register to vote; correct?                   5       Q Okay. And if we look just at your table
 6      A Yup.                                               6 2 and your estimate based on the 2006 through 2012 CCES
 7      Q And using the Score Wilson method for              7 respondents, for the margins of error that you
 8 calculating the margin of error, you get a range from     8 calculate, every one of them has a total con -- has a
 9 0.5 percent to 2 percent of non-citizens who are          9 confidence interval of total size of more than 40
10 registered to vote or attempted to register to vote;     10 percentage points; is that correct?
11 correct?                                                 11       A That's correct. This reflects the high
12      A Correct.                                          12 degree of uncertainty with a small sample size.
13      Q And that gives you a total size of a              13       Q Okay. I want to show you something; it's
14 confidence interval of 1.5 percentage points; correct?   14 been marked as Exhibit 15. This is an article from a
15      A Correct.                                          15 website called "ThinkProgress." Do you see that?
16      Q So all the information on the second line         16       A Yes.
17 here is correct; yes?                                    17       Q It's written by Joshua Eaton.
18      A Yes.                                              18           Do you see that?
19      Q And let's finally talk about the top              19       A Yes.
20 line. This is your estimate based on the CCES            20       Q It is dated April 7, 2017.
21 respondents from 2006 through 2012?                      21           Do you see that?
22      A Yes.                                              22       A Yes.
23      Q You looked at the CCES respondents and            23       Q The title is "Exclusive: The 'farcical'
24 isolated people who were from Kansas and indicated on    24 stats Republicans use to claim millions voted
25 the CCES that they were registered to vote; correct?     25 illegally. Kris Kobach claims fraudulent voters in the


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 1 millions, but the data he cites doesn't back him up."       1 uncertainty associated with a small sample size.
 2           Do you see that?                                  2           The only one with a much tighter
 3      A I see that.                                          3 confidence interval would be the Sedgwick County
 4      Q You were interviewed by Mr. Eaton for                4 analysis. That's -- that has a much larger number of
 5 this article; correct?                                      5 observations.
 6      A I answered a couple of questions for him.            6      Q So is it your testimony that your
 7 I don't know if they count it as a full interview; I        7 estimate based on the CCES has weak statistical power?
 8 can't remember exactly how long we talked, or if it was     8      A All of -- these three estimates are based
 9 by email or just -- or in person. I think it was            9 on small samples. As a result, they have a great deal
10 primarily by email.                                        10 of uncertainty associated with them.
11      Q Have you seen this article before?                  11           Consequently, you know, they, they could
12      A I have not.                                         12 indicate, though I don't believe this to be the case,
13      Q Could you turn to page 5, please.                   13 that as much as from the CCES 2012 -- 2006 to 2012,
14      A Yes.                                                14 that 54.5 percent of non-citizens were registered to
15      Q And the first paragraph, first sentence             15 vote in Kansas. I think that the high end of the
16 on page 5, reads, while admitting that many of his         16 confidence interval in general is -- it's a top
17 estimates have, quote, weak statistical power, end         17 estimate. We know that 97-point -- if the confidence
18 quote, Richman defends his conclusions.                    18 interval is right, 97.5 percent probability that the
19           Did I read that accurately?                      19 true value is below that.
20      A Where are you?                                      20           Given the small sample size, the
21           Oh, yeah.                                        21 confidence intervals are large; however, the confidence
22      Q Is that an accurate quote from you about            22 intervals are not -- generally don't include zero, with
23 weak statistical power?                                    23 the possible exception of the incidentally-contacted
24      A I -- it was taken somewhat out of                   24 non-citizens analysis.
25 context. What I said was that the -- given that they       25           What this suggests to me is that,

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 1   have weak statistical power, it's remarkable that they    1   although we don't have a particularly precise estimate
 2   are mostly finding evidence of non-citizen                2   of the rate of non-citizen participation in the state
 3   registration.                                             3   of Kansas, we do have evidence that there is
 4        Q And when you say "they" have weak                  4   potentially substantial -- quite substantial -- very
 5   statistical power --                                      5   large, actually, if you take the top end of the
 6        A The analyses.                                      6   estimates, which, again, I'm reluctant to do for
 7        Q -- that's a reference to the estimates of          7   obvious reasons, which I just stated, we have evidence
 8   non-citizen registration that are described in your       8   of non-citizen registration in the state of Kansas.
 9   reports in this case; correct?                            9        Q So let me just clarify. My question
10        A That's right. It appears that somebody            10   wasn't about statistical significance or non-zero
11   leaked the reports in this case to the media, and that   11   estimates.
12   seems to be what this article was based on.              12             It's a very simple question, which was:
13        Q Well, let's look at Exhibit 14, the               13   When you say that many of your estimates have weak
14   demonstrative that we talked about before --             14   statistical power, among those estimates that you say
15        A This one?                                         15   have weak statistical power, you're including the
16        Q -- that lists all of your estimates --            16   estimate of non-citizen registration based on the CCES;
17        A Um-hum.                                           17   is that right?
18        Q -- and your calculations for the margins          18        A For Kansas --
19   of error.                                                19             MR. ROE: Dale, I am going to object as
20             And when you say that many of your             20   it mischaracterizes prior testimony.
21   estimates have weak statistical power, which of these    21             THE WITNESS: I believe I already
22   estimates are you referring to?                          22   answered this.
23        A Most of them are based on small sample            23             As I mentioned, several of these are --
24   sizes. And, consequently, as we just discussed, the      24   have small numbers in the sample size, and,
25   confidence intervals are very large. That reflects the   25   consequently, large uncertainties. That includes the

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 1 CCES 2006 to 2012.                                           1   vote, or in other ways had their registration
 2 BY MR. HO:                                                   2   documented, emphasizes that this is, in fact, a real
 3      Q Okay. Among the estimates that you are                3   phenomenon.
 4 quoted as saying have weak statistical power in this         4       Q Well, my question again, Professor
 5 ThinkProgress article, would you include your estimate       5   Richman, was not whether or not, or what conclusions
 6 based on incidentally contacted non-citizens?                6   you draw from the TDL survey. It's a much simpler
 7      A I would.                                              7   question.
 8           It's, again, a sam -- small sample size.           8             You describe some of your estimates as
 9 What "weak statistical power" means is the capacity of       9   having weak statistical power.
10 the, the estimate to identify the positive effect is        10       A Yes.
11 modest.                                                     11       Q Is the estimate based on the TDL survey
12           With a sample size of 19, if the                  12   among those estimates that you describe as having weak
13 non-citizen registration rate is a mere 1 percent or        13   statistical power?
14 2 percent or 5 percent or, you know, some other             14        A It is.
15 relatively low value, the probability of getting a          15        Q Is your estimate based on the Sedgwick
16 false negative, in terms of finding no effect, when, in     16   County naturalization data the only estimate that you
17 fact, there is one, finding no non-citizens when in         17   produce for non-citizen registration that you would not
18 fact there are some, is fairly high.                        18   describe as having weak statistical power?
19           That didn't happen in the context of this         19        A That one has many more observations, and,
20 particular estimate, but that -- that is -- could have      20   consequently, the confidence intervals are much
21 happened, given the size of the sample.                     21   tighter. The -- and so in this case, we have
22      Q Among the estimates that you describe as             22   substantially more information.
23 having weak statistical power, would you include your       23        Q Now, in your Electoral Studies article,
24 estimate of non-citizen registration or attempted           24   you frequently described a best guess about non-citizen
25 registration in Kansas based on the TDL survey?             25   registration nationally.

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 1        A Again, it's a very modest sample size,              1           Do you remember that?
 2   and so what that means is that there's substantial         2      A Um-hum.
 3   uncertainty.                                               3      Q As you look at demonstrative 14, do you
 4             Again, that uncertainty creates a range,         4 have a best guess as for the percentage of non-citizens
 5   an interval in which, you know, we're not exactly sure     5 in Kansas who are registered to vote?
 6   where the true population value is. It might be as low     6      A I haven't calculated one beyond the meta
 7   as 7.7 percent; it might be as high as 31.1 percent.       7 analysis we already described; however, I think in
 8   We're not sure, but this estimate suggests it's            8 looking at all of these estimates, it's important to
 9   somewhere in that range, based on data in that sample.     9 think about the limitations that each one possesses.
10        Q Given the substantial uncertainty that             10           So the, the Sedgwick County data is
11   you described the estimate based on the TDL survey as     11 limited to individuals who are naturalizing, so these
12   having, would it be accurate to say that your view is     12 are individuals who are presumably legal permanent
13   that the estimate based on the TDL survey has weak        13 residents and not individuals who are undocumented
14   statistical power?                                        14 immigrants, and so forth.
15        A I think in this context, the fact that it          15           So there are some -- and not people who
16   has relatively small sample size and finds substantial    16 are here on some temporary visa, at least not at the
17   evidence of non-citizen registration speaks to the        17 conclusion of their time as non-citizens.
18   prevalence of the phenomena in question.                  18           And, so, that's focused on one -- one
19             My point in this, in this quote, which          19 group. The other estimates have more potential to
20   was taken rather out of context and which I've tried to   20 capture a wider range of non-citizens, including groups
21   explain a couple of times to you now, is that the fact    21 who I argued in the report, in those two reports, may
22   that there's relative -- these are small sample sizes     22 be more likely to have strong incentives to register to
23   and we've found in these samples non-citizens who twice   23 vote. The CCES sample is not conditioned in any way on
24   confirmed that they were non-citizens and said that       24 the basis of different types of immigrant status.
25   they had registered to vote or attempted to register to   25           There -- the TDL survey includes

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 1 individuals who have a variety of visa status, though      1 journalist. I think this is an attempt to summarize my
 2 all would be, I think, though I'm not absolutely           2 argument from the, the initial report to the -- from
 3 certain of Kansas law on this, I think all would be        3 January 30th, and I had a section discussing the
 4 individuals who are -- have some kind of documented        4 question of substantial; what counts as substantial.
 5 status.                                                    5           The question of statistical significance
 6           The incidentally contacted non-citizens          6 is distinct from the question of substantial, although
 7 could have any -- any kind -- any type of status. So       7 perhaps one could try to draw a connection between
 8 the -- if we think about different estimates, different    8 them.
 9 estimates have different kinds of strengths and            9           The question -- the issue of whether a
10 weaknesses.                                               10 substantial number of non-citizens are participating or
11           The Sedgwick County has more statistical        11 registering or attempting to register in the elections
12 power; on the other hand, some of the other estimates     12 in the state of Kansas, that is a question which I
13 may have different and usefully different kinds of        13 think has to be considered, as I argued in the report,
14 coverage of the population of interest.                   14 in the context of the nature of our electoral system,
15      Q So, just to be clear, my question was not          15 which can magnify small levels of participation to
16 weighing the relative merits of your different            16 potentially have substantial effects in terms of
17 estimates.                                                17 changing election outcomes.
18           Much simpler question: You had a best           18      Q Is there a level of non-citizen
19 guess in your Electoral Studies article, your             19 participation in elections, other than zero, that you
20 peer-reviewed article about non-citizen registration as   20 would describe as insubstantial?
21 to the percentage of non-citizens registered to vote in   21      A I think that any level of non-citizen
22 the United States; do you have a best guess as to the     22 participation has a potential to change election
23 percentage of non-citizens registered to vote in          23 outcomes. And, consequently, any level is arguably
24 Kansas?                                                   24 substantial. Different levels of participation have
25      A I already answered that question.                  25 different probabilities of affecting election outcomes,


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 1           What I said was, I think all of the              1 obviously, and so, ultimately, I, I hope that -- data
 2 estimates have strengths and weaknesses. I have not        2 on this is hard to -- precise data, as we have been
 3 computed a single best guess.                              3 discussing, is difficult to get in this context.
 4           To the extent -- as I said already, to           4           But, hopefully, we can get increasingly
 5 the extent I have put the estimates together, it was in    5 accurate estimates so that we can get more of a
 6 the meta analysis. That puts a lot of weight, more         6 specific sense of exactly which and how close -- as I
 7 weight on studies with more observations. But that         7 discussed in the 2014 paper, as my co-authors and I
 8 ignores differences potentially in the coverage of         8 discussed, some estimates are -- we -- there are some
 9 different populations, which might add to the value of     9 elections that are clearly close enough that it seems
10 some of the other samples.                                10 plausible that they're within a range where non-citizen
11      Q Let's keep talking about the                       11 participation could have altered the outcomes.
12 ThinkProgress article for a moment.                       12      Q And when you say that non-citizen
13           Could you -- so let's stay on page 5, and       13 participation in elections can alter the outcomes, by
14 the second paragraph under the header, "almost            14 non-citizen "participation," you mean voting; right?
15 farcical."                                                15      A That would be voting at that point,
16           Do you see: "Almost any evidence of             16 right.
17 non-citizens voting is significant, Richman's analysis    17      Q Non-citizen registration without voting
18 claims, because of the small margins of victory that"     18 would not affect an election outcome; correct?
19 sometimes -- "that can sometimes occur in state and       19      A Of course. The, the ultimate issue is
20 local elections."                                         20 the full range of involvement in elections.
21           But is this an accurate statement of your       21           In this particular study, I focused on
22 views that almost any evidence of non-citizens voting     22 the issue of registration because that was the question
23 is significant?                                           23 that was raised. Registration is an essential
24      A I think that's an attempt to -- we                 24 precondition for voting. So a non-citizen who is not
25 didn't -- I don't remember talking about this with the    25 registered to vote, in most -- in most parts of this


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 1   country, is not able to subsequently vote.            1      based on the Sedgwick County naturalization information
 2        Q So, staying with this ThinkProgress            2    before you submitted your report?
 3   article, the next line reads: "The analysis only      3         A I'm not certain whether I did or not. I
 4   provides a margin of error for one of its estimates,  4    don't recall.
 5   which Richman now says, 'wasn't a good decision.'" 5            Q Before you submitted -- let me start that
 6             Did I read that correctly?                  6    one again.
 7        A That's right, and I mentioned that             7             Before you worked on your rebuttal
 8   earlier in our discussion early on today.             8    report, had you used the Score Wilson method for
 9             I was at the -- in January, I was getting   9    calculating a confidence interval?
10   rather tired of upper-ends of confidence intervals   10         A No.
11   being wrenched out of context to support overstatements 11          So the confident -- confidence intervals
12   of what my work indicated. And, so, I didn't include a 12 I would have calculated for the other estimates would
13   full set of confidence intervals here.                  13 have most likely been the Wald confidence intervals.
14        Q What do you mean when you say that it was 14 However, unlike Professor Ansolabehere, I would have
15   not a good decision to not include confidence intervals 15 taken more plausible point estimate from the survey as
16   for your estimates, other than the incidentally         16 a basis for calculating the proportions heading into
17   contacted non-citizens.                                 17 the confidence interval.
18        A I should have included the full range of         18      Q So is it accurate to say that your
19   estimates simply for completeness. I included only the 19 rebuttal report in this case is the first time you have
20   estimate for the -- for the particular group, the       20 calculated confidence intervals using the Wilson -- the
21   particular analysis where the question of whether the 21 Score Wilson method?
22   confidence interval included zero was in doubt.         22      A Yes.
23        Q And to be clear, are you saying that you         23      Q Did anyone help you calculate the Score
24   did, in fact, calculate confidence intervals for each   24 Wilson confidence intervals for your estimates?
25   of your estimates prior to completing your initial      25      A No.

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 1 report?                                                     1      Q If we could go back to your initial
 2      A I may have. I don't know if I calculated             2 report in this case, Exhibit 1.
 3 confidence intervals for the estimates or not. I can't      3           Could you turn to --
 4 remember specifically.                                      4      A Hold on just a moment.
 5           I know I did for that particular one,             5      Q Sure.
 6 because it looked like the -- like one where there          6      A I'm shuffling papers.
 7 was -- where that confidence interval including zero        7      Q Could you turn to page 13.
 8 seemed quite likely.                                        8           Just let me know when you're there.
 9      Q So --                                                9      A Yes.
10      A I probably did include -- calculate                 10      Q And can we look at the first sentence.
11 confidence intervals for some of the others. I can't       11      A Okay.
12 remember whether I calculated them for all.                12      Q It reads: "In conclusion, the estimated
13      Q Can you remember one way or the other               13 number of non-citizens registered to vote or attempting
14 whether you calculated a confidence interval for your      14 to register to vote in Kansas is arguably substantial."
15 estimate based on the CCES before you submitted your       15           Did I read that correctly?
16 initial report?                                            16      A Yes.
17      A I think I did, but I'm not certain.                 17      Q Is the number of non-citizens registering
18      Q Can you remember one way or the other if            18 to vote or attempting to register to vote, in your
19 you calculated a confidence interval for your estimate     19 opinion, arguably insubstantial?
20 based on the TDL survey before you submitted your          20      A I think it is clearly substantial. I
21 report?                                                    21 have made an argument in this report concerning that.
22      A I think I did, but, again, I'm not                  22      Q Can you turn to page 4 in this report.
23 certain.                                                   23      A (Complying)
24      Q Can you remember one way or the other if            24      Q And look at the second paragraph. The
25 you calculated a confidence interval for your estimate     25 last two sentences.


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 1           "In a close or disputed election, and            1   for that participation, has the potential to lead to
 2 there are many, a small amount of fraud could make the     2   election outcomes that would not be those that would
 3 difference. Hence, a number need not be large to be        3   have occurred otherwise; that is my argument.
 4 substantial as the electoral system can magnify the        4        Q Would you also agree that preventing a
 5 influence of even a small amount of fraud."                5   small number of votes cast by -- from being cast by
 6           Did I read your words correctly?                 6   eligible voters could also affect the outcome of an
 7      A Yes.                                                7   election?
 8      Q And you cite to the Carter-Baker                    8        A Obviously, it also has that -- there's
 9 Commission Report for this proposition; is that right?     9   also that potential. And, so, that's why states weigh
10      A Yes.                                               10   competing interests in constructing their election
11      Q Was it your idea to cite to the                    11   laws.
12 Carter-Baker Commission Report?                           12        Q Staying on page 4 of your report, if you
13      A This language came orig -- this                    13   go to the third paragraph, the second sentence reads:
14 discussion was adapted from my analysis in the -- my      14   "Indeed, it is not hard to find instances in which
15 previous expert report for the Lee versus Virginia        15   fraud has been confirmed as the cause of an election
16 case. It's an argument I've made before. I adapted it     16   outcome, and election outcomes have consequently been
17 from my -- my expert report in that case.                 17   overturned by courts."
18      Q In your view, is all non-citizen                   18           What are some examples of these, what you
19 registration fraud?                                       19   describe as "not hard to find" examples of elections
20      A In my view, the -- and this is -- this is          20   that have been overturned by courts due to fraud?
21 an issue that was raised by one of the expert witnesses   21        A Well, so I, I don't have those at the top
22 for the other side, the definition of "fraud."            22   of my head at the moment, but I do have a link there to
23           In my view, the -- all non-citizen              23   a document which summarizes a variety of instances.
24 registration is a violation of election law, in the       24       Q    Okay.
25 sense that non-citizens are not permitted to register     25            The document that you cite to is a report

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 1 to vote in the United States, with -- I think there are    1   by the Heritage Foundation; correct?
 2 a couple of counties in Maryland that are exceptions to    2        A Yes.
 3 that.                                                      3        Q Who wrote that report?
 4           So, in that context, all of it is                4        A I don't know.
 5 illegal, and, as such, it is a concern for the             5        Q Do you know the date of that report?
 6 operation of elections.                                    6        A The date downloaded is given here.
 7      Q Does your definition of the word "fraud"            7        Q Do you know the date that the report was
 8 include a non-citizen who registers to vote by mistake,    8   written?
 9 either her own or a government official's mistake?         9        A I don't. I imagine -- I believe they
10      A The -- I don't believe I talk very much            10   continue to update it, actually.
11 about fraud. Are you referring to a definition that I     11        Q Do you know if that report was, by the
12 offered of fraud?                                         12   Heritage Foundation, was peer-reviewed?
13      Q When you use the word "fraud" --                   13        A The Heritage Foundation is a think tank.
14      A When do I use the word "fraud"?                    14   Typically, think tank reports are not peer-reviewed.
15      Q In -- on page 4, in the second paragraph,          15        Q How do you know the information in the
16 the last two sentences.                                   16   Heritage Foundation report is accurate?
17      A Okay.                                              17        A My impression, if I recall -- and, again,
18      Q I read a sentence from your report.                18   this is a report I read more than a year ago -- is that
19      A "Even a small amount of fraud"; yes.               19   they have a variety of information linked to the
20      Q "Even a small amount of fraud."                    20   particular instances discussed.
21      A Right. Which was paraphrasing the                  21              So that -- I believe that was part of
22 Carter-Baker Commission.                                  22   the, part of the report.
23      Q Has --                                             23        Q Can -- well, would it be, in your
24      A Even a small amount of non-citizen                 24   opinion, as a political scientist, appropriate to rely
25 participation, whatever the specific motives or reasons   25   on a Heritage Foundation report in an article that

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 1   you're submitting for peer-review for the proposition      1 non-citizen voting?
 2   that it's not hard to find instances in which fraud has    2           The answer is no; correct?
 3   been confirmed as the cause of an election outcome?        3      A That is correct. As I articulated to you
 4         A It would depend upon the context.                  4 a moment ago, it would be very difficult, even in the
 5              If you're -- obviously if I was simply          5 context of an election that was determined by the votes
 6   summarizing a report from the Heritage Foundation, it      6 of non-citizens, to prove conclusively that it was
 7   would be an inappropriate article to submit for            7 because one would have to know how the non-citizens
 8   peer-review in general, in the sense there wouldn't be     8 voted.
 9   much new there.                                            9      Q But it's not hard to find examples of
10         Q Can you think of an example of an                 10 other elections that have been overturned as a result
11   election where the outcome was overturned because of      11 of other kinds of fraud. That's your testimony;
12   non-citizen voting?                                       12 correct?
13         A I don't know of any instances in which            13      A My testimony was that there are a variety
14   that has been proven. Non-citizen voting is a             14 of elections which have been overturned because of
15   relatively difficult-to-detect kind of fraud because --   15 various types of fraud.
16   or illegal activity, depending on how one defines fraud   16      Q Can you think of a single federal
17   and illegal activity, because it's typically election     17 election that was overturned as a result of fraud?
18   officials have limited means to discover whether          18      A Federal election as in election for
19   individuals who are on the voter rolls are                19 House, Senate, or president?
20   non-citizens, and, typically, non-citizens have little    20      Q Correct.
21   motive to disclose that status.                           21      A Well, I can go back through American
22              So it would be extremely difficult to          22 political history, there have been a variety of
23   prove.                                                    23 elections where questions of fraud have been prominent
24              Furthermore, the ballot is private and         24 in, in election outcomes.
25   anonymous. One casts a vote and nobody can tell how       25      Q Well, let's just limit it to the 21st

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 1 one has voted.                                               1   century. Can you think of a single federal election
 2           So I think it would be very difficult to           2   since the year 2000 that was overturned as a result of
 3 demonstrate, except perhaps in the context of absentee       3   fraud?
 4 ballots where one might be able to identify the              4        A This is -- this is something I don't have
 5 individuals and how they voted. It would be very             5   at the top of my head. I can research this and get
 6 difficult to know for certain, to the level that would       6   back to you.
 7 be perhaps required to overturn an election outcome,         7             As I said, I examined that report some
 8 whether an election was altered by the votes of              8   time ago, and I don't recall the specific set of, of
 9 non-citizens, because the ballot is sacrosanct and           9   cases that were discussed.
10 private. Once someone costs a vote, that vote is            10             Many of the instances, I think, were
11 intermixed with all of the other votes, and so there's      11   lower -- were non-federal cases, state elections, local
12 no way to identify with any level of certainty how          12   elections, and so forth. There are many more such
13 somebody voted. Of course, one could ask them, but          13   elections, and so they -- the -- and they tend to
14 that would be about all.                                    14   involve smaller numbers of voters. So, for a variety
15       Q Let's try this again, Professor Richman.            15   of reasons, they -- you are more likely to encounter
16           The report you submitted to the Court             16   those kinds of elections in the context of elections
17 under oath, under penalty of perjury, is -- says that       17   getting overturned by fraud.
18 it is not hard to find examples of elections that were      18        Q Well, since you're having trouble
19 overturned as a result of fraud; is that right?             19   recall -- recalling --
20       A That's what I said in the report.                   20        A Thank you.
21       Q Okay. Can you --                                    21        Q -- here is the Heritage Foundation
22       A I was referring to a broad class of                 22   report, which I think is the only -- this is the only
23 different kinds of fraud.                                   23   document that you cite in your report for the
24       Q And can you think of one election that              24   proposition that it's not hard to find examples of
25 was overturned as a result of a specific kind of fraud,     25   elections overturned as a result of fraud; correct?

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 1      A That is the link I cite, yes.                         1   expert report in this case; correct?
 2           MR. HO: Okay. It's been marked as --               2        A I just flipped to one that's from
 3           MR. ROE: I was going to ask what                   3   California 2012 City Council election in Vernon,
 4 exhibit.                                                     4   California, in which a candidate won by four votes; it
 5           MR. HO: It's been marked as Exhibit 16.            5   was overturned after it was discovered that five
 6 BY MR. HO:                                                   6   registered voters had falsely claimed they were
 7      Q There's another --                                    7   residents of the city when they were registered to
 8      A I believe, there's another -- I don't                 8   vote.
 9 think this is the report in full that I, I remember          9            "In 2002, nine citizens testified under
10 looking at.                                                 10   oath that they had voted in the mayor's election" --
11      Q There's not a single --                              11            THE COURT REPORTER: Professor, I need
12      A This looks like --                                   12   you to just slow down when you're reading.
13      Q -- example of a --                                   13            THE WITNESS: Sorry. I will slow down.
14      A There's a, there's a more-detailed                   14   I'm sorry.
15 database that goes through -- that I believe goes -- I      15            So in 2002, non-citizens testified under
16 don't think this is the, this is the full set of data       16   oath that they had voted in a mayor's election in
17 that I was referring to.                                    17   Compton, California, and it was elected to the Compton
18      Q Well, this is what was down -- this is --            18   City Council, was permanently disqualified by a court
19 you include a link to the Heritage Foundation report in     19   from holding public office for soliciting non-citizens
20 your report in this case, and this was downloaded from      20   to register and vote.
21 that link, Professor Richman. Is there something else       21   BY MR. HO:
22 that you relied on for your report that you didn't          22        Q Okay. So that does not indicate that the
23 bother to put in the footnotes of your report?              23   election results were overturned as a result of
24      A I don't know.                                        24   non-citizens voting. That says that someone was barred
25      Q Okay.                                                25   from office for soliciting votes from non-citizens;

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 1        A It was -- here's an example from '96 that           1 correct?
 2   is mentioned here: Election Dodge, County, Georgia,        2      A That's correct.
 3   commission race won by 31 votes --                         3      Q Okay.
 4            THE COURT REPORTER: I'm sorry,                    4           So this report does not include an
 5   "commission" --                                            5 instance in which election results were overturned
 6            THE WITNESS: Yes, so I'm just looking             6 because non-citizens had accounted for the margin of
 7   through this.                                              7 victory in an election; correct?
 8            THE COURT REPORTER: I just need you to            8      A Again, it's been some time since I've
 9   repeat what you said, because I have to understand what    9 read through this. It is possible that my recall is
10   you're saying.                                            10 faulty. If you want me to read through the entire
11            THE WITNESS: Yes. Sure.                          11 report to confirm that, I could do that.
12   BY MR. HO:                                                12      Q You've read the entire report before;
13        Q This is not responsive to one of my                13 right?
14   questions, Professor Richman.                             14      A It was -- I read the report more than a
15            Did I ask you something about Dodge City?        15 year ago.
16        A You asked me about instances of elections          16      Q And this is a case about non-citizen
17   being overturned because of vote fraud; this is an        17 registration and voting; correct?
18   instance of a race that was overturned by vote fraud.     18      A Yes.
19        Q Okay.                                              19      Q If there were an example of an election
20        A Which I, which I came to just flipping             20 being overturned as a result of non-citizen voting,
21   open one of the pages in the document you just handed     21 surely you would have mentioned that in your expert
22   me.                                                       22 report on non-citizen voting?
23        Q There was not a single instance of an              23      A It is very likely I would have.
24   election overturned as a result of non-citizen voting     24      Q Okay.
25   in the Heritage Foundation report that you cite in your   25      A My impression is that there are no cases

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 1 which are directly in that category.                       1         Q Do you agree that any of these elections
 2      Q All right. I'm going to show you a                  2   could have been affected by a law that prevents
 3 document; we'll mark it as Richman Exhibit 17.             3   thousands of eligible people from registering to vote?
 4           (Spreadsheet, 2 pages, marked as Richman         4         A That is obviously a possibility as well.
 5           Exhibit Number 17)                               5   Close elections, as I articulated in some of the other
 6 BY MR. HO:                                                 6   things I've said, can be tipped by a variety of
 7      Q This is the spreadsheet of close                    7   factors, and so one of the -- one of the factors may be
 8 elections that you identify in your report in Kansas,      8   non-citizen participation.
 9 33 elections decided by one hundred votes or fewer;        9             There could be a variety of other things
10 correct?                                                  10   that could have tipped an election outcome. Maybe it
11      A Yes, this looks like that spreadsheet.             11   was -- there's some literature which suggests that rain
12      Q Okay.                                              12   makes a difference for which side supporters turn out.
13           Who compiled this list?                         13   It's not very robust literature, but if an election is
14      A I was provided initially with a list of            14   very close, many things can contribute to the outcome
15 close elections by the Secretary of State's office. I     15   being what it is.
16 then independently and individually looked up each of     16         Q Of the 33 elections that you identify as
17 the elections to identify the number of votes for each    17   close elections, 32 are non-federal elections; correct?
18 side and to calculate the percentages and the winner.     18         A We have -- yes. There are two here that
19      Q Are you opining that any one of these              19   are federal elections. The rest are -- the rest appear
20 elections in particular was determined by non-citizen     20   to be -- or is it three? It's three, because there's a
21 electoral participation?                                  21   primary. United States -- wait, no, no, just one. I'm
22      A I think that there are variations in the           22   sorry, I was reading it wrong.
23 probability that that could have happened.                23             Yeah, I think there's only one that is a
24           In most cases, I think that probability         24   federal election, if I'm reading this correctly.
25 is low.                                                   25         Q So let's just clarify that.

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 1           The probability is higher in the case of         1           There are 33 elections on this sheet;
 2 some of these. I particularly highlighted in my report     2 correct?
 3 the two cases that are at the top of this spreadsheet      3      A Yes.
 4 where the vote margin was very small and the winning       4      Q 32 out of 33 of these elections are not
 5 candidate was a Democrat, because the evidence I've        5 for federal office; correct?
 6 seen suggests non-citizens tend to vote more for           6      A That's correct.
 7 Democrats than for Republicans. So if non-citizen          7      Q So for the elections that are not for
 8 participation was going to have altered an election, I     8 federal office, 32 of the 33 here, could the outcomes
 9 think those are the ones that are most likely to have      9 of these elections be affected by a court ruling that
10 been altered.                                             10 affects the requirements for registering to vote for
11           However, again, the challenges of               11 purposes of federal elections only?
12 identifying non-citizens who have voted and so forth      12      A I would like to ask you to clarify your
13 mean that I can -- I think I can only speak in terms of   13 question.
14 higher or lower probabilities, rather than any kind of    14      Q You understand that this case is about a
15 certainty about what drove the particular -- what may     15 requirement of documentary proof of citizenship for
16 have contributed to particular election outcomes.         16 voter registration; correct?
17      Q You are not offering the opinion,                  17      A Yes.
18 Professor Richman, that any of these elections in         18      Q The plaintiffs' claim in this case, if
19 particular was, in fact, determined by non-citizen        19 this helps you, is that, for purposes of registering to
20 voting; correct?                                          20 vote for federal elections under the NVRA, that proof
21      A I am offering the opinion that some of             21 of citizenship requirement is not permitted for motor
22 these elections were close enough that the kind -- the    22 voter applicants.
23 levels of non-citizen participation that I identified     23           Did you understand that before I
24 in this study could have tipped the outcome in the        24 explained that to you?
25 election.                                                 25      A I hadn't been fully aware of the

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 1 limitations of the plaintiffs' argument.                     1 could find in Kansas that were decided by fewer than
 2      Q The defendants' position in this case, I              2 one hundred votes; correct?
 3 believe, is that a ruling in this case would only            3      A Yes.
 4 affect a person's ability to register to vote for            4      Q And of those, you found one federal
 5 purposes of voting in federal elections.                     5 election that was decided by fewer than one hundred
 6           Were you aware of that?                            6 votes; correct?
 7      A I, I had not been following details of                7      A Yes.
 8 the arguments on one side or the other of the case. My       8      Q Okay.
 9 focus was, as an expert witness, on the specific             9            Let's talk about your surveys a little
10 questions I was asked to address.                           10 bit, Professor Richman.
11      Q Given what I've explained to you about               11            Now would you agree that for any estimate
12 how a ruling on the claim in this case would only           12 of non-citizen registration based on a survey, the
13 directly affect registration for purposes of voting in      13 reliability of that estimate depends in some measure on
14 federal elections, is it correct that a ruling in this      14 whether or not individuals who say that they are
15 case, one way or the other, would not affect 32 --          15 non-citizens on your survey report that status
16 could not affect 32 out of 33 elections on this page?       16 correctly?
17      A Well, if, if the way you've described it             17      A Yes.
18 is correct, and I, I had not been paying attention to       18      Q And would you agree that if the
19 those nuances previously, then most of these elections      19 respondents on a survey report their citizenship status
20 would seem to be beyond the scope of this particular        20 incorrectly, that that would tend to undermine the
21 ruling; however, I think they are relevant to the           21 reliability of a survey that attempts to measure rates
22 broader issue of closeness and influence on elections.      22 of non-citizen registration to vote?
23           As I noted before, there are simply many          23      A Yes, that's why I had two questions on
24 more state and local elections than there are federal       24 non-citizen status in the survey I conducted. I also
25 elections.                                                  25 discuss in my reports analyses of CCES data where --


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 1              And, so, as you move to more                    1   not individuals indicated they were non-citizens across
 2   disaggregation, more elections, the probability of         2   two different survey years. Those kinds of approaches
 3   observing, as I've argued, quite a low frequency event,    3   can increase our certainty.
 4   an election close enough that there's a plausible          4            We -- I also discuss in various places in
 5   probability that non-citizens' vote participation,         5   the report efforts to assess whether -- whether
 6   non-citizens' votes, could have changed the outcome,       6   individuals were non-citizens, based on various other
 7   you have to think you're going to find more instances      7   data sources. So -- contact with Homeland Security,
 8   as you look to lower aggregation.                          8   the Secretary of State, I was able to initiate to get
 9              So I guess the question would really be         9   some names checked and so forth; right?
10   whether there's something distinctive about federal       10            The -- all of these are efforts to
11   elections in the state of Kansas that would lead one to   11   increase the reliability of the estimates.
12   think the, the probabilities are different.               12        Q We'll talk about all of those efforts
13              We just -- now, there are many more            13   specifically, but you agree that if you have inaccurate
14   districts for the Kansas House of Representatives and     14   information in your survey about whether or not someone
15   Kansas Senate put together than you have for House of     15   is, in fact, a citizen, that would tend to undermine
16   Representatives coming from Kansas. And, so, the total    16   the reliability of any estimates from that survey about
17   number of elections that were in the background of        17   non-citizen registration rates; correct?
18   these cases, in terms of the total number that weren't    18         A That's the reason why one addresses
19   this close, there are just many -- you know, there's no   19   issues of reliability, is to try to reduce the degree
20   evidence here about differences in the base rate of       20   to which any estimate is biased in any way or
21   closeness.                                                21   influenced by some kind of reliability issues in the
22             In fact, my guess is that we have one out       22   measures.
23   of 32. That's probably about the ratio in terms of the    23         Q And you would agree that for your
24   term of federal elections to state elections.             24   estimates of non-citizen registration, if respondents
25        Q You compiled as many elections as you              25   are inaccurately reporting whether or not they are

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 1 registered to vote, that would tend to undermine the       1 offer such assurances.
 2 reliability of your estimates based on those surveys;      2      Q I'd like to ask you about question number
 3 correct?                                                   3 3 on the survey.
 4      A So it -- it depends a little bit on the             4           The question here is: "Have you
 5 specific context.                                          5 registered to vote or attempted to register to vote in
 6           So one of the things that I discuss is in        6 the state of Kansas?"
 7 the 2014 -- sorry, the CCES 2010 to 2012 panel study.      7      A Yes.
 8 There are individuals who both said they were              8      Q Did I read that correctly?
 9 registered to vote and had cast a validated vote; that     9      A Yes.
10 increases our confidence that these individuals are, in   10      Q Did you draft this question?
11 fact, registered to vote.                                 11      A Yes.
12           Similarly, in the context of the -- that        12      Q So the survey asks two different things;
13 survey, one can look at individuals who twice reported    13 right? Whether or not someone is registered or if they
14 they were non-citizens, increasing one's confidence       14 have attempted to register to vote; is that right?
15 that these are in fact non-citizens. So one attempts      15      A It asks for both whether they've
16 to improve the reliability. All estimates in -- based     16 attempt -- whether they've registered to vote or
17 on survey work are potentially affected to some degree    17 attempted to register to vote. So it's asking for
18 by issues of reliability, and this is why one has to      18 respondents to indicate, yes, if they fall into either
19 try to be careful about analyzing the extent to which     19 of those two categories.
20 that may have biased estimates.                           20      Q And this is an example of what survey
21      Q Let's go back to Exhibit 3, which is your          21 research -- researchers would call a double-barreled
22 survey instrument --                                      22 question; correct?
23      A Yes.                                               23      A I think that, that argument was made by
24      Q -- Professor Richman.                              24 Professor Ansolabehere in his report. A classic
25           Is this the same survey instrument that         25 double-barreled question asks about two distinct


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 1 you used for the TDL survey and for the                    1   things.
 2 incidentally-contacted non-citizens?                       2            If one -- in this case, it's really more
 3      A Yes.                                                3   of a matter of two things that are on the same, same
 4      Q Okay.                                               4   dimension. They are both about registering. One could
 5           And you recorded the gender, age, race           5   have registered to vote, attempted to register to vote,
 6 and ethnicity of all of the respondents of the TDL         6   or neither attempted to register to vote, or -- or
 7 survey and the incidentally-contacted non-citizens;        7   registered to vote.
 8 correct?                                                   8            The issue with double-barreled questions,
 9      A All of them were asked these questions.             9   when those become problematic, is when someone could
10      Q When people were given this survey, were           10   have contradictory answers to the two, the two elements
11 they guaranteed anonymity and confidentiality?            11   of it that would, that would lead to unreliable
12      A No.                                                12   responses.
13      Q Did you clear this survey with Old                 13        Q You'd expect someone to say yes in
14 Dominion's IRB?                                           14   response to this question if they had registered to
15      A I did not. This survey was paid for by             15   vote; right, Professor Richman?
16 the State of Kansas, which contracted with the company    16        A That's right.
17 Issues & Answers. I --                                    17        Q And you'd expect someone to say yes to
18      Q Is it consistent with professional norms           18   this question if they had attempted to register to vote
19 in political science when conducting a survey of this     19   but hadn't actually registered to vote; correct?
20 nature not to guarantee confidentiality to survey         20        A That's correct.
21 respondents?                                              21        Q Now, from this survey, you don't know
22      A In this con -- in the context of this              22   when someone says yes which of those two categories
23 case, I did not feel that I could ethically promise       23   they fall into; right?
24 that because, in the context of the case, demands for     24        A That's correct.
25 disclosure and so forth could compromise my capacity to   25        Q You don't know if that person actually

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 1 registered to vote or if that person tried to register     1 vote but was unsuccessful, the survey doesn't tell us
 2 to vote but failed; correct?                               2 anything about why that person was unsuccessful;
 3      A That's correct. And that reflects what I            3 correct?
 4 was told was the, the aim of my analysis, which was to     4       A That's correct. The survey does not
 5 assess whether a substantial number of non-citizens        5 provide that information. And we might have gotten a
 6 were registering to vote or attempting to register to      6 little bit of information, but we hadn't -- no, not
 7 vote in the state of Kansas.                               7 really -- the survey doesn't provide information.
 8      Q You could have separated this question              8       Q You hypothesize, in the sentences that I
 9 into two pieces and asked someone, first, have you         9 just read, that being informed about Kansas
10 registered to vote, gotten an answer to that question;    10 requirements concerning documentation may have caused
11 and then, second, have you attempted to register to       11 some people not to register to vote; correct?
12 vote, and gotten an answer to that question.              12       A Yes.
13          Right?                                           13       Q But you don't know one way or the other
14      A I could have done that.                            14 whether it's actually the case that any of your survey
15      Q And then you would have been able to               15 respondents tried to register to vote but failed as a
16 distinguish?                                              16 result of the documentary proof-of-citizenship
17      A Then I would have been able to                     17 requirement; correct?
18 distinguish between those categories.                     18       A That's correct.
19      Q But as things stand from the TDL survey            19       Q It just as easily could have been the
20 respondents, you don't know --                            20 case that some of your survey respondents who answered
21      A You can't distinguish --                           21 yes to this question failed to register to vote after
22          THE COURT REPORTER: Wait, I'm sorry --           22 trying, simply because they were informed about the
23          MR. HO: Just let me finish my question,          23 requirement that one be a citizen in order to register
24 for purposes of the transcript.                           24 to vote; right?
25          THE WITNESS: Of course.                          25       A That's possible.

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 1 BY MR. HO:                                                 1      Q You just don't know one way or the other?
 2      Q As things stand from the TDL respondents,           2      A I don't know, yeah.
 3 you don't know how many of them actually registered to     3      Q When someone in your survey indicates
 4 vote; correct?                                             4 that they attempted to register to vote but failed, is
 5      A This question does not provide                      5 there any information about when they attempted to
 6 information on how many actually registered as opposed     6 register to vote?
 7 to attempted to register.                                  7      A No.
 8      Q Okay. Now, back to your initial report,             8      Q So you don't know, if someone attempted
 9 Exhibit 1. If we could turn to page 11.                    9 to register to vote and failed, whether or not their
10      A Okay.                                              10 attempt and failure happened before the documentary
11      Q The first full sentence: "Hence,                   11 proof-of-citizenship law went into effect in 2013;
12 respondents are not necessarily asserting that they are   12 correct?
13 currently registered; indeed, being informed about        13      A That's right, we don't know.
14 Kansas requirements concerning documentation of           14      Q They could have been stopped by something
15 citizenship status may have prevented some from           15 other than the documentary proof-of-citizenship law;
16 completing a registration application."                   16 correct?
17           Did I read that right?                          17      A They could have been stopped by something
18      A I believe so.                                      18 other.
19      Q Okay. So the first sentence here, that             19      Q Now, as a political scientist, when you
20 reflects the conversation that we were having, that       20 rely on a survey, do you want to know anything about
21 when someone says yes to question 3 on their survey,      21 the response rate of your survey?
22 they are not necessarily asserting that they are          22      A Yes.
23 currently registered to vote; correct?                    23      Q If, in political science research, you
24      A That's correct.                                    24 rely on a survey and fail to publish your response
25      Q And if someone attempted to register to            25 rate, would that be inconsistent with generally


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 1   accepted standards in the field?                         1 couple of years ago looking at that issue, and it's --
 2       A Generally, one would provide response              2 it's a concern, but I don't think, I don't think
 3   rate. I provided a spreadsheet which gave a summary of   3 there's a hard-and-fast threshold.
 4   the outcomes of calling in my -- as an attachment in my  4       Q As a peer-reviewer, would you accept for
 5   initial report.                                          5 publication an article that relied on a survey in which
 6        Q Okay. Let's --                                    6 the response rate was 6 percent --
 7             MR. ROE: Can we take a two-minute break? 7             A Yes.
 8   Is that okay?                                            8       Q -- for example.
 9             MR. HO: Okay.                                  9           The Pew report that you mentioned, do you
10             THE VIDEOGRAPHER: All right. Going off 10 know how low the response rates were in that report
11   the record at 2:29 p.m.                                 11 that the Pew report considered produced reliable
12             (Recess)                                      12 results?
13             THE VIDEOGRAPHER: Back on the record 13                A I don't remember precisely. It was done
14   2:38 p.m.                                               14 in 2012. Response rates have dropped somewhat further
15   BY MR. HO:                                              15 in survey research since that point, but I don't
16        Q Professor Richman, do you agree that,            16 remember the specific percentages.
17   generally speaking, if a survey has a low response      17       Q Does 9 percent sound right to you?
18   rate, that that increases the likelihood that the       18       A It might be. I don't remember.
19   people who actually responded to the survey are in some 19       Q Can you give me an example of an article
20   relevant sense different from the larger population? 20 that was based on a survey in which the response rate
21        A That's an increasing concern in the field        21 was 6 percent or lower that was accepted for
22   of survey research. WIRED published a piece this year 22 peer-reviewed publication?
23   suggesting that the response rates are below 1 percent 23        A Frequently in published surveys -- the
24   for some of the large political polls.                  24 published studies, rather, in the peer-review journals,
25             When you get response rates -- the lower      25 the response rates aren't discussed very much. But it


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 1 the response rate, the larger a concern that                1 varies.
 2 potentially is.                                             2            I can't recall -- it's not something
 3          And that's been addressed in the field of          3 where I've -- I keep -- I pay such close attention to
 4 public opinion research to varying degrees of success       4 it that I have articles like that readily at hand to,
 5 through weights to adjust for any differences on            5 to give you examples.
 6 demographic characteristics between those who responded     6      Q So you can't think of an example, sitting
 7 and those who didn't. Sometimes that works well. On         7 here, of a peer-reviewed publication based on a survey
 8 the whole, it's worked pretty well, but on the other        8 where the response rate was 6 percent or lower?
 9 hand, we've seen instances where it hasn't.                 9      A No. Generally, when I think about
10      Q If I use the expression "non-response               10 articles in the literature, I'm thinking about them on
11 bias," will you understand that I'm referring to this      11 the basis of variety of other, other elements. I
12 problem of low response rates potentially resulting in     12 don't -- I don't usually try -- memorize response
13 a biased sample?                                           13 rates.
14      A Yes.                                                14            (Interview breakdown dated 1/20/17 from
15      Q That's a version of the selection bias              15            Brittani Marston marked as Richman
16 problem we've been talking about throughout this           16            Exhibit Number 18)
17 deposition; right?                                         17 BY MR. HO:
18      A It's a case of selection bias.                      18      Q I'm going to give you what's been marked
19      Q What do you consider to be an acceptable            19 as Exhibit 18.
20 response rate for a survey attempting to measure,          20            I believe this is the call log that you
21 measure registration rates in order to be confident        21 provided --
22 that non-response bias is not a significant problem?       22      A Yes.
23      A You know, I don't know. The, the field              23      Q -- with your initial report for your
24 of public opinion research has done remarkably well        24 surveys.
25 with some very low response rates. Pew had a report a      25            Is that right?

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 1      A Yes.                                                  1      A Same thing for a computer tone.
 2      Q Now, I believe this is a call log for all             2      Q So you haven't provided a response rate
 3 of your surveys --                                           3 for your survey?
 4      A That's right.                                         4      A I did not. I provided this table, on
 5      Q -- aggregated together?                               5 which basis one could make some inference about
 6      A That's correct.                                       6 response rates.
 7      Q There's no way, from the data that you've             7      Q Is there any way to calculate the
 8 provided, to break out the response rates for your           8 response rate for your surveys based on the information
 9 different samples; for instance, your TDL sample             9 in this table?
10 response rate or your suspense list response rate;          10      A I believe there is. I think you could
11 right?                                                      11 take the information in this table and calculate it on
12      A That's right.                                        12 the basis of the, the various criteria for different
13      Q If I were to add up all of the numbers in            13 response rate calculations provided by the American
14 column B, that would give me the number of total calls      14 Association for Public Opinion Research.
15 you made; right?                                            15      Q Okay. According to AAPOR standards,
16      A I think there might be -- well, be some              16 which one of these numbers would you include and which
17 overlap between these.                                      17 ones would you not include?
18           So, for instance, Spanish call-back, some         18      A I would have to double-check the specific
19 of those, many of them hopefully, ended up as completed     19 standards. As I just talked about, some of these would
20 interviews.                                                 20 not be included, such as disconnected phone.
21           Answering machine -- and, so, I don't             21      Q Do you know what the AAPOR standards are
22 think that -- I think that there are some instances in      22 for --
23 which numbers appear more than once. Phone busy, so         23      A I have worked with them before --
24 forth.                                                      24      Q -- including these --
25           So I think that that -- that would                25      A -- but I don't have --

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 1   probably be incorrect.                                   1           THE COURT REPORTER: I'm sorry.
 2             If you add up all of them, I think you'll      2 BY MR. HO:
 3   end up with a total number of numbers that's probably    3      Q Can you wait until I finish my question?
 4   larger than we -- than the total number of numbers that  4      A Yes.
 5   were given to issues and answers, but I'm not            5      Q Do you know what the AAPOR standards --
 6   absolutely certain of that.                              6 that's A-A-P-O-R standards -- would be for including
 7        Q Well, if I add up all the numbers in              7 the numbers in these rows in calculating your response
 8   column B, I get a number over 40,000. Do you know how    8 rate?
 9   many calls were made for your surveys?                   9      A I don't have them memorized.
10        A I don't know specifically how many calls         10      Q You don't know your response rate,
11   were made.                                              11 sitting here today, do you?
12        Q Do you know what the response rate was           12      A Not precisely.
13   for your survey?                                        13      Q Did you ever calculate the response rate
14        A I don't know the specific response rate.         14 for your survey?
15   The overall 2300 completed interviews suggests that, 15         A I have not calculated the precise
16   that, you know, if there were about 40,000 total        16 response rate.
17   numbers reached, we had at least the response rate that 17      Q Let's talk about your TDL survey.
18   would suggest.                                          18           Now, do you have any basis for assuming
19             But some of these categories are ones         19 that TDL holders are representative of all non-citizens
20   that are typically removed in the calculation of        20 in the state of Kansas?
21   response rates.                                         21      A TDL holders are a group of individuals
22             So, for instance, disconnected phones         22 who received a temporary driver's license in the state
23   would not be considered as a -- as a -- in the          23 of Kansas. There are some groups of non-citizens in
24   denominator in calculating response rates.              24 the state of Kansas who might not fall under this
25        Q So you haven't --                                25 group.


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 1           In my second report, I did a weighted            1      Q Okay.
 2 analysis which extrapolates on the basis of weighting      2           The TDL list, do you now understand, does
 3 the TDL respondents to match the demographic               3 not include any legal permanent residents?
 4 characteristics in the amount of citizen population of     4      A I do.
 5 the state of Kansas.                                       5      Q So the TDL only consists of people here
 6           So that's one way to, to address this            6 on temporary visas who have applied for a temporary
 7 issue.                                                     7 driver's license; correct?
 8           The results were quite similar to the            8      A That's my current understanding.
 9 ones that I offered here.                                  9      Q You also understand that in order to
10           In my initial report, I discussed a             10 obtain a driver's license in Kansas, you have to show
11 couple of different extrapolations. One was to the        11 some form of a legal presence document; right?
12 entire TDL list, of which it seems reasonable to assume   12      A That's my, my understanding as well,
13 that this is a fairly representative sample. And then     13 though that hasn't always been the case, I think, in
14 to the broader Kansas non-citizen population, for which   14 the state. I don't know exactly when that became the
15 one could raise the issue you just raised, the            15 case.
16 weighting is one way of addressing that concern.          16      Q So is it your understanding that, as a
17      Q Well, let's look at page 10 of your                17 general matter, someone here who is undocumented and
18 report, initial report Exhibit 1, where you talk about    18 does not have a legal presence document would be unable
19 your temporary driver's license list survey.              19 to obtain a TDL in Kansas?
20           The last full paragraph here reads: "The        20      A Yes, I think that's probably the case.
21 TDL non-citizen list does not include all non-citizens    21           There are some states where licenses are
22 of Kansas. My impression is that it is composed of        22 available to such individuals. I don't believe Kansas
23 legal permanent resident aliens and aliens possessing     23 is the case, though I'm not an expert on the specifics
24 temporary visas, nonimmigrant aliens" -- in parentheses   24 of Kansas driver's license law.
25 -- "who applied for a temporary driver's license."        25      Q Okay. So just to be clear, the

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 1           Did I read that correctly?                       1 non-citizen populations that the TDL list excludes are:
 2      A You read that correctly.                            2 Legal permanent residents; correct?
 3           I'm not -- I'm no longer as sure that            3      A That -- that appears to be correct, yes.
 4 that's right concerning legal permanent residents.         4      Q People here on temporary visas who never
 5 I --                                                       5 apply for driver's licenses; correct?
 6      Q Well, let's talk about --                           6      A Correct.
 7      A I think that it may, it may be the case             7      Q And undocumented immigrants; correct?
 8 that legal permanent residents are able to get driver's    8      A Yes.
 9 licenses that are not -- that do not lead them to be on    9      Q And -- okay.
10 the TDL list.                                             10          Now, you address some of these
11      Q At the time you wrote this, you believed           11 representativeness issues in your rebuttal report,
12 that legal permanent residents and temporary visitors     12 Exhibit 12, and I want to ask you about page 26,
13 to the United States who were here legally could obtain   13 paragraph 64.
14 TDLs; correct?                                            14          Let me know when you're there.
15      A That's what I believed.                            15      A I'm there.
16      Q And what was the basis for that belief?            16      Q Okay.
17      A That belief was -- the basis of that               17          The last full sentence in this paragraph
18 belief was my impression that this was a list which       18 reads: "On the other hand, non-citizens who have no
19 included a range of non-citizens who were in the United   19 prospect of naturalizing (e.g." --
20 States legally.                                           20      A Which page are we on? Because 64 appears
21      Q Okay.                                              21 to continue to the -- to --
22           Now, we know for a fact that the TDL does       22      Q I'm on page 26. The last full sentence
23 not include people who never -- non-citizens who never    23 on page 26.
24 applied for a TDL; right?                                 24      A Oh, okay. I got it.
25      A Right.                                             25      Q It reads: "On the other hand,

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 1 non-citizens who have no prospect of naturalizing          1      Q The interview took place on Fox News;
 2 (e.g., undocumented immigrants) have strong incentives     2 correct?
 3 to register to vote as voter registration provides a       3      A I believe so.
 4 document useful for establishing the appearance of         4      Q Would relying on a Fox News interview for
 5 citizenship and a right to work in the United States.      5 the proposition that undocumented immigrants are often
 6           "A former ICE staffer stated in                  6 registered to vote be acceptable for the purposes of a
 7 interviews last fall that he often encountered voter       7 peer-reviewed publication in political science?
 8 registration cards on undocumented immigrants."            8      A As with a variety of the questions you've
 9           Did I read that correctly?                       9 asked, you're asking a question which appears to be a
10       A Yes.                                              10 yes or no question, but it's actually a question that
11       Q Are you offering an expert opinion that           11 requires more than a yes or no answer. I apologize if
12 undocumented immigrants are more likely to be             12 that seems argumentative, but it does. It would depend
13 registered to vote than legally present non-citizens?     13 on the context in which that was being used.
14       A I am speculating here. This is in the             14      Q How did you become aware of this Fox News
15 context of thinking about what is the nature of the       15 interview?
16 bias arising from the imperfect coverage of the TDL       16      A I believe I saw a link to it on the -- on
17 list that we were just talking about.                     17 Rick Hasen's election log blog, but I'm not certain. I
18           One element of that bias, I'm suggesting,       18 might have found out about it some other way.
19 may well be, although this is speculative, toward a       19      Q This is the only thing that you cite in
20 lower estimate rather than a higher estimate.             20 your report for the proposition that undocumented
21       Q You are not aware of any empirical                21 immigrants often have voter registration cards in this
22 evidence, one way or the other, suggesting that           22 Fox News interview; correct?
23 undocumented immigrants are more likely to be             23      A That's the only thing I cite, though
24 registered to vote than legally present non-citizens,     24 there are some other sources that do make a similar
25 are -- do -- are you?                                     25 argument.


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 1      A At this point, there's very little                  1       Q     So you are aware of other sources to
 2 concrete evidence one way or another on that issue.        2   support the proposition that undocumented immigrants
 3            The CCES survey doesn't distinguish             3   often have voter registration cards, but you opted not
 4 between different types of -- of non-citizens and          4   to include those other sources in your report?
 5 the -- so there's, there's limited empirical evidence.     5        A I believe there are some -- there are
 6 This is based on -- an argument based on logic and an      6   other sources. I didn't have them immediately at hand
 7 example.                                                   7   and I did not cite them here, but --
 8      Q And when you speculate that undocumented            8        Q Why did you not cite them?
 9 immigrants may want to register to vote so that they       9        A I just stated the reason. I didn't have
10 can -- it's, it's -- the reason that you speculate that   10   them immediately at hand.
11 undocumented immigrants may want to register to vote is   11        Q Can you think of them today, sitting
12 that they will be able to obtain a document; correct?     12   here, any other sources other than a Fox News interview
13      A Right.                                             13   for the proposition that undocumented immigrants,
14      Q Can you quantify how often undocumented            14   quote, often, end quote, have voter registration cards?
15 immigrants have voter registration cards?                 15        A I'm trying to remember the -- if it
16      A No, I cannot.                                      16   hadn't been so -- if we weren't so many hours in
17      Q For your assertion that undocumented               17   already, I think I'd have an easier time recalling the
18 immigrants often have voter registration cards, you       18   book I'm thinking of.
19 cite an interview with a former ICE officer; correct?     19             Sorry. Maybe we can come back to it.
20      A I am paraphrasing his statement when I             20        Q The answer is no, you can't think of any
21 say "often."                                              21   other sources?
22      Q And you did not conduct that interview of          22        A Not immediately, but I, I can provide
23 the ICE officer; correct?                                 23   that to you later if you wish.
24      A That's right. I have a link there to a             24        Q Okay. Let's turn to page 17 of your
25 video of the interview.                                   25   rebuttal report; and, specifically, paragraph 38.

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 1      A Page 17?                                           1 interval for the TDL survey unweighted was 7.7 percent
 2          All right.                                       2 to 31.1 percent, here in paragraph 38, you report that
 3      Q Now, here in this paragraph, 38, this is           3 once you weight the results, your confidence interval
 4 where you describe some of the weighting that you were    4 shifts downwards to 4.4 percent to 25.3 percent;
 5 talking about earlier of your TDL survey sample;          5 correct?
 6 correct?                                                  6      A That's what I report.
 7      A Correct.                                           7      Q And the confidence interval for this
 8      Q Now, your unweighted estimate that you             8 estimate, based on the TDL sample, is still more than
 9 reported in your initial report in this case, of          9 20 percentage points; correct?
10 non-citizen registration based on the TDL, gave us an    10      A Yes.
11 estimate of 16.5 percent; correct?                       11      Q As a political scientist, which estimate
12      A I believe that was the case, yes.                 12 do you think is more reliable, the weighted or the
13      Q And when you weighted your TDL sample,            13 unweighted one?
14 you weighted it to account for age, gender, race, and    14      A I would -- if we're trying to make an
15 ethnicity; correct?                                      15 inference about the frequency of non-citizen
16      A Age, gender, race, and Hispanic                   16 registration among TDL list members specifically, then
17 self-ident -- Hispanic identification.                   17 I'd want to use the TDL list weighted estimate. But if
18      Q And once you weighted for those factors,          18 we're trying to generalize to the entire non-citizen
19 your new estimate of non-citizen registration or         19 population in the state of Kansas, I would prefer the
20 attempted registration, based on the TDL survey, is      20 weighted estimate.
21 11.4 percent; correct?                                   21      Q The lower estimate you think is more
22      A Correct.                                          22 accurate?
23      Q So once you weighted your survey results,         23      A Yes.
24 that reduced your estimate of non-citizen registration   24      Q Now, we established earlier -- let me
25 or attempted registration by about a third; is that      25 start that again.


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 1 right?                                                    1           Just because someone is on the TDL, do
 2      A It reduced it from the figure of 16.5 to           2   you know for a fact that that person is a non-citizen?
 3 the figure of 11.4.                                       3        A No.
 4      Q Now, 11.4 percent of approximately                 4        Q Someone could have been a non-citizen
 5 115,000 non-citizens in Kansas is how many people,        5   when they applied for a TDL and then naturalized;
 6 Dr. Richman?                                              6   right?
 7      A Let me use the calculator.                         7        A Potentially; though, on the other hand,
 8           MR. ROE: Dale, what page are we on at           8   people who are on the TDL are people who are not legal
 9 this point?                                               9   permanent residents. So, presumably, it will take --
10           MR. HO: 17, paragraph 38.                      10   it would take some period of time, I don't know exactly
11           THE WITNESS: That would be 13,110, I           11   how long, for them to reach eligibility for
12 believe.                                                 12   naturalization. But, yeah, somebody could have
13 BY MR. HO:                                               13   naturalized.
14      Q And 13,110 is equivalent to approximately         14        Q And one of the ways you try to account
15 what percentage of the approximately 1.8 million         15   for that possibility is that the non-citizen status of
16 registered voters in Kansas?                             16   the TDL survey respondents was verified with the United
17      A That is approximately .73 percent, or             17   States Immigration and Customs Enforcement, or ICE;
18 .728 percent.                                            18   correct?
19      Q Now, when you weight your TDL survey              19       A That's -- that's right.
20 responses, your confidence intervals change too, not     20            Now, as I discuss in the report, not --
21 just the point estimate; right?                          21   in some cases, the response was unknown, which doesn't
22      A Yes, that's one of the effects that --            22   really help clarify specifically the status, but it
23 that weighting has; you're putting more weight on some   23   would suggest.
24 observations than on others.                             24            But we did -- but I think we got more
25      Q So whereas before your confidence                 25   unknown responses with some of the other lists.

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 1             Yes, we, we -- this list was reviewed by         1 this, I would want to pursue those kinds of levels of
 2   ICE and they gave a report on status. My recall of the     2 protection.
 3   TDL list specifically was that all but one of the          3           In the context of this case, I believe
 4   respondents, we got a, a status from, and there was one    4 there is -- there are some protective orders, but I --
 5   who -- for whom they were un -- they indicated             5 so -- but this is a different circumstance.
 6   uncertainty, and that individual was dropped from this     6      Q Would sending the names of survey
 7   analysis.                                                  7 respondents in a survey that you've conducted of people
 8         Q What information was sent from the Kansas          8 who identify as non-citizens and indicate that they are
 9   Secretary of State's office to ICE in order to verify      9 registered to vote, would sending the names of those
10   that the TDL survey respondents continued to be           10 people to United States ICE be consistent with the
11   non-citizens?                                             11 confidentiality protections typically employed in a
12         A I think I provided an exhibit at some             12 university IRB process.
13   point with that. I don't remember the, the exact          13           The answer is no; right?
14   details right now.                                        14      A We did not provide any information to ICE
15         Q But broadly speaking, the Kansas                  15 about whether the individuals whose names they were
16   Secretary of State's office sent a list of names over     16 being sent had indicated that they had registered to
17   to ICE of the TDL survey respondents, and based on that   17 vote or not.
18   list, ICE was able to confirm for the Kansas Secretary    18      Q Would sending their names to ICE to try
19   of State's office whether or not these people, as best    19 to confirm their non-citizenship status be consistent
20   as ICE knew, continued to be non-citizens; correct?       20 with the confidentiality protections typically
21         A That's right. So the list contained               21 associated with a university IRB process?
22   names, and I think it had address and date of birth.      22      A I don't know.
23   And I don't -- I'm not sure if there was any other        23      Q The answer is no; right?
24   information.                                              24      A I don't know.
25         Q We talked about ethical concerns with             25      Q You don't know the answer to that

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 1   confidentiality. Does the fact that your survey            1 question?
 2   respondents who may have been non-citizens and may have    2       A I, I am -- I think it would be dependent
 3   been registered to vote, that their information was        3 upon a range of considerations.
 4   transmitted by the Kansas Secretary of State to ICE,       4       Q Okay. So your non -- your TDL
 5   does that raise any ethical concerns for you as a          5 respondents, you attempted to validate their
 6   political scientist analyzing this survey?                 6 non-citizenship status through ICE.
 7        A The -- it is something that I have                  7            Did you attempt to validate the
 8   thought about as a -- as one of the challenges of          8 citizenship status or non-citizenship status of your
 9   taking on this project in general, is that various of      9 suspense-list survey respondents?
10   the analyses that I might do could potentially identify   10       A I -- I'm trying to remember which groups
11   individuals who were non-citizens and illegally           11 we sent names from.
12   registered to vote.                                       12            I know we -- I provided a, a set of
13        Q If you were to conduct this kind of                13 the -- of information about what we sent and received.
14   survey and analysis, apart from this case, but in your    14 I, I can't recall at this point.
15   academic capacity, verifying the citizenship status or    15       Q Are you familiar with the phenomenon of
16   non-citizenship status of survey respondents in this      16 registration over-reporting?
17   manner, would that pass the Old Dominion IRB process?     17       A Yes.
18        A I don't know. I think, when David                  18       Q And that's a phenomenon where, in
19   Earnest and I were working on developing plans for        19 surveys, survey respondents typically report being
20   other surveys, what we were hoping to do is to obtain,    20 registered at a higher rate than government records
21   for respondents, the high levels of confidentiality       21 indicate people are actually registered to vote;
22   protections that the Federal Government makes available   22 correct?
23   for respondents in some classes of surveys; for           23       A Yes; I'm aware of that phenomenon.
24   example, surveys on drug use and that sort of thing.      24       Q And you, you know that that phenomenon
25            Outside of the context of a case like            25 exists; right?


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 1      A Yes.                                                  1        Q I'm not talking about Professor Hersh's
 2      Q You don't dispute the existence of that               2   file. I'm just talking about the Kansas voter
 3 phenomenon; right?                                           3   registration file.
 4      A No.                                                   4        A It should be there.
 5      Q And what essentially it means is that                 5        Q If someone attempts to register to vote
 6 some people in survey say that they are registered to        6   but their form is incomplete, for instance, because
 7 vote when in fact they are not; correct?                     7   they lack documentary proof of citizenship, they are
 8      A Yes.                                                  8   going to be in the file but marked as in suspense.
 9      Q Okay. Did you, when you calculated your               9             Do you understand that?
10 estimate of non-citizen registration based on the TDL       10        A Yes.
11 survey, did you do anything to account for the              11        Q Okay. Did you do anything to check to
12 possibility of registration over-reporting?                 12   see whether or not the six TDL survey respondents who
13      A Well, the subsequent -- the matching that            13   told your surveyor that they were registered or had
14 Hersh performed suggested that he wasn't able. Now,         14   attempted to register to vote, were actually, in fact,
15 the list he had apparently was incomplete, but given        15   in the Kansas voter registration file?
16 the list he had, albeit incomplete, I don't believe he      16        A So, I did not analyze the, the file that
17 was able to match the names of those individuals to the     17   Hersh looked at. I may have done some comparison with
18 voter files.                                                18   the list of matched names from the TDL to the suspense
19           So that would suggest that one of two             19   file. I don't believe that any of these individuals
20 things was true for those individuals: Either they had      20   were on that list of matched names.
21 attempted to register to vote but had not completed         21        Q Right. You're aware that Bryan Caskey,
22 voter registration or -- well, one of three things;         22   the director of elections for Kansas, performed a match
23 they weren't on the list -- incomplete list that Hersh      23   of the TDL -- or analyzed a match of the TDL --
24 received of the voter file in the state of Kansas; or       24        A Yeah.
25 they had claimed to have registered to vote or              25        Q -- to the entire Kansas voter

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 1   attempted to register to vote when perhaps they hadn't.    1   registration file?
 2         Q What's your understanding of when -- what          2        A Yes, I am.
 3   happens when someone submits a voter registration form     3        Q And did you check to see whether or not
 4   in Kansas but the form is incomplete in some respect?      4   any of the six TDL survey respondents from your survey
 5   Is it your understanding that that person does not get     5   who said they were registered to vote or had attempted
 6   entered into the Kansas voter registration file?           6   to register to vote, appeared in Mr. Caskey's list of
 7         A I don't know the details of how the                7   names matched from the TDL database to the voter
 8   Kansas voter registration systems work.                    8   registration file?
 9         Q Okay. So if I told you that the director           9        A I don't believe I've seen the full list
10   of elections for the state of Kansas has testified        10   from Caskey's matching.
11   that, generally speaking, when someone submits a voter    11        Q Did you ask for the full list from
12   registration form but it's incomplete in some respect,    12   Caskey's matching?
13   for example, it's lacking documentary proof of            13        A I have not.
14   citizenship, that that person is supposed to be entered   14        Q Did you ask anyone to verify whether or
15   into the Kansas voter registration file, would you have   15   not your six TDL survey respondents who said that they
16   any reason to believe that that was incorrect?            16   were registered to vote or had attempted to register to
17         A No.                                               17   vote were actually in the Kansas voter registration
18         Q Okay.                                             18   file?
19             So, if someone successfully registers,          19        A I have not asked anybody to do that.
20   registers to vote, they're going to be in the Kansas      20        Q So your only basis for thinking that your
21   voter registration file; correct?                         21   TDL survey respondents registered or actually
22         A If somebody successfully registers to             22   registered to vote is their response on the survey;
23   vote, they should be in the file. The only caveat is      23   correct?
24   that the file that Hersh received apparently was          24        A Registered or attempted to register to
25   incomplete.                                               25   vote, and on the basis of the various evidence that

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 1   we've just been discussing, I think it's likely that       1        Q And you could have weighted your sample
 2   they would fall more into the category of either having    2   of incidentally-contacted non-citizens for race and
 3   asserted that they were registered to vote when they       3   Hispanic ethnicity in the same way that you did for the
 4   weren't or having attempted to register to vote without    4   TDL survey respondents; right?
 5   reaching a point where they submitted a document that      5        A That's correct.
 6   would have gotten itself into the, the voter               6        Q But you did not weight your
 7   registration list.                                         7   incidentally-contacted non-citizen sample for race and
 8        Q And you understand that everyone who                8   ethnicity in the same manner that you did for the TDL
 9   submits a voter registration form that is complete but     9   sample; correct?
10   for the submission of documentary proof of citizenship    10        A I don't believe I did.
11   is supposed to be in the Kansas voter file; correct?      11        Q Now, did you do anything to check whether
12        A That's -- I believe that is how it                 12   or not your 19 incidentally-contacted non-citizens
13   operates. Again, I'm not an expert on this.               13   were, in fact, non-citizens, the same way that you did
14        Q Okay. Let me ask you about your                    14   with the TDL survey?
15   estimates based on incidentally-contacted non-citizens.   15        A That was not possible in this case
16        A Okay.                                              16   because we had no, we had no identifying information
17        Q Now, we talked about how you weighted              17   about these individuals. They were incidentally
18   your TDL sample.                                          18   contacted. They were not on the -- their names were
19        A Um-hum.                                            19   not on the list that we were calling, and so all that
20        Q Did you weight your sample of 19                   20   was available in the survey data set about these
21   incidentally-contacted citizens for gender?               21   individuals was the phone number they were reached at
22        A I -- let me see. I think in the -- do I            22   and their responses.
23   have a discussion of that in here?                        23       Q You didn't have name and age for these
24        Q Well, I'll tell you, I believe the answer          24   individuals?
25   is that you did not.                                      25       A Well, we had age category, but we didn't

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 1             Do you think that's wrong?                       1 have any way to, to do any kind of matching of identity
 2        A Not in the original report, that's true.            2 because we didn't know their identity.
 3        Q In your rebuttal report, I believe, and             3      Q Did you have their names?
 4   you can correct me if I'm wrong, that you did not          4      A No.
 5   weight your sample of 19 incidentally-contacted            5      Q Now, we established earlier that one of
 6   non-citizens for gender; is that right?                    6 your 19 incidentally-contacted non-citizens indicated
 7        A I don't think so. I don't know for sure.            7 that they were registered or had attempted to register
 8   I'm trying to remember --                                  8 to vote; right?
 9        Q Okay.                                               9      A That's right.
10        A -- whether I, whether I included a                 10      Q Did you check to see if this one person
11   weighted analysis at all in the rebuttal report.          11 was actually in the Kansas voter file?
12        Q You could have performed a weighting of            12      A I have no way to do that since I do not
13   the -- of the incidentally contacted non-citizens for     13 know name or other identifying information for this
14   gender; right?                                            14 person.
15        A Yeah.                                              15      Q Okay. Let's talk about the CCES estimate
16        Q But you didn't; right?                             16 in your report.
17        A I, I can't -- I don't believe I did.               17      A Which one, the Kansas?
18        Q Okay. You did not weight the sample of             18      Q The Kansas one.
19   incidentally-contacted non-citizens for age; correct?     19           MR. ROE: What page, Dale? Is this
20        A That's correct.                                    20 Exhibit 1 or Exhibit 12?
21        Q You could have done that, but you didn't;          21           THE WITNESS: Yeah, which exhibit are we
22   right?                                                    22 in?
23        A I -- I'm trying to recall whether I                23           MR. HO: One. But, actually, if you use
24   included such an analysis in here or not. I guess I --    24 14, which has the point estimates and the confidence
25   I guess I didn't.                                         25 intervals --


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 1            THE WITNESS: All right, let me find               1         A The Sedgwick County estimate doesn't
 2   that.                                                      2   include any kind of reporting of registration status;
 3            MR. HO: -- I think that would be                  3   it's based on observation and matching.
 4   sufficient.                                                4         Q Okay.
 5            THE WITNESS: Okay.                                5             Now, if we look at your original report
 6   BY MR. HO:                                                 6   in this case, Exhibit 1.
 7        Q Now, the confidence interval for your               7         A Okay.
 8   CCES-based estimate of non-citizen registration in         8         Q In the conclusion, you discuss various
 9   Kansas does not overlap with the confidence interval       9   numbers for estimates of non-citizen registration in
10   for the Sed -- for the estimate based on the Sedgwick     10   Kansas.
11   County naturalization data; right?                        11             And what I noticed was that you did not
12        A Yes, that's correct.                               12   mention an estimate of 32,000 non-citizens registered
13        Q And we established earlier that if the             13   to vote in Kansas based on the CCES survey. And I'm
14   confidence intervals for two estimates do not overlap,    14   wondering if there's a reason why you omitted that from
15   that means they are in some sense incompatible; right?    15   your conclusion.
16        A Yeah. And in this case one of the                  16        A I don't recall why it was omitted from
17   differences is, the Sedgwick County analysis is based     17   the conclusion.
18   purely on -- there are two, two key differences.          18        Q Okay. Now, your other estimates, the TDL
19            Sedgwick County is based purely on               19   survey, the incidentally-contacted non-citizens, and
20   individuals who naturalized. That was how Sedgwick        20   the Sedgwick-County-based estimate, all of those
21   County identified that these individuals had been         21   estimates are for percentage of non-citizens in Kansas
22   non-citizens at the time of their registration or         22   who have registered or attempted to register to vote;
23   attempted registration.                                   23   correct?
24            And, furthermore, the Sedgwick County            24        A The Sedgwick, the TDL, and the
25   numbers are based on only those individuals who chose     25   incidentally, yes.

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 1   to ask for voter registration at the ceremonies.           1       Q    Okay. But your survey sample -- I'm
 2            It's quite plausible that some                    2   sorry, your CCES-based estimate, that's specifically an
 3   non-citizens who were -- knew they were registered to      3   estimate for people who say they are registered to
 4   vote prior to the ceremony would not choose to             4   vote, not attempted; right?
 5   reregister at that point.                                  5        A That's right. So that is a question
 6            And, so, those are some of the                    6   that's specifically about indicating that they are
 7   differences.                                               7   registered.
 8            Another difference is that the Sedgwick           8        Q You would expect the number of
 9   County numbers are unlikely to be in any way biased by     9   non-citizens who are registered to vote in Kansas to be
10   issues of over-reporting of registration because, in      10   smaller than the number of non-citizens who have
11   this case, we're dealing with matches of individuals to   11   registered to vote or attempted to register to vote;
12   the, the voter file. And, so, there are a variety of      12   right?
13   ways in which the Sedgwick County numbers may be --       13        A So all else equal, one would. Of course
14   might be expected to be distinct.                         14   these are different samples in a variety of ways, as
15             The CCES sample includes a wide range of        15   we've discussed. And, so, that could account for some
16   different kinds of non-citizens potentially, including    16   of the difference.
17   undocumented citizens, citizens who for one reason or     17             The CCES sample is also, as you can see
18   another are not likely to be in a position to             18   from its confidence interval index, the estimate is
19   naturalize.                                               19   extremely uncertain, and that confidence interval does
20        Q So let me just hone in on one of the               20   overlap with the confidence interval -- to a large
21   things that you identified.                               21   degree with the confidence intervals for the other
22             The Sedgwick-County-based estimate is           22   survey-based estimates.
23   less likely to have a problem with registration           23             So I, I didn't think it was -- it's --
24   over-reporting than the CCES-based estimate. That's       24   the point estimate is higher, but I'm not sure there's
25   your view; correct?                                       25   a whole lot to be made of that.

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 1       Q Now, you've read Professor Ansolabehere's          1 voting and the inappropriateness of registering to vote
 2   report in this case; correct?                            2 in the United States as a non-citizen. There's quite a
 3       A The one in response to my report?                  3 bit of variation across the world in the degree to
 4       Q Yes?                                               4 which non-citizens are allowed to participate in
 5       A Yes.                                               5 elections. The United States doesn't allow much, but
 6       Q And do you recall Professor Ansolabehere           6 there's quite a bit of variation.
 7   making a point about the CCES respondents who indicate 7        Q Let me just stop you right there, because
 8   that they are non-citizens, that that group not being    8 my question was really simple. I don't think it
 9   representative of non-citizens as a whole in the United  9 required this detour.
10   States?                                                 10           Other than your own research, are you
11         A Yes, he made that point with a couple of        11 aware of any research suggesting that registration
12   different lines of argument.                            12 rates do not vary on the basis of education levels
13              One of the -- well, I'll, I'll let --        13 amongst a particular sub-population?
14   I'll let you ask your next question.                    14      A So in the context of the non-citizen
15         Q Okay.                                           15 population, in the context of other sub-populations,
16              Now, you correct me if I'm wrong here,       16 I'm not aware of research indicating that in the
17   but I believe one of the points you were making in your 17 context of U.S. elections. It's possible there's some
18   rebuttal was that differences in the education level    18 sub-population that that's the case, but the general
19   amongst self-identified non-citizen respondents in the 19 pattern is, is the opposite.
20   CCES and non-citizens as a whole in the United States 20        Q Okay.
21   aren't relevant to registration rate estimates amongst 21            Now, we established earlier that in the
22   non-citizens because registration status does not vary 22 context -- in your Electoral Studies article, you
23   among non-citizens on the basis of education; is that 23 weighted the CCES respondents on the basis of race and
24   an accurate representation of your view?                24 Hispanic ethnicity when making an estimate of
25         A That was part of my argument. The other 25 non-citizen registration nationally from the CCES;

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 1   part was that the -- yeah, that was my primary argument    1   correct?
 2   on that issue.                                             2       A      That's right.
 3        Q Now, other than your own research based             3       Q      Okay. For your report in this case --
 4   on the CCES data, are you aware of any other research      4       A      Yes.
 5   by anyone suggesting that registration rates do not        5       Q      -- you did not weight the CCES
 6   vary on the basis of education amongst any                 6   respondents on the basis of race and Hispanic ethnicity
 7   sub-population?                                            7   when making an estimate on the basis of the CCES about
 8        A The typical pattern in American politics            8   non-citizen registration rates in Kansas; correct?
 9   is that people with higher levels of education register    9        A That's correct.
10   and vote at higher rates, and that's true in analyses     10              Frankly, with so few respondents, I
11   of naturalized citizens, as well as other                 11   thought that attempting to construct weights may be
12   sub-populations.                                          12   difficult with such a small number of individuals.
13             I think that the -- there are reasons why       13        Q You did weights for the 37 individuals in
14   -- to think that the results that -- we found that        14   the TDL survey; right?
15   there's very modest association, no association, that     15        A I did weights for the 37, but by the time
16   you -- we talked earlier about, in the 2014 paper we      16   one gets below that level, I think that it -- you're,
17   had an analysis looking at voting rates, validated        17   you're getting to have such a small sample that
18   voting, which suggested, if anything, the direction of    18   constructing weights potentially would become
19   the effect was in the opposite direction from what one    19   difficult.
20   would typically expect, with those with higher levels     20        Q And we talked about how with your TDL
21   of education being more likely not to cast a validated    21   survey sample you weighted by gender, but you did not
22   vote.                                                     22   weight your CCES sample by gender when using it as a
23             I think this potentially reflects, as we        23   basis for making estimates about non-citizen
24   were talking about earlier, the intersection between      24   registration in Kansas; correct?
25   education and awareness of the barriers to non-citizen    25        A The sample of 14 individuals, no.

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 1      Q And you also did not weight the CCES                1            The -- so let's say we take the 1 out of
 2 sample by age when extrapolating from it to make an        2   14. We're pretty confident this person is actually
 3 estimate as to the number of non-citizens registered to    3   registered to vote. So that gets -- you know, there
 4 vote in Kansas; correct?                                   4   are a range of estimates here. I, I would expect that
 5      A That's correct.                                     5   some of the estimates are biased in one way and some
 6      Q Now, your estimate of non-citizen                   6   may be biased in another way.
 7 registration based on the CCES in this report is based     7   BY MR. HO:
 8 on self-reported registration rather than validated        8        Q So let's just be clear about this. Of
 9 registration; correct?                                     9   the 14 Kansas respondents to the CCES from 2006 to 2012
10      A That's correct.                                    10   who indicated that they were non-citizens, only one out
11      Q And are you aware that Professors                  11   of those 14 people could be linked to an actual voter
12 Ansolabehere and Hersh have documented registration       12   registration file; correct?
13 over-reporting in the CCES?                               13        A That's my impression.
14      A Yes.                                               14        Q Okay. Did you check to see whether or
15      Q So there are people in the CCES who say            15   not the four individuals who said that they were
16 they are registered to vote but in fact are not           16   registered to vote in the CCES, whether or not those
17 registered to vote; correct?                              17   individuals could be linked to a voter file?
18      A That's their analysis. I've read one of            18        A Professor Ansolabehere discussed that
19 their published papers on that issue.                     19   analysis, I think, in his report.
20      Q Do you have any reason to doubt their              20        Q Okay. When you published your Electoral
21 analysis, that there are people in the CCES who say       21   Studies article, you published numbers of non-citizen
22 they are registered to vote but, in fact, are not?        22   registrants. And you published one number for people
23      A No, I don't.                                       23   who could be linked to a voter file and said they were
24      Q The four respondents from Kansas in the            24   registered to vote; you published a different number
25 CCES that said they were registered to vote --            25   for people who said they were registered to vote but

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 1      A Um-hum.                                             1 couldn't be linked to a voter file. Correct?
 2      Q -- the ones that you rely on for your               2      A Yes.
 3 CCES-based estimate, three of those four individuals       3      Q So when you published your Electoral
 4 cannot be linked to a voter registration file; correct?    4 Studies article, you made sure to determine which of
 5      A That's my impression, yes.                          5 the CCES respondents could actually be linked to a
 6           So one of the things -- so what does that        6 voter file; correct?
 7 mean in terms of those individuals? It could mean that     7      A That was the discussion we had earlier.
 8 the matching process failed, or it could mean that they    8      Q And you thought that that was an
 9 were not in fact registered and they asserted              9 important analysis to perform before you published your
10 registration.                                             10 peer-reviewed article on non-citizen registration;
11      Q Do you know one way or the other whether           11 correct?
12 these people were amongst the over-reporters who say      12      A Yes.
13 they are registered to vote but are not?                  13      Q Now, did you perform that analysis before
14      A There's no way to know with certainty,             14 you submitted your expert report in this case to
15 but it's certainly a possibility.                         15 determine whether or not the four individuals from the
16           This is another reason why the, the CCES        16 CCES who reported that they were non-citizens and
17 sample is a -- we're, we're looking here at a subset of   17 registered to vote in Kansas could be linked to a voter
18 a national sample. It's a very small sample of            18 file?
19 non-citizens.                                             19      A I don't recall.
20           THE COURT REPORTER: I'm sorry. "It's a          20           I don't believe I did, but it's possible
21 very small sample" --                                     21 I did and I've forgotten.
22           THE WITNESS: It's a very small sample of        22      Q Now, we talked about a post on your blog
23 non-citizens.                                             23 before; it was Exhibit 10. I just want to return to it
24           And this is potentially an, an issue with       24 for a moment.
25 that sample.                                              25      A All right.

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 1        Q It starts with the title: "Is it                    1   report was the -- we have their paper coming, I see --
 2   plausible that non-citizen votes" --                       2   was the issue of the degree to which there's response
 3        A I'm working through this. It's --                   3   error on the IMMSTAT question.
 4        Q I think it's -- I think it was right                4             And using the three year -- three, three
 5   here.                                                      5   wave panel studied, we estimated the response error to
 6        A And is it --                                        6   be much, much higher among individuals who are most
 7        Q This one. This one.                                 7   likely non-citizens and much lower among individuals
 8        A Yup, here it is.                                    8   who appear to be citizens.
 9        Q Great.                                              9             That -- and so the caveat that I would
10             So I'd like to turn to page 3 of your           10   add is that that and a variety of other evidence which
11   blog post here.                                           11   is reviewed in that working paper lead me to think that
12        A Okay.                                              12   the actual rate of response bias on the IMMSTAT
13        Q And the last sentence before item number           13   question derived from citizens erroneously indicating
14   3 here is: "The underlying study on which the             14   that they are non-citizens is substantially lower than
15   extrapolation is based has been the subject of some       15   was suggested by Ansolabehere and co-authors in that
16   cogent criticisms, and this leads me to believe that      16   paper.
17   the actual rate of non-citizen involvement is on the      17         Q I want to ask you about something you
18   low end of our initial estimates, rather than anywhere    18   wrote in your Electoral Studies article, which gets at
19   close to the high end."                                   19   this issue. This is back to be Exhibit Number 7. And
20             Did I read that right?                          20   you can use my copy of it if you want.
21        A Yes.                                               21         A Let me turn these over so it's easier to
22        Q And the "underlying study" that you are            22   see the Exhibit Numbers.
23   referring to here is the Electoral Studies article;       23             Okay.
24   correct?                                                  24         Q So here's your Electoral Studies article,
25        A Yes.                                               25   and on page 150, the second column on the right, the

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 1         Q And when you say that it -- that the               1   last paragraph, the first sentence, you write: "A
 2   Electoral Studies article "has been the subject of some    2   critical question for this project is whether
 3   cogent criticisms," what are you referring to?             3   respondents' self-identification as non-citizens was
 4         A I'm referring to, most specifically, the           4   accurate. If most or all of the 'non-citizens'" -- in
 5   Ansolabehere, Luks, and Schaffner paper, which raise --    5   quotes, non-citizens -- "who indicated that they voted
 6   makes an argument about the potential that                 6   were in fact citizens who accidentally misstated their
 7   non-citizens -- people who said they were non-citizens     7   citizenship status, then the data would have nothing to
 8   on the IMMSTAT question on the survey were actually        8   contribute concerning the frequency of non-citizen
 9   citizens who mistakenly provided that response.            9   voting."
10         Q And you believe -- and I know you have            10             Did I read that accurately?
11   some responses to it, and we'll talk about them, but      11        A Yes.
12   you believe that this criticism is cogent?                12        Q Okay. So I know you think that a lot of
13         A I think that this criticism was a, a --           13   these non-citizens in the CCES self-reported
14   that's what I said.                                       14   non-citizens are, in fact, non-citizens; right?
15         Q And does that same cogent criticism apply         15        A That's my opinion.
16   to your estimates of non-citizen registration based on    16        Q Okay. But let's say you were wrong about
17   the CCES Kansas respondents that you are performing in    17   that. Is it still your belief that, if, in fact, a
18   this case?                                                18   significant number of the survey respondents in the
19         A Well, let's -- I think we have to go a            19   CCES who indicated that they were non-citizens were
20   little bit deeper now into the nature of the criticism    20   actually citizens, that that would mean that the
21   and my assessment of it.                                  21   analysis that you performed based on the CCES would, in
22              The criticism as stated initially, I           22   your words, quote, have nothing to contribute
23   think, was -- in their paper, overstated the, the         23   concerning the frequency of non-citizen voting?
24   issue. One of the elements of the response working        24       A I, I still believe that if most or all
25   paper that I included as an attachment in my -- with my   25   non-citizens -- self-reported non-citizens were at --

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 1 who voted were, in fact, citizens, that the analysis       1   conclusions somewhere here. They say the likely
 2 would not have much to contribute.                         2   percent of non-citizen voters in recent U.S. elections
 3           I, I believe that one of the innovations         3   is zero.
 4 that Ansolabehere, Here (sic) and Schaffner had --         4        Q So, you know, we can talk about the
 5 there was actually a Monkey Cage blog post responding      5   margins of error and everything, but I just want to
 6 to our piece that had it first by somebody else.           6   talk about, for now, the measurement error issue. All
 7           The innovation of looking at the panel           7   right?
 8 data study was a very useful one because by looking at     8        A Okay.
 9 the panel data study, even if there's a response           9        Q And is it your understanding that
10 rate -- response error rate that's problematic for the    10   Professor Ansolabehere, who designed the CCES, is of
11 cross-sectional studies, one can still get to a pretty    11   the view that almost all of the evidence of non-citizen
12 reliable sense of whether individuals are non-citizens    12   voting in the CCES is a result of measurement error,
13 based on multiple requests that they respond to the       13   meaning people who identify as non-citizens on the CCES
14 same question.                                            14   clicking the wrong box on this internet survey, because
15      Q Okay. I'm going to show you what's been            15   they are, in fact, citizens?
16 marked as Richman Exhibit 19.                             16       A That seems to be his opinion.
17      A Thank you.                                         17       Q Okay.
18           ("The perils of cherry picking low              18       A I can't speak to his opinion with more
19           frequency events in large sample                19   preciseness than what I can derive from some of the
20           surveys," by Stephen Ansolabehere,              20   things he's written.
21           Samantha Luks, Brian Schaffner, marked as       21       Q And that's the opinion expressed in his
22           Richman Exhibit Number 19)                      22   peer-reviewed article in Electoral Studies responding
23 BY MR. HO:                                                23   to your Electoral Studies?
24      Q Are you familiar with this article?                24       A I just read you the quote from the piece,
25      A Yes. I believe I cited it in one of the            25   which seems to give that impression.

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 1 attachments, at least, to my report.                       1      Q Okay. I'm going to hand you what I'm
 2      Q Now, this was an article that was                   2 marking as Richman Exhibit 20.
 3 co-authored by Professor Ansolabehere; correct?            3           (Expert Report of Dr. Stephen
 4      A Yes.                                                4           Ansolabehere, 3/15/17, marked as Richman
 5      Q And this is the article that you describe           5           Exhibit Number 20)
 6 as having some cogent criticisms of your research?         6           THE WITNESS: Thank you.
 7      A It has some cogent criticisms, with                 7 BY MR. HO:
 8 substantial flaws as well.                                 8      Q Do you recognize this?
 9      Q Now, is it fair to say, based on your               9      A Yeah, this is Professor Ansolabehere's
10 reading of this article, that Professor Ansolabehere's    10 expert report, dated March 15th, 2017.
11 view is that nearly all of the self-identified            11      Q Okay. Let's turn to page 15 in his
12 non-citizens in the CCES who said that they voted were,   12 report.
13 in fact, citizens who clicked the wrong box on this       13           You've reviewed this report; right?
14 survey?                                                   14      A Yes.
15      A That's the general impression I get,               15      Q Okay. Page 15, paragraph 31.
16 though I, I've been somewhat confused by some of the      16 Professor Ansolabehere writes: "A third problem with
17 other decisions Professor Ansolabehere made.              17 Professor Richman's analysis of the CCES is that he
18           So, for example, in calculating these           18 takes no account of known measurement error in the
19 confidence intervals, he assumed that 50 percent of the   19 survey question on citizenship status.
20 non -- of non-citizens were registered to vote. But       20           "Professor Richman uses question V263
21 most of his statements have seemed to be along the        21 from the 2008 CCES to determine who indicates that they
22 lines that non-citizen voting at least -- and that's      22 are non-citizens.
23 the focus of this paper, it says nothing about            23           "The question asks respondents: 'Which
24 registration -- non-citizen voting is a very low          24 of these statements best describes you? One, I am an
25 frequency phenomenon and there -- they draw some          25 immigrant to the USA and a naturalized citizen; two, I


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 1   am an immigrant to the USA but not a citizen; three, I     1   consistent with much higher levels of mistakes on this
 2   was born in the USA but at least one of my parents is      2   question being made by individuals who are
 3   an immigrant; four, my parents and I were born in the      3   non-citizens.
 4   USA but at least one of my grandparents was an             4             So my -- my assessment would be that many
 5   immigrant; five, my parents, grandparents, and I were      5   of these 20 individuals are people who were
 6   all born in the USA.' Eight skipped."                      6   non-citizens in 2010, but asserted that they were
 7             Did I read that correctly?                       7   citizens.
 8         A Yes.                                               8         Q Looking at your sample of 14 CCES
 9         Q This is the citizenship question on the            9   respondents from Kansas who indicated that they were
10   CCES; correct?                                            10   non-citizens, did you do anything in order to try to
11         A Correct.                                          11   determine whether or not they were in fact
12         Q And this is the question that                     12   non-citizens?
13   Professor Ansolabehere believes some actual citizens      13         A No, I did not. The -- this is an
14   answered incorrectly by clicking the wrong box and        14   analysis of the -- of data from the cross-sectional
15   mistakenly indicating that they are non-citizens;         15   studies. I probably should have, but I don't think I
16   right?                                                    16   did look at the paneled study. It's a much smaller
17         A That appears to his -- be his belief, and         17   sample size than these, but it could have been
18   I -- unfortunate -- it's unfortunate that, although he    18   potentially useful in this -- in this analysis.
19   appears to hold this belief, he did not include the       19             Overall, one of my purposes for including
20   questions I suggested when I spoke with Ansolabehere      20   this discussion of the Kansas CCES data was in terms of
21   and Schaffner at a conference in early 2016 and then      21   assessing whether it looked like the Kansas CCES data
22   sent a follow-up email, to which Bryan Schaffner          22   was dramatically different from CCES data from other
23   replied, we'll try to get this on the 2016 common         23   parts of the country.
24   content.                                                  24         Q So you didn't check to see whether or not
25             They did not include any questions to           25   the Kansas CCES respondents gave consistent answers as

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 1   provide further evidence concerning the degree to which    1 to citizenship from year to year --
 2   this question is being answered correctly.                 2      A These individuals were not asked --
 3        Q Let's talk about the next page in                   3           THE COURT REPORTER: I'm sorry, what was
 4   Professor Ansolabehere's report, page 16. And I'm          4 the end of the question?
 5   looking at paragraph 33, subparagraph C.                   5           -- "from year to year" --
 6            Professor Ansolabehere writes: There              6 BY MR. HO:
 7   were two -- "There were 20 respondents who stated that     7      Q -- did not give consistent answers as to
 8   they were citizens in 2010 but" not citizens --            8 citizenship from year to year in the CCES?
 9   "non-citizens in 2012. That is impossible."                9      A My impression is that none of these
10            Did I read that correctly?                       10 individuals were asked to respond to the CCES in more
11       A That is a what he said.                             11 than one year.
12       Q And is your understanding here that                 12      Q And you didn't do anything to confirm
13   Professor Ansolabehere is saying, if you look at a        13 their citizenship status, other than to take their
14   panel of CCES respondents, there are 20 people who say    14 citizenship answers at face value; correct?
15   they are citizens in 2010 and then two years later say    15      A That's right.
16   they are not citizens; right?                             16           And, so, as I said -- you asked me
17        A Right.                                             17 earlier why didn't I include this, this particular
18        Q And Professor Ansolabehere says that's             18 analysis in the conclusion; I think one -- upon further
19   impossible, that's got to be a mistake; right?            19 reflection, I think it's coming back to me, one of the
20        A I would agree. And the question is what            20 reasons I did not include this is my main purpose in
21   kind of mistake is it.                                    21 including the Kansas CCES data was specifically to
22            The working paper that I included as an          22 evaluate the -- whether the broad patterns in the CCES
23   attachment with my initial report looks at the subset     23 nationally seemed to appear as well in the Kansas CCES.
24   of individuals who responded to both the 2010, 2012 and   24           So this gets to one of the issues you
25   2014 panel study, and the pattern we observe is           25 raised earlier, quoting from the 2014 article, I think


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 1 it was, or maybe it was one of my blog posts, about not    1        A Well, more or less. You know, the TDL we
 2 having specific state-level information. This was --       2   did our best effort to validate. I think probably the
 3 was Kansas unusual? If anything, Kansas is unusual on      3   Sedgwick County has the lowest possibility of an error
 4 the high end in this survey data set. 28 percent is        4   in terms of assessing citizenship status.
 5 higher than the, the nationwide estimate, but, of          5        Q With both the Sedgwick County information
 6 course, there's so much uncertainty in this                6   and the TDL survey, you have an independent basis for
 7 28.6 percent estimate, given it's such a small sample      7   believing that these people are non-citizens beyond a
 8 that it's difficult to know for certain that it's          8   self-report; correct?
 9 higher.                                                    9        A Yes, that's correct.
10            I don't think the difference would be          10        Q And I was asking you about whether or not
11 statistically significant at .05 level, but it seems      11   with the CCES-based estimate, you had any basis beyond
12 like, if anything, it's on the high end, and certainly    12   a self-report --
13 not significantly different on the low end.               13        A No.
14      Q So I want to just see if I understand              14        Q -- for thinking these people are
15 what you said about why you didn't include your           15   non-citizens, and the answer is no; right?
16 estimate based on the CCES in your conclusion.            16        A That's correct.
17            You're saying that you used the Kansas         17        Q And that's the question that I think from
18 CCES respondents to see if they were consistent with      18   which you pivoted to explaining why the CCES-based
19 the national CCES estimates; is that right?               19   estimate for Kansas non-citizen registration is not
20      A That was one of my purposes.                       20   included in your conclusion; right?
21      Q But you didn't include it in the                   21        A That jogged my memory about one of the
22 conclusion where you discussed --                         22   considerations, which was that this estimate was
23      A Kansas -- the other Kansas-specific                23   included, as I said, partly in terms of comparing with
24 estimates.                                                24   the nationwide rates. And at the nationwide level with
25            And I think one of the reasons may have        25   the CCES, I have some discussion in the reports and

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 1 been that I'm not certain that was the only reason; it     1   more in the attached documents, about, for example --
 2 could have also been something else that I -- that -- I    2   building off of the analysis that Ansolabehere and
 3 think that I was -- one of the reasons was that I was      3   Schaffner did -- there's some individuals who twice
 4 conceiving of this partly, the analysis of the CCES, as    4   said they were non-citizens and said they were
 5 partly about looking at the issue of whether national      5   registered to vote and had a validated registration
 6 CCES patterns seemed to apply in the state of Kansas.      6   status.
 7           And my impression is this, this data set         7             So the national -- now, that provides
 8 does -- from Kansas, the Kansas CCES non-citizens          8   fairly reliable evidence at the -- on the basis of that
 9 registration rates, are, if anything, on the high end      9   panel data of a level of non-citizen registration.
10 of the national pattern.                                  10        Q Now, is it accurate to say that one of
11      Q Well, our conversation up until this               11   the reasons why you included the estimate based on the
12 point, the way that we got here was we were talking       12   TDL survey and the Sedgwick-County-based estimate in
13 about validation of citizenship status; right?            13   the conclusions but did not include the CCES-based
14      A Yup.                                               14   estimate in your conclusion, is that with respect to
15      Q And I noted earlier that you had                   15   the former two, you had an independent basis beyond a
16 validated the citizenship or non-citizenship status of    16   self-report for believing that your respondents were
17 your TDL respondents; right?                              17   non-citizens or, as in the case of the CCES, all you
18      A Right.                                             18   had was a self-report?
19      Q And for your Sedgwick County information,          19        A No, I don't think that's accurate,
20 you know that your Sedgwick County sample consists of     20   because I believe I did mention the
21 non-citizens because these are people who were            21   incidentally-contacted non-citizens group in that
22 naturalizing; right?                                      22   conclusion, and that's a group for which I did not have
23      A Right.                                             23   a capacity to engage in -- in that type of validation.
24      Q So with those two samples, you know                24        Q Okay. I'm going to show you what I've
25 you're dealing with non-citizens; right?                  25   marked as Richman Exhibit 21.

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 1            (Letter from professional political               1 accepted for publication in a peer-reviewed journal;
 2            scientists, 3 pages, marked as Richman            2 correct?
 3            Exhibit Number 21)                                3      A It has not been accepted for publication
 4 BY MR. HO:                                                   4 at this point.
 5      Q Have you seen this document before?                   5      Q Okay.
 6      A I don't know if I've seen this particular             6           I'm going to hand a copy of it to you;
 7 version, but I think I have. I wrote a -- one of the         7 we've marked it as --
 8 earlier exhibits is my response to it.                       8      A Okay.
 9      Q This is an open letter criticizing your               9      Q -- Richman Exhibit 22.
10 Electoral Studies article; correct?                         10           ("A Valid Analysis of a Small Subsample:
11      A Yeah.                                                11           The Case of Non-Citizen Registration and
12      Q And it's signed by about two hundred of              12           Voting," by Richman, Earnest, Chattha,
13 your fellow political scientists; does that sound about     13           marked as Richman Exhibit Number 22)
14 right?                                                      14 BY MR. HO:
15      A I don't know the exact count.                        15      Q This is your response to
16      Q This open letter makes essentially the               16 Professor Ansolabehere; correct?
17 same points as the Ansolabehere article about               17      A Yes.
18 measurement error and whether or not the non-citizen        18      Q And could you turn to page 3.
19 respondents in the CCES who say they voted are, in          19           In the third paragraph, you write: "This
20 fact, citizens who just clicked the wrong box on this       20 response to Ansolabehere, Luks," L-U-K-S, "and
21 internet survey; right?                                     21 Schaffner's critique of Richman, et al., 2014 has three
22      A It makes the -- it makes a very similar              22 sections. After we point out that their tests was
23 argument. That seems to be the primary basis for this,      23 badly underpowered, the second section presents
24 this piece. It cites the article from Electoral             24 evidence that the citizen status variable in the CCES
25 Studies and focuses in at least two of the paragraphs       25 is more accurate than Ansolabehere, et al., 2015 claim


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 1   on that, on that basis.                                    1 it is, with much of the error accounted for by
 2        Q In your experience as a political                   2 intentional or unintentional errors made by
 3   scientist, can you think of another example of a group     3 non-citizens who claim to be citizens."
 4   of several hundred political scientists writing an open    4           Did I read that correctly?
 5   letter, criticizing another political scientist's work?    5       A Yes.
 6        A I, I've seen some discussions. I can't              6       Q I want to focus on the first of your
 7   remember exactly what the -- what the book was, but I,     7 criticisms here -- or responses, rather, and that's
 8   I read some reviews of it last fall or early -- maybe      8 that you believe their test was badly underpowered.
 9   during the winter, talking about the way that this kind    9           Now, their analysis was based on a panel
10   of tactic of an open letter is fairly often used in       10 of 85 repeat CCES survey respondents; correct?
11   various areas of academia to try to shut out dissenting   11       A Correct.
12   views. So when I saw this letter, I wasn't                12       Q And your view is that an analysis based
13   particularly surprised.                                   13 on a sample of 85 survey respondents is badly
14        Q But have you seen another -- can you               14 underpowered; correct?
15   think of another specific example of an open letter by    15       A In this con -- in the context of the
16   hundreds of political scientists criticizing the          16 argument they are trying to make from it, yes.
17   political science research of a colleague?                17       Q Now, do you believe the question on the
18        A I can't think of any particular ones,              18 CCES internet survey about citizenship produces
19   but, as I mentioned, with the book, I indicated that      19 accurate information as to the respondents' citizenship
20   this is -- this is a phenomena that happens with some     20 status?
21   regularity in various parts of academia.                  21       A I just articulated, in what you just
22        Q Now, you say you responded to the                  22 read, I didn't make that statement and I don't believe
23   Ansolabehere criticism in a working paper; correct?       23 that.
24        A That's right.                                      24           What I believe is that there is
25        Q And that working paper has not been                25 substantial variability in the degree to which it is


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 1 answered accurately, and it is answered much less          1           So, if one focuses on individuals who --
 2 accurately by non-citizens than by citizens.               2 for whom we have evidence that they said they voted and
 3      Q You did not use the same wording that the           3 they also have validated voter status, with that most
 4 CCES uses for citizenship in your survey; correct?         4 conservative estimate, yes.
 5      A That's correct.                                     5           For the -- for estimates based on other
 6            I used -- as Professor Ansolabehere             6 combinations of responses, that isn't the case.
 7 articulated in his deposition, one of the reasons why      7      Q Assuming that Professor Ansolabehere is
 8 they have all of the different categories on that          8 correct about measurement error as to citizenship
 9 survey involved testing various sociological theories      9 status in the CCES, you'd agree that that would
10 about how time of arrival in the United States might      10 significantly reduce your estimate about non-citizen
11 affect engagement of various kinds with the political     11 registration; correct?
12 process.                                                  12      A If he's correct, that would substantially
13            That wasn't my purpose.                        13 reduce the size of those estimates.
14            And, so, I included two questions, which,      14      Q I want to ask you a little bit about your
15 the first one was simply asking whether an individual     15 Sedgwick-County-based estimate.
16 was a citizen; the second was following up with an        16           THE WITNESS: Before we go there, could
17 open-ended response about what country or countries       17 we take just a couple-minute break?
18 individuals were citizens of.                             18           MR. HO: Sure.
19            That was aimed at addressing, in a way         19           THE WITNESS: It sounds like we're at a,
20 that I attempted, unsuccessfully it would appear, and     20 a sort of --
21 Ansolabehere claimed that nobody in the research          21           MR. HO: That's fine.
22 community asked him to do it, which simply isn't true,    22           THE WITNESS: -- shift point in terms of
23 because I did, attempted to get the CCES to include       23 the focus.
24 some follow-up questions to increase the capacity to      24           THE VIDEOGRAPHER: Going off the record
25 evaluate the reliability of responses to the question.    25 at 4:07 p.m.


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 1       Q Would it be an accurate characterization           1            (Recess)
 2   of your views to say that, even if                       2            THE VIDEOGRAPHER: Back on the record at
 3   Professor Ansolabehere is correct about measurement      3 4:17 p.m.
 4   error, that that might explain the CCES respondents who 4 BY MR. HO:
 5   said they were non-citizens and voted, but it can't      5      Q I'd like to talk about your
 6   explain all of the CCES respondents who said that they 6 Sedgwick-County-based estimate, Professor Richman.
 7   are non-citizens and they are registered to vote?        7      A Okay.
 8        A That -- one of the elements in this               8      Q Let's look at your initial report,
 9   argument involves looking at higher frequency levels of 9 Exhibit 1, and turn to page 5.
10   engagement with the political process.                  10      A Okay.
11              The -- and so even -- one of the things      11      Q Now, as described in your initial report,
12   we demonstrate there is even if one assumes that they 12 your estimate of non-citizen registration or attempted
13   are right, I don't think they are, but if we assume     13 registration based on information from Sedgwick County
14   that they are right about the rate of error -- response 14 is that 1,153 non-citizens in Kansas may have
15   error by citizens on the survey, that rate of error is  15 registered or attempted to register to vote; correct?
16   insufficient to account for the observed level of       16      A I'm sorry, I'm -- yup.
17   responses on the registration question.                 17            MR. ROE: Page number, Dale.
18        Q But you agree that if they are right             18            MR. HO: 5.
19   about measurement error in the CCES with respect to 19 BY MR. HO:
20   citizenship status, that that would fully account for 20        Q If I could ask you to use the calculator
21   your findings about non-citizen voting based on the 21 again.
22   CCES; correct?                                          22            Your Sedgwick-County-based estimate of
23        A No.                                              23 1,153 non-citizens registered or attempted to register
24              It only would, I think, if one takes the     24 to vote would amount to about what percentage of the
25   most restrictive measure of voting.                     25 1.8 million registered voters in Kansas?


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 1       A Okay, so -- that would be roughly                  1    I did --
 2   .064 percent.                                            2         Q You could have gotten from the census
 3       Q Now, did you do anything in terms of               3    information on the race and ethnicity of non-citizens
 4   weighting to try to ensure that your estimate based on   4    in Sedgwick County and maybe the other counties where
 5   Sedgwick County information accounted for any lack of    5    people go to Sedgwick County for naturalization
 6   representativeness of the Sedgwick County sample as 6         ceremonies; right?
 7   compared to the non-citizen population in Kansas as a    7        A I don't think that that information would
 8   whole?                                                   8    have been sufficient to construct weights.
 9        A I did not.                                        9        Q But you could have gotten information
10             Unfortunately, all -- the only                10    about the non-citizen population in Sedgwick County
11   information I had was some information about the        11    about race and ethnicity from the census; right?
12   individuals who were identified by Sedgwick County as 12          A I could have gotten information about the
13   non-citizens who had previously registered.             13    Sedgwick County race and ethnicity, but in the absence
14             In order to do a weighting analysis, I        14    of information about specific ways that any distinctive
15   would have needed information on all of the individuals 15    aspects of Sedgwick County were associated with voter
16   on the other side of this as well, the 791 others, for 16     registration, it -- that information would not have
17   instance, who had -- who had also registered at the 17        allowed me to construct the kinds of weights that it
18   naturalization -- the whole set who registered at the 18      sounds like you're suggesting would have been useful.
19   nationalization ceremony, including both those who had 19          Q Well, I'm just asking if you did anything
20   prior records and those who didn't. I did not have      20    to compare demographic information of non-citizens --
21   that information available to me.                       21         A I did do some --
22        Q So the sample from Sedgwick County, these 22                Q -- in Sedgwick County to the non-citizen
23   slightly fewer than 800 people, are all people who      23    population of Kansas as a whole?
24   submitted voter registration forms; correct?            24         A I believe I offered some discussion of
25        A My impression is they were all                   25    that in my response to the Minnitte report.

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 1 individuals who submitted voter registration forms at       1       Q     But you did not try to incorporate any
 2 the naturalization ceremony.                                2   demographic breakdown information of the non-citizen
 3      Q Did you ask election officials in                    3   population in Sedgwick County when extrapolating from
 4 Sedgwick County or the Kansas Secretary of State for        4   your Sedgwick County data to the non-citizen population
 5 demographic information about this pool of individuals      5   of Kansas as a whole; correct?
 6 who submitted voter registration forms at                   6       A I -- in that extrapolation, I did not.
 7 naturalization ceremonies in Sedgwick County?               7       Q If we look at your rebuttal report,
 8      A I did not.                                           8   Exhibit 12.
 9      Q You didn't ask for the dates of birth of             9       A Okay.
10 these individuals so you could calculate their ages?       10       Q I'd like to turn to page --
11      A I did not.                                          11       A Wait, is this Exhibit 12 or -- okay,
12      Q And you didn't ask for their genders;               12   yeah. Where is it? It's in here somewhere.
13 right?                                                     13       Q No, I think you have it.
14      A I did not.                                          14       A Do I have it here? Oh.
15      Q And, so, you did nothing to weight your             15       Q It's underneath this.
16 pool of people from Sedgwick County by age or gender to    16       A Oh, it's under there. There it is.
17 try to make sure that they were, at least on those two     17   Thank you.
18 variables, representative of non-citizens as a whole in    18       Q Um-hum.
19 Kansas; correct?                                           19       A It's been a long day. Okay.
20      A That's correct.                                     20       Q Could you turn to page 23, please.
21      Q Did you do anything to try to weight or             21       A Sure.
22 account for differences in race and ethnicity, say, in     22       Q Paragraph 58.
23 Sedgwick County or the surrounding counties, as            23            In this paragraph, you present a revised
24 compared to the state as a whole?                          24   estimate based on the Sedgwick County information as to
25      A I did not do any weighting on that basis.           25   the percentage of non-citizens who have registered or


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 1   attempted to register to vote in Kansas; correct?          1   here continues. And when you extrapolate this Sedgwick
 2        A I would not characterize it that way. I             2   County sample to the non-citizen population in Kansas,
 3   would say I present an additional analysis. This is of     3   you get an estimate of 1,067 non-citizens in Kansas who
 4   a different group of non-citizens from the Sedgwick        4   are registered or who have attempted to register to
 5   County database. The previous estimate was based           5   vote; correct?
 6   primarily on 2016 data; this analysis is based on 2015     6        A That's correct.
 7   and 2014 data.                                             7        Q And this estimate is now based on 2014
 8        Q And you describe this in the first                  8   and 2015 naturalization data; correct?
 9   sentence in paragraph 58 as a "more valid estimate";       9        A This is based on 2014/2015 naturalization
10   correct?                                                  10   data and Sedgwick County counts of individuals who, at
11        A I did.                                             11   the naturalization ceremony, registered to vote.
12        Q So, is it your view that this estimate             12        Q And that's the difference between this
13   here in your rebuttal, based on some Sedgwick County      13   estimate and the one in your initial report. This one
14   data, is a more valid estimate than the                   14   is based on 2014 and 2015 in Sedgwick County. The one
15   Sedgwick-County-based estimate in your initial report?    15   in your initial report is based primarily on 2016 in
16        A I'm surprised I used that language,                16   Sedgwick County. Correct?
17   frankly.                                                  17        A That, that's the primary difference.
18             It's more -- I think the way I was              18        Q Okay.
19   thinking about this is, this is more valid in this        19        A In addition to a different baseline, in
20   context, the context of the previous paragraph. In the    20   terms of dividing by, you know, the total
21   previous paragraph, I was discussing an estimate that     21   naturalizations as opposed to total individuals who
22   included 2013 data, but I noted that Sedgwick County      22   registered.
23   had begun to attend naturalization ceremonies partway     23        Q All right. So let's take a look at your
24   through 2013.                                             24   estimate based on the 2014 and 2015 naturalization
25             And so when I, when I said -- used the          25   information in Sedgwick County of 1,067 non-citizens in

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 1   language a "more valid estimate," I was specifically       1   Kansas who have registered or attempted to register to
 2   referring to that previous estimate which was offered      2   vote.
 3   in paragraph 57.                                           3             That total, 1,067 is equivalent to what
 4        Q I see.                                              4   percentage of the approximately 1.8 million registered
 5            Are you not saying that this estimate is          5   voters in Kansas?
 6   more valid than your Sedgwick-County-based estimate in     6         A That is equal to approximately
 7   your initial report?                                       7   .059 percent.
 8        A I am not making that assertion. Both                8         Q Let's turn to page 31 of this report;
 9   estimates have, have different limitations. This one       9   and, in particular, paragraph 76.
10   is more conservative, but I'm not sure that makes it      10             And in this paragraph, and in other parts
11   more valid. In fact, that might make it less valid.       11   of your reports, you describe information that was
12   This one is conservative in the sense that the, the       12   provided to you by the Kansas Department of Vehicles,
13   basis now for the estimate is all naturalizations in      13   or DOV; correct?
14   the Wichita CSA, as opposed to the denominator in the     14         A That's my impression of what the acronym
15   other analysis, which was individuals who naturalized     15   is; I'm not absolutely certain.
16   in Sedgwick County ceremonies and completed a voter       16         Q Now, the information that the DOV
17   registration form.                                        17   provided you was about driver's license applicants who
18        Q So this is just an alternate estimate              18   had submitted a non-citizen permanent residency
19   based on Sedgwick County information, not necessarily a   19   document at the DMV at some point; correct?
20   more valid one than the one you present in your initial   20         A Yes, that was the initial table; and then
21   report?                                                   21   it was broken down, as we'll probably discuss in a
22       A It is another estimate.                             22   moment, in terms of individuals who provided that
23       Q Okay. So let's talk about this other                23   document in close proximity to their voter
24   estimate.                                                 24   registration.
25            On the following page, the table you have        25         Q So the Kansas DM -- DOV took a list of

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 1   people who had provided non-citizenship document, legal  1          Q So it was something that you didn't
 2   permanent residency document, at the DMV and matched it  2     request but was simply provided to you?
 3   up with the suspense list, people who tried to register 3           A Yes.
 4   to vote but were not registered for failure to provide 4            Q Do you know who performed the match
 5   documentary proof of citizenship; right?                 5     between the driver's license records and the voter
 6        A That's my impression of what they did.            6     registration records?
 7             I think this is probably used in the           7          A I believe I included in -- I don't
 8   state of Kansas in part to identify individuals who can 8      remember the name, but it's under the materials I
 9   be removed from the suspense list on the basis of        9     provided, because I included the, the email which I
10   having provided that evidence, but I don't know         10     received which had these revised tables, and I believe
11   specific procedures.                                    11     that came from the individual who did that match.
12        Q Do you think that everyone who appears in 12                 Q An individual at the Kansas Department of
13   the Kansas DOV database as having presented a           13     Vehicles; correct?
14   non-citizen permanent residency document, and who also 14           A I think that -- I think that department
15   appears on the suspense list of people who have tried 15       is part of a broader unit; the Department of Revenue.
16   to register to vote, do you think everyone who appears 16           Q And do you know what criteria that person
17   on both of those lists is a non-citizen who has tried 17       used for matching the driver's license database to the
18   to register to vote?                                    18     voter registration records?
19        A No, because, as was noted in my report,          19          A I do not know what criteria were used. I
20   individuals will not necessarily update their DOV file 20      was not provided a description of the specific matching
21   after naturalizing. And, so, in some instances,         21     approach that was taken.
22   individuals who provided to DOV proof of permanent 22               Q As a peer-reviewer, would you accept an
23   residency status, for instance, may have subsequently 23       article from an author who relied on a database match
24   naturalized.                                            24     performed by a state official but who had no knowledge
25        Q To your knowledge, is there anything that 25            of the criteria that was used for that database match?

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 1   prevents the state of Kansas from performing this kind     1        A In general, I would consider state
 2   of analysis comparing people who have prevent --           2   officials to be relatively credible sources of
 3   presented non-citizenship documents to the DMV to the      3   information. So, depending upon the specific
 4   list of voters in the state on an ongoing basis?           4   context --
 5         A I don't know anything about issues in              5        Q Do you know anything about the
 6   terms of cooperation between different agencies in         6   reliability of the match process that was used by the
 7   Kansas.                                                    7   person from the Kansas DOV to compare the driver's
 8             As a practical, empirical matter, it             8   license records to the voter registration file?
 9   would seem like it's something that could physically be    9        A I do not, but my impression is that this
10   done on a regular basis.                                  10   kind of matching is something that is performed with at
11         Q Did you ask that this analysis be                 11   least some regularity. And, so, presumably, this is --
12   performed?                                                12   this is a process which has been developed in a
13         A The original analysis in my initial               13   professional way, but I do not know the details of how
14   report was not one I asked for. This was one that was     14   the matching is performed.
15   provided to me.                                           15             I received this document with the matches
16             In my rebuttal report, I asked for some         16   roughly five hours -- no, roughly seven hours before
17   additional analyses. I discussed in the report how I      17   the midnight deadline for my report, so I did what I
18   did not receive a response that was really addressing     18   could with the information I received. Had I had more
19   what I wanted, but I did receive a, a spreadsheet which   19   time, I might well have wanted to do some additional
20   I attached as one of the attachments for my rebuttal      20   follow-ups, but I did the best I could with the
21   report, which did allow me to accomplish some of the      21   information I had.
22   tasks that I had asked the state DOV to perform.          22        Q Since you received the information, have
23         Q Do you know who requested that this               23   you done anything to assess the accuracy of the
24   analysis be performed in the first instance?              24   matching process conducted by the Kansas DOV between
25         A I do not.                                         25   the driver's license database and the voter

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 1   registration file?                                       1   registered to vote and then, either on the same day or
 2        A I have not yet done that.                         2   subsequent to that date, provided a non-citizen legal
 3        Q Okay. Page 31 of your report, paragraph           3   permanent residence document to the DMV. You wanted to
 4   76, which I was asking you about, your rebuttal report.  4   focus on that pool of people; correct?
 5             "Like Dr. Minnitte, I was unsatisfied          5        A I wanted to see what the analysis looked
 6   with this analysis and asked the Kansas Secretary of     6   like with that pool of people.
 7   State office to inquire whether the Kansas DOV or DOR    7        Q And if we look at page 32, table 8, this
 8   would be willing to perform an additional analysis that 8    is the starting point. This is not everything; right?
 9   included identification of all individuals who provided 9              This is people who, at some point,
10   documentation of permanent residency status after they 10    provided a legal permanent residency document to the
11   registered to vote."                                    11   DMV and are on the suspense list; right?
12             Did I read that correctly?                    12        A That's right.
13        A Yes.                                             13        Q And there are 213 such individuals;
14        Q And you were unsatisfied with the initial        14   correct?
15   analysis performed by the DOV that matched the voter 15           A Not for these particular years. This was
16   registration files to the driver's license databases;   16   restricted to these years. I'm not certain why it was
17   correct?                                                17   restricted to those particular years. It might have
18        A My concern was that, although it -- I had        18   something to do with when -- my best, my best guess,
19   two concerns. One is that, as we discussed, the broad 19     assuming that there was a strong basis for this, is
20   indicator of, well, at some point documentation of      20   that these were years where people would likely have
21   permanent residency status was provided is too vague. 21     been registering for driver's licenses after Kansas
22   As we have discussed, people may naturalize; and, in 22      began requiring individuals to provide documentation
23   fact, it was mentioned in the initial report.           23   of, of citizenship or legal presence when they got
24             And the second, the more restrictive          24   driver's licenses.
25   analysis, was focused on within 45 days, plus or minus; 25             But I don't know Kansas law and practices

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 1   the documentation was provided within 45 days of         1 well enough to know if that's, in fact, the reason for
 2   registration.                                            2 this particular selection.
 3             One of the things I was interested in is       3           If you look at all of the individuals who
 4   the degree to which, you know, even going out beyond a 4 I was able to, to match and analyze, there's a larger
 5   45-day window, on the side of providing the              5 number who fall into this category.
 6   documentation after voter registration, that would seem  6      Q Okay. So let's turn to page 34 of your
 7   to be relatively strong evidence that somebody was       7 report. And I'm looking at subparagraph A, the first
 8   still relying on this document after they registered.    8 sentence.
 9   That would seem to indicate rather strongly that they 9              Of these 459 individuals, 12 registered
10   might well still be a non-citizen. If they had          10 to vote on the same day that they provided
11   naturalized, presumably they would have documentation 11 documentation of permanent residency, and another 15
12   of having recently naturalized. And my expectation 12 registered to vote prior to providing this
13   would be that that that would be more the appropriate 13 documentation.
14   documentation to provide in that context.               14           Did I read that right?
15              So I was interested in, in looking at it     15      A Yes.
16   on that side.                                           16      Q Okay, so let's break this down.
17              And, also, there's, you know, some chance 17              You have 459 individuals who both
18   that within this 45-day window, someone -- you know, 18 registered to vote and at some point provided a
19   there was a very tight passage to -- between driver's 19 permanent residency document to the DMV; correct?
20   license, naturalization and voter registration, so I    20      A That's right.
21   wanted to see only the people who naturalized -- who -- 21      Q And of those 459 individuals, 12 people
22   not -- who presented the documentation after            22 registered to vote on the same day that they provided a
23   registering to vote.                                    23 permanent residency document to the DMV; correct?
24         Q So, to be more satisfied with the               24      A That was what, what I was able to infer
25   analysis here, you wanted to look at people who         25 from the analysis I did.


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 1       Q And 15 of these individuals registered to         1     and limitations that individuals are -- that --
 2   vote, and then at some point subsequent to that,        2     involved with voter registration at DMVs are required
 3   provided a legal permanent residency document to the    3     to work under.
 4   DMV; correct?                                           4                There's recently been some discussion on
 5       A Yes.                                              5     Rick Hasen's blog about Nevada, and there's been
 6       Q So we have a total of 27 individuals who          6     controversy there. It appears that in Nevada, there
 7   applied to register to vote and then, either on the     7     was an order to -- that required DMV -- my impression,
 8   same day or subsequently, provided a non-citizen legal  8     from reading a couple of pieces that were put up there,
 9   permanent residency document to the DMV; correct?       9     may have required the DMV to provide voter registration
10       A That's correct.                                  10     forms in that context.
11       Q These 27 people applied to register to           11          Q Do you have any reason to believe that
12   vote; they did not successfully register to vote;      12     there's a policy in Kansas of providing voter
13   correct?                                               13     registration opportunities to people who self-identify
14       A Well, they were on the suspense list.            14     as non-citizens in the course of a driver's license
15   That's how -- that was the basis of this match. So,    15     transaction?
16   presumably, that mechanism prevented them from         16          A I would be very surprised if there was,
17   succeeding and registering to vote.                    17     but it's --
18       Q Is there any way to determine from your          18          Q In fact --
19   analysis how many of the 12 individuals who registered 19          A I don't know specifics of Kansas rules.
20   to vote on the same day that they provided a legal     20          Q Would it surprise you to learn that
21   permanent residency document to the DMV were offered a 21     there's, in fact, a policy of not offering voter
22   voter registration opportunity by a DMV worker after 22       registration when someone self-identifies as a
23   showing that same DMV worker that they were legally -- 23     non-citizen in Kansas?
24   they were legal permanent residents rather than        24          A That would not surprise me. That would
25   non-citizens?                                          25     seem to be the more sensible approach to, to the policy

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 1       A Potentially, there could be a way to do             1   situation, because non-citizens are not supposed to be
 2 that. I don't believe that the copy of the suspense         2   registering to vote. If you know they're not a
 3 file that was made available to me had the requisite        3   citizen, you should not register them to vote.
 4 codes, but someone who had the requisite codes -- I         4        Q Well, look, we agree on something.
 5 think there is a code in the, in the voter file for         5             If someone self-identifies as being a
 6 where people registered to vote. I think there's a          6   non-citizen in the course of a driver's license
 7 motor voter code, so presumably one could do that           7   transaction but the DMV worker subsequently offers that
 8 analysis and determine how many.                            8   person a voter registration opportunity, would you
 9       Q But you don't know from --                          9   agree that, in absence of a situation like the one
10       A I don't know.                                      10   you're describing in Nevada where there's a requirement
11       Q -- from your analysis how many of these            11   to give everyone non-citizen registration -- give
12 27 individuals applied to register to vote at a DMV;       12   everyone registration opportunities purportedly, would
13 correct?                                                   13   you agree that in a situation like that, that's a bad
14       A I don't know.                                      14   practice for the DMV?
15       Q And did your analysis take into account            15        A I would agree that's a bad practice.
16 or consider in any way the possibility that some of        16            Now, I don't know the specific ways in
17 these individuals may have self-identified as a legal      17   which they operate, so sometimes -- motor voter gets
18 permanent resident non-citizen while applying for a        18   implemented in various ways.
19 driver's license and then were subsequently, during the    19            It could be that there's simply a set of
20 same transaction, offered voter registration by a DMV      20   voter registration forms available to people to fill
21 worker?                                                    21   out, and so people fill out the voter registration form
22       A Again, I don't have evidence on that, so           22   and drop that off in a way that's not directly
23 I don't know. It's, it's possible.                         23   connected with a transaction involving the driver's
24            I -- my guess is that would -- and there        24   license. I don't know how that, how that operates.
25 are variations in terms of the kinds of consent decrees    25        Q Now, are you aware that Bryan Caskey, the

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 1   director of elections, has submitted a declaration        1         A That is correct.
 2   purporting to identify 125 non-citizens in Kansas who     2         Q So, of the people on the suspense list,
 3   have either registered or attempted to register to        3   fewer than 0.1 percent of them you believe are on the
 4   vote?                                                     4   TDL list; correct?
 5        A I haven't seen the declaration itself,             5         A I, I can't remember the exact fraction,
 6   but I've seen some of the discussions back and forth      6   but that seems roughly right.
 7   about it in some of the rebuttal reports.                 7         Q And you're aware that Bryan Caskey also
 8        Q Have you tried to determine whether or             8   performed -- or has discussed his own match of a TDL
 9   not any of these 27 individuals who registered to vote    9   list to the voter registration file more generally;
10   and then later supplied a non-citizen document at DMV,   10   right?
11   whether any of these 27 individuals are among the 125    11         A That's right.
12   individuals who Bryan Caskey has purported to identify   12         Q And he's found, I believe, 79 individuals
13   as non-citizens who have registered or attempted to      13   in the voter file who are also on the TDL?
14   register to vote in Kansas?                              14         A Yeah, it appears that Hersh identified a
15        A I have not done that. As I said, I don't          15   few additional individuals.
16   have Caskey's list.                                      16         Q Do you know whether or not the 16
17              The -- my sense is that that list was         17   individuals that you found on the suspense list and the
18   composed of matches with the TDL, of information from    18   TDL are included among the 79 individuals that Bryan
19   Sedgwick County, and a few other cases.                  19   Caskey found on the voter registration file and the
20              I don't believe these individuals are on      20   TDL?
21   that list, but I don't know for sure.                    21         A As I said before, I have not -- I do not
22        Q You haven't --                                    22   have a copy of Caskey's list, and so I do not know. I
23        A I haven't done any matchings.                     23   would presume that they, in most cases, would be.
24        Q You haven't looked at the list to see if          24             On the other hand, matching is -- on the
25   your 27 individuals are on his list; right?              25   margins, there are judgment calls. It could be that

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 1       A I don't have his list.                              1 there was somebody who didn't appear on one list and
 2       Q And you haven't given your list to him              2 did appear on the other list on the basis of some of
 3 and you don't -- correct?                                   3 those judgment calls.
 4       A I have not done that at this point.                 4       Q The suspense list is a subset of the full
 5       Q So we don't know one way or the other               5 voter registration file; correct?
 6 whether or not your 27 are included amongst his list of     6       A That's my impression.
 7 125; correct?                                               7       Q And your match is based on the suspense
 8       A That's right.                                       8 list; correct?
 9            Perhaps at some point I will be asked to         9       A Exactly.
10 provide the names of these 27 for comparison with that     10       Q So assuming both lists are general --
11 list, but I have not been asked to do that at this         11 generally accurate, you would expect that your matches,
12 point, and I have not provided that.                       12 from the suspense list to the TDL, would fall within
13       Q Now, you also performed a different                13 Bryan Caskey's matches from the broader voter
14 analysis, a match of the TDL list to the voter             14 registration file to the TDL; correct?
15 registration file; correct?                                15       A Exactly.
16       A That's right.                                      16       Q And we established earlier that you do
17       Q And --                                             17 not believe that everyone in the TDL was currently a
18       A Well, TDL to suspense file.                        18 non-citizen; correct?
19       Q Got it.                                            19       A That's right.
20       A Not voter registration. I did not do               20       Q You do, however, believe that everyone
21 that match. That was a match Caskey performed.             21 that you matched from the suspense list to the TDL is
22       Q Right.                                             22 currently a non-citizen; right?
23            And you found what you believe are 16           23       A So, what we did to follow up was to --
24 individuals who are both on the TDL list and among the     24 wait, did we do -- I don't think so.
25 almost 18,000 people on the suspense list; correct?        25           I'm not sure I have that basis.

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 1           We did have some individuals from the TDL        1   your survey of registered voters --
 2 had their status verified, but I don't think these         2        A Okay.
 3 individuals were. What we looked at was individuals        3        Q -- in your initial report.
 4 from the survey, not from this matching analysis.          4        A Um-hum.
 5      Q Well, if we look at your rebuttal report,           5        Q Now, you conducted a survey of registered
 6 page 17 --                                                 6   voters from four counties in your initial report;
 7      A Let me find that.                                   7   correct?
 8      Q Paragraph 39.                                       8        A That's right.
 9            In this paragraph, you're saying that           9        Q And you contacted a total of 576
10 everyone from the TDL survey who self-identified as a     10   registered voters at all -- in all; correct?
11 non-citizen, there were some sort of verification         11        A I think that's correct. Let me --
12 performed with ICE to determine that they were, in        12        Q Sure.
13 fact, at least as far as ICE knows, still currently       13        A Let me find the --
14 non-citizens; correct?                                    14        Q Take a look at page 11 in your initial
15      A So this is -- this paragraph is in the             15   report.
16 context of a discussion of Ansolabehere's analysis of     16        A Sorry, I've got to find the report in
17 the survey of the TDL list.                               17   these stacks.
18            For that group, we did engage in a             18             Okay.
19 matching; for the other group, we did not.                19        Q I think page 11 is what you're looking
20      Q So you checked to see if your TDL survey           20   for.
21 respondents, if ICE had any information about them        21        A Yeah, that's the primary place, but there
22 being non-citizens, but you didn't check to see whether   22   is also a table of number of respondents.
23 or not ICE had any information about the citizenship      23             Okay.
24 status of your TDL match list; correct?                   24        Q So you contacted total of 576 registered
25      A That's right. The TDL match analysis was           25   voters spanning four counties; correct?

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 1 a very minor piece of my overall analysis, and I did       1      A That's the total number contacted from
 2 not -- I included it in the report and -- for              2 the list of numbers to call. Not all of those
 3 completeness as much as anything else, in terms of this    3 individuals were the named individual that the survey
 4 is one thing I did.                                        4 company was looking for, and so some of those
 5           But I did not think to -- I, I think it          5 individuals ended up in the category of
 6 would have been a good idea -- I wish I had included       6 incidentally-contacted people who had -- were not part
 7 those names when, when I put together the list for ICE     7 of the, the registered voter file.
 8 to check. But I did not think to at that point.            8           My recall, which is somewhat fuzzy, is
 9 Because it was such a minor piece in my overall            9 about 530 or so who were in the -- who were on the
10 analysis, and Caskey was doing the more complete          10 registration list and we got the named person.
11 analysis there, I did not think to include those names    11      Q Okay. So of your survey of about 530
12 with the list that went to ICE.                           12 registered voters, a total of zero of those registered
13       Q So for your match between the suspense            13 voters indicated that they were non-citizens; correct?
14 list and the TDL list, you don't know one way or the      14      A That's correct.
15 other whether or not those individuals were               15      Q And using that sample, you would get an
16 non-citizens at the time that they applied to register    16 estimate that zero of the registered voters in Kansas
17 to vote; correct?                                         17 are non-citizens; correct?
18       A That's right.                                     18      A That would be the, the point estimate
19           I asked, subsequently asked the Secretary       19 there.
20 of State if it might be possible to get a second set of   20           There's a confidence interval around
21 names sent to ICE, but I don't think that I got a reply   21 that, because it's possible that with a sample of a bit
22 to that request.                                          22 over 500 registered voters, if the incidence of
23       Q I want to ask you a few questions -- I            23 registration is 1 percent, 2 percent, if you survey --
24 think we're in the home stretch.                          24 even if non-citizens and citizens are responding with
25           I want to ask you a few questions about         25 equal frequency from the file, which seems unlikely


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 1   given that mobility is higher among non-citizens and       1 citizens on the suspense list about their possession
 2   that's going to tend to lead to more failures to           2 and access to citizenship documents; correct?
 3   contact individuals at the numbers from the voter file,    3      A That's right.
 4   these were people who registered between like 2007 or      4      Q All right. So I'm looking at page 9 of
 5   2008 and 2012, so it's a group that's -- that              5 your report, initial report, Exhibit 1.
 6   registered prior to the implementation of the current      6      A Yes.
 7   Kansas law. So there's some time for that to fade.         7      Q And the first full paragraph, the third
 8             But if you assume equal response rates,          8 sentence, about four lines down, you write: "Among
 9   and so forth, you'd expect to find zero even in the        9 self-reported citizens on the suspense voter list,
10   context of 1 percent of non-citizens being registered     10 88.5 percent (89.7 percent unweighted) reported
11   at fairly high probability.                               11 possessing at their home, office, or other location at
12        Q So your point estimate for the percent of          12 least one of the three most common identifying
13   registered voters who are non-citizens is zero, and if    13 documents, a U.S. Passport, a U.S. birth certificate,
14   you calculate the margin of error for that estimate       14 or a U.S. naturalization document."
15   using the Score Wilson method, what confidence interval   15           Did I read that correctly?
16   do you get?                                               16      A Yes.
17       A So I believe that was in the, in the --             17      Q Now, as a political scientist, do you
18   in Exhibit 12.                                            18 think it's more appropriate to use your weighted
19       Q My recollection is that figure is not in            19 estimate or your unweighted estimate about the -- as to
20   Exhibit 12, but if you can -- you can correct me if I'm   20 the number or percentage of people on the suspense list
21   wrong.                                                    21 who have certain documents?
22            Did you calculate a margin of error using        22      A I think the weighted estimate is more
23   the Score Wilson method for your point estimate of zero   23 appropriate. I included both, partly to illustrate how
24   percent of the registered voters being non-citizens?      24 similar the weighted and unweighted estimates were
25       A I did, and as you just saw, I thought I             25 overall, so that one would not be left in the belief


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 1 had included that in the table, but apparently I             1 that somehow the weighting process was badly distorting
 2 somehow left it out.                                         2 the results in some way that perhaps would make the
 3      Q You know a lot more about margins of                  3 results more favorable for the -- for one side or
 4 error than I do, Professor Richman, but if you use the       4 another in this case.
 5 Wilson, the Score Wilson method for calculating margin       5       Q So if your -- let's focus on your
 6 of error for a point estimate of zero of the registered      6 weighted estimates, since I think those are -- you said
 7 voters who are non-citizens, don't you get a confidence      7 those are your preferred ones?
 8 interval of zero?                                            8       A Yes.
 9      A No.                                                   9       Q If your estimate is that 88.5 percent of
10      Q What confidence interval do you get?                 10 the suspense list lacks a passport, birth certificate,
11      A Well, I don't recall the precise                     11 or naturalization document, then the corollary is that
12 interval, but it includes more than zero.                   12 your estimate is that 11.5 percent of the suspense list
13      Q Did you include that calculation in your             13 does not possess a U.S. passport, U.S. birth
14 report? No; right?                                          14 certificate, or U.S. naturalization document; is that
15      A No, it was just discussed. I thought I               15 correct?
16 had, but I seem to have omitted it.                         16       A That would be the corollary; now, keep in
17      Q For your survey of registered voters --              17 mind this is Bissette. There was another group that
18 you know what? Never mind.                                  18 noted that someone else kept this for them.
19           Now, you say that -- you know what?               19       Q Right.
20 Let's skip that as well.                                    20       A So there's a few more there.
21           I want to ask about one more survey               21       Q So we'll talk about those people.
22 sample from your initial report, your survey of the         22           I want to -- I'll hand you one more
23 self-identified citizens on the suspense list.              23 exhibit. I lied when I said we were done.
24      A Okay.                                                24           MR. HO: Mark this as Richman 23.
25      Q Now, you asked the self-identified                   25           (Richman's Estimate of Document

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 1            Possession Based on Suspense List               1          Q So, is it accurate to say that your
 2            Survey (Weighted Estimates) marked as           2     survey results showed that 0.7 percent of the
 3            Richman Exhibit Number 23)                      3     respondents indicated that, although they lack birth
 4   BY MR. HO:                                               4     certificate, passport, or naturalization certificate,
 5        Q This is a demonstrative that we put               5     and although no one has those documents for them, these
 6   together that collects some information about your       6     people have one of the other documents that can be used
 7   survey here. I just want to make sure that we've done    7     to satisfy the documentary proof of citizenship
 8   this accurately. You can tell me if we have this         8     requirement for voter registration in Kansas or someone
 9   wrong.                                                   9     else has that document for them; right?
10            So, the first two rows we just discussed.      10          A That's correct.
11   Those two rows look accurate, right, Professor Richman? 11          Q Okay. So if we add that number, right,
12        A Yes.                                             12     we get 92 percent of the people -- of the citizens on
13        Q Okay. So the next sentence in this               13     the suspense list who either have one of the
14   paragraph reads, in your report, on page 9, reads:      14     citizenship documents or someone else has that document
15   "This number rises to 91.3 percent, 93 percent          15     for them, that's your estimate; right?
16   unweighted, if those who indicated that 'someone else 16             A Yes, I think that would be the estimate.
17   keeps this for you' are included."                      17           Q Okay. And the corollary to that estimate
18             Did I read that right?                        18     then is that 8 percent of the citizens on the suspense
19        A Um-hum.                                          19     list, you estimate, do not have a citizenship document
20        Q So what you're saying is, weighted, using 20            that can safe the proof of citizenship law in Kansas,
21   weighted numbers, if we take the people who say they 21        and no one else keeps such a document for them;
22   possess a birth certificate, passport, or               22     correct?
23   naturalization document, and we add the people who say 23            A Not quite correct, actually. I'm
24   that someone else has that document for them, then we 24       rethinking my response to the previous question.
25   get a total of 91.3 percent of the suspense list; is    25               The order of questions mattered in the

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 1   that right?                                                1   survey, because, in each case the subsequent question
 2         A This is focused exclusively on the                 2   was only asked of individuals who, who had not answered
 3   self-reported citizens on the suspense list.               3   that they had a -- one of the earlier methods of
 4         Q Okay. So if we look at our demonstrative           4   proving citizenship.
 5   here, Exhibit 23, the third line looks accurate to you;    5             So I'd like to double-check. I'm not
 6   correct?                                                   6   sure which exhibit number it was.
 7         A Yes.                                               7             Here, I think I found it.
 8         Q And the corollary to this estimate is              8        Q I think it's Exhibit 3, your survey.
 9   that you estimate that, of the citizens on the suspense    9        A Yeah, I got it.
10   list, 8.7 percent do not possess a U.S. birth             10             So if you look at the -- if you look at
11   certificate, U.S. passport, U.S. naturalization           11   the set of questions here, the -- question 10 came
12   certificate, and no one else keeps that document for      12   before the question about other documents. So some of
13   them; correct?                                            13   the people who responded in the affirmative to question
14         A That's correct.                                   14   2 may have had one of the other documents; they were
15         Q So the fourth line on this demonstrative          15   not asked if they had one of the other documents,
16   is correct; right?                                        16   because they had already noted a way of providing proof
17         A Yes.                                              17   of citizenship.
18         Q Now, if we just skip a line, we'll come           18        Q Okay, great. That's why we do this.
19   back to it -- I just want to skip a line in the first     19             So you do not have an estimate of the
20   paragraph on page 9 -- you write: "An additional          20   number of citizens on the suspense list who lack one of
21   0.7 percent indicated that they had at least one of the   21   the documents that can be used to satisfy the proof of
22   items from a long list of other types of                  22   citizenship requirement or have someone who holds such
23   documentation."                                           23   a document for them; correct?
24              Did I read that right?                         24       A What I have is an estimate of the last
25         A Yes.                                              25   number here, which is -- was the goal of the exercise,


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 1   which was an estimate of the number of self-reported       1   Kansas; correct?
 2   citizens on the suspense list who had access to one or     2         A The point I'm making is that the suspense
 3   another of the various ways of demonstrating their         3   list is a selected subset of the adult population in
 4   citizenship status.                                        4   Kansas, because the suspense list is specifically
 5             My impression was, when I designed this          5   selected on people who have not yet, to some point,
 6   survey, and this was based on conversations with           6   provided proof of citizenship. And, so, we would
 7   individuals in the Secretary of State's office, that       7   expect to have a much more concentrated rate of non-
 8   one of the mechanisms that they had in operation in        8   provision of that proof in the suspense list than we
 9   Kansas to identify people as citizens, involved a free     9   would observe in the overall population of people who
10   option to request a birth certificate for individuals     10   have registered to vote in Kansas over the last several
11   born in Kansas. And, so, that's why I included that as    11   years.
12   one of the questions.                                     12         Q So the point that you're trying to make
13        Q Okay. So your final estimate then is               13   is that, if we try to extrapolate from the suspense
14   2.2 percent of the citizens on the suspense list do not   14   list, citizens on the suspense list, to the total adult
15   have a citizenship document that can satisfy the proof    15   citizen population of Kansas, we have a selection bias
16   of citizenship law, do not have someone who keeps such    16   problem here; right? Because the suspense list
17   a document for them, and were not born in Kansas;         17   citizens may be different in a relevant way from the
18   correct?                                                  18   adult citizen population as a whole of Kansas; correct?
19        A Right.                                             19         A In particular, we know the selection
20        Q And if there are about 2 million adult             20   mechanism. So the select mechanism is based precisely
21   citizens in Kansas, then if we take your estimate of      21   on the thing we're measuring -- we're assessing here.
22   the citizens on the suspense list of 2.2 percent and      22   The selection mechanism is based upon providing one of
23   apply it to the total adult citizen population in         23   these mechanisms of proof of citizenship.
24   Kansas, we would arrive at an estimate of over 40,000     24        Q Is it your opinion that when you have a
25   citizen adults in Kansas who do not possess a             25   selection bias problem, that when you try to generalize

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 1 citizenship document that could satisfy the proof of         1   from a sample to a larger population, that means that
 2 citizenship law, do not have someone who keeps such a        2   that kind of generalization gives you no information
 3 document for them, and were not born in Kansas;              3   about the larger population?
 4 correct?                                                     4        A No. This gives us some information,
 5      A That's incorrect.                                     5   information that there are some individuals who lack,
 6           Professor Ansolabehere's report did such           6   lack this documentary proof. We -- I think we have a
 7 an analysis, but that analysis has an inappropriate          7   reasonably -- you know, we have an estimate for the
 8 calculation of the percentage.                               8   suspense list of the portion of people on the suspense
 9           To do this analysis, you would need to             9   list without a means to provide such evidence.
10 look at the overall number of individuals who               10             So I would be entirely comfortable with
11 registered to vote in Kansas during the time period         11   extrapolating from the sample to the suspense list as a
12 that this suspense list was in operation, because there     12   whole in terms of what portion of people on the
13 are thousands of people who provide -- registered to        13   suspense list are citizens who don't have a means to
14 vote and provided proof of citizenship. So the              14   prove their citizenship.
15 suspense list is a subset of the total number who           15             Where I become uncomfortable is when one
16 registered to vote.                                         16   neglects the fact that some of the individuals over the
17           The proper percentage would be the --             17   last several years who registered to vote in the state
18 would be based upon that larger population of               18   of Kansas are not on the suspense list, and those
19 individuals, individuals who registered to vote and         19   individuals are not on the suspense list because, in
20 provided documentation. The suspense list is                20   one way or another, they have documented that they are
21 individuals who registered to vote and did not provide      21   citizens.
22 that documentation.                                         22        Q So because of this selection bias problem
23      Q So the point that you're making is,                  23   that we've identified, you think it would be
24 correct me if I'm wrong, that the suspense list is not      24   methodologically inappropriate to take your percentage
25 representative of the adult citizen population in           25   estimate from the suspense list citizens and apply it

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 1   to the entire adult citizen population of Kansas;          1   they certainly would have access within some period of
 2   correct?                                                   2   time consistent with acquiring it to provide that
 3        A If we did that without first adjusting              3   evidence, I would expect.
 4   for the overall rate of registration in Kansas, I          4        Q You say it's an "overstatement." What do
 5   believe we would end up with an estimate that was too      5   you mean by that?
 6   high.                                                      6        A "Immediate" might have been too strong a
 7        Q Do you have any estimates for that latter           7   choice of word.
 8   number, the percentage of adult citizens in Kansas who     8        Q When you asked the question, does someone
 9   don't have a citizenship document that can satisfy this    9   else have such a document for you, and a respondent
10   law, don't have someone who has such a document for       10   says yes, do you know anything about who that someone
11   them and were not born in Kansas?                         11   who has that document for them is?
12        A I attempted to get the information. I              12      A No.
13   would need to do that estimate. I asked -- it was one     13      Q Do you know anything about where the
14   of the things I, I believe I mentioned to the Secretary   14   person who has the citizenship document for the survey
15   of State's office as I was working on preparing this      15   respondent is?
16   report. Unfortunately, I did not receive that             16       A No.
17   information, partly because I realized I needed it very   17       Q It's possible that the person -- that the
18   late in the day, so they did not have time to put that    18   respondent who says yes in response to this question is
19   together.                                                 19   referring to someone who lives in another state; right?
20        Q So the Secretary of State's office did             20        A That is possible. Upon reflection,
21   not give you the information that you need to make an     21   looking at this language right now, I would have
22   estimate of the percentage of citizen adults in Kansas    22   preferred if I had left out the word "immediate."
23   who lack a citizenship document, don't have someone who   23        Q It's possible when someone answers
24   has such a document for them, and were not born in        24   affirmatively that someone else has their citizenship
25   Kansas; correct?                                          25   documents that they could be referring to a relative;

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 1      A I don't have that information at this                 1   right?
 2 time. Perhaps they'll provide it to me at some point.        2        A Why not?
 3      Q Okay.                                                 3        Q You don't know one way or the other
 4      A And, so, in my -- in my response to                   4   though; right?
 5 Ansolabehere on this issue, I pointed out the bias, but      5        A Yeah.
 6 I did not provide my own estimate.                           6        Q Could be a friend who has the citizenship
 7      Q Now, back to your report, your initial                7   document for them; right?
 8 report, Exhibit 1, on page 9.                                8        A Could be.
 9           The last sentence of the first full                9        Q Could it be a government official who has
10 paragraph reads: "Thus, only" 2.2 percent --                10   the citizenship document for them?
11 "2.3 percent, unweighted, of self-reported citizens on      11        A The question does not specifically
12 the suspense list indicated that they did not have          12   address this issue, so my answer to any sequence of
13 immediate access to the documentation required to prove     13   queries about who it could be is, I suppose, the
14 their citizenship status to the state of Kansas."           14   specific language of the questions where someone else
15           Did I read that correctly?                        15   keeps documents for you, that kind of thing. So that
16      A You did.                                             16   was the -- that was the category.
17      Q And did you use the word immediate -- the            17        Q When you say, when a survey respondent
18 words "immediate access" in your survey instrument?         18   says that someone else keeps the documents for them, do
19      A No, I did not. That was a extrapolation.             19   you have any information about how difficult it would
20      Q So, from the fact that someone says that,            20   be for the survey respondent to obtain that document
21 on your survey, that there's someone else who holds a       21   for purposes of complying with the Kansas voter
22 citizenship document for them, you interpret that to        22   registration requirement?
23 mean that the person has immediate access to a              23        A I do not for those individuals. And, so,
24 citizenship document; correct?                              24   for, for those individuals, it's possible that in some
25      A That was probably an overstatement, but              25   cases that would be more challenging than for others.


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 1        Q And you'd agree that getting a                      1 purposes of voter registration?
 2   citizenship document from someone else constitutes an      2      A I, as I already stated, I do not know
 3   additional step in the voter registration process that     3 details of that process.
 4   someone who already possesses the documents wouldn't       4      Q Do you know what information is available
 5   have to engage in; correct?                                5 to voter registration applicants about obtaining a free
 6        A Yes.                                                6 birth certificate for purposes of registering to vote
 7        Q And you would agree that that's an                  7 in Kansas?
 8   increase in the marginal cost of voter registration,       8      A I have not examined that material.
 9   trying to get a document from someone else, rather than    9      Q Now, I think -- if we turn back to your
10   simply getting a document that you already have; right?   10 rebuttal report.
11        A In most instances it would be.                     11      A Okay.
12        Q You included estimates about people who            12      Q Almost there.
13   are born in Kansas, and you say you did that because      13           Page 16. Paragraph 36. The final
14   your understanding is that people who are born in         14 sentence in -- on this page that continues to the next
15   Kansas can obtain free birth certificates; correct?       15 page.
16        A Yes.                                               16           You write: "I would note that this
17        Q What is the basis of that understanding?           17 survey did not include a question about the final
18   Who is the source of your information for that?           18 option available to individuals in order to demonstrate
19        A I believe the source was Garrett Roe in            19 citizenship, an appeal based on this form."
20   the Secretary of State's office, but it could have been   20           And then you give a link.
21   the Secretary of State himself or -- but I think it was   21      A That's right.
22   one of those.                                             22      Q Why did you include this sentence in your
23             It may have also been partly through my         23 rebuttal report?
24   examination of an earlier survey, which was done I        24      A Because I thought it was relevant to
25   think last year, which included that category. I may      25 understanding the overall question of whether


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 1 have asked about what it meant.                              1   individuals are excluded from the electoral process.
 2      Q Why did you decide to include a question              2            So my understanding, based on
 3 about being born in Kansas and free birth certificates       3   conversations with Garrett Roe, is that this process is
 4 in your survey instrument?                                   4   another option for individuals who have difficulty
 5      A Because that is one of the ways that an               5   documenting citizenship status. There's a form, they
 6 individual can obtain the relevant document.                 6   explain what the circumstance is, and then he described
 7      Q Now, if -- would you agree that if                    7   to me sitting in on a telephone hearing where somebody
 8 someone doesn't have a citizenship document and they         8   provided the form and then, on a conference call, they
 9 have to apply for a free birth certificate in order to       9   explained to the relevant officials what the situation
10 comply with the proof of citizenship requirement for        10   was, and he was taken off the suspense list.
11 voter registration in Kansas, that's an extra step that     11        Q Were you aware of this appeals process at
12 that person would have to take in order to register to      12   the time that you completed your initial report in this
13 vote, above and beyond what someone who already has         13   case?
14 such a document would have to take?                         14        A I was aware of the appeals process, and I
15      A Yes.                                                 15   believe there was some mention of it on the previous
16      Q And would you agree that that would                  16   survey, but I'm not certain of that.
17 increase the marginal cost of voter registration for        17        Q The survey? You didn't mention the
18 that individual?                                            18   appeals process as a question in your survey, did you?
19      A Potentially to a, to a degree. I don't               19        A No, no. The survey that was conducted
20 know the specific mechanics of how they request for a       20   for the state of Kansas last year, I think. It was
21 birth certificate. It may well be automated in the          21   probably part of this litigation process.
22 sense that it provides -- has very little marginal          22             I received a, a report that I think
23 cost. I don't know the details of that policy.              23   included questions from that survey.
24      Q Do you know anything about the process of            24        Q Was --
25 obtaining a free birth certificate in Kansas for the        25        A It may have been mentioned there, I'm not

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 1   sure.                                                     1   list who indicated that they were citizens but were
 2        Q Was it your idea to include a reference            2   within that 2.2 percent who you describe as not having
 3   about the appeals process in your rebuttal report?        3   access to citizenship documents, you sought to
 4        A Yes.                                               4   ascertain whether or not there was any government
 5        Q And you say you learned about it from              5   information about whether or not these individuals are,
 6   Garrett Roe?                                              6   in fact, citizens; correct?
 7        A Yes, last winter sometime.                         7        A Yes.
 8        Q Do you know if eligible voters in Kansas           8        Q Are you expressing the opinion that these
 9   are aware of this appeals process?                        9   32 individuals who, in your words, lack access to
10        A It's on the Secretary of State's website.         10   citizenship documents, are in fact non-citizens?
11   So I do not know the degree of awareness.                11        A I, I noted the breakdown of different
12        Q Do you know where on the Secretary of             12   categories of response that were received in my report.
13   State's website? Is it like on the banner or is it --    13   This was on page 9. It's the second full paragraph.
14   I mean, the link.                                        14             And it -- I note that all received the
15        A There's a link.                                   15   code "unknown," which is defined as "individuals that
16        Q So there's a link?                                16   have never been encountered by DHS or are possible U.S.
17        A I found a link from working my way                17   citizens but databases lack information to verify,
18   through the website, so --                               18   therefore these individuals could either be noncitizens
19        Q Roughly, how long did it take you to find         19   who are unlawfully present in the United States or they
20   that link working your way through the website?          20   could be United States citizens."
21        A Maybe a minute.                                   21            My impression is if they were lawfully
22        Q And you have a Ph.D.; right?                      22   present, most likely they would be in the database. So
23        A I do.                                             23   that -- my, my inference was not that these were in one
24        Q Do you know if this form is -- do you             24   of those categories or another; I indicated that they
25   know how this form for an appeal to establish            25   could be in either of those categories.

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 1 citizenship is submitted?                                   1      Q When you say "either of those
 2      A I don't, I don't know the details. I                 2 categories," what categories are you referring to?
 3 imagine that's on the form.                                 3      A Either be -- the language of my report
 4      Q Do you know anything about the appeals               4 was either be non-U.S. citizens who are unlawfully
 5 process itself and how it functions?                        5 present in the United States or they could be United
 6      A I do not know much. I, I mentioned                   6 States citizens.
 7 already one of the things that I know, which was the        7      Q Is that your view for every person we've
 8 vignette that Garrett Roe shared with me in terms of        8 discussed in this report whose citizenship status you
 9 his experience sitting in on one of them.                   9 never verified with ICE, that these could be citizens,
10      Q Do you know how many of these appeals               10 they could be undocumented immigrants?
11 processes to establish citizenship have taken place in     11      A No. This is based upon the categories of
12 the state of Kansas?                                       12 response from ICE. So this was the group from the
13      A I don't know.                                       13 suspense list that we did send to ICE. We discussed
14      Q Would you agree that if someone has to              14 earlier the group that we didn't. But this group did
15 apply for an appeal to establish that they are a U.S.      15 get sent to ICE and, and the response from ICE was not
16 citizen before the Attorney General, the Secretary of      16 particularly illuminating in this case, in terms of
17 State, and the Lieutenant Governor of Kansas, that that    17 identifying the status of these individuals.
18 would constitute an additional step above and beyond       18           So the only inference I think one can
19 what is necessary to register to vote in most states?      19 make, which is what I tried to articulate there, is
20      A Yes.                                                20 that these are individuals that ICE has not
21      Q Would you agree that that appeals process           21 encountered. It could be that these are individuals
22 increases the marginal cost of voting as compared to       22 that ICE has not encountered because they're U.S.
23 the voter registration process in most states?             23 citizens and ICE has never had any reason to encounter
24      A It is a, an additional step.                        24 them; or it could be, conversely, that these are
25      Q For the 32 individuals on the suspense              25 individuals that ICE has not encountered because,


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 1 although they are not U.S. citizens, they have avoided     1      Q It's always dangerous to try to make
 2 having specific visas or other documents that ICE might    2 definitive statements for a large population based on a
 3 be aware of.                                               3 sample of, in this case, 32 individuals; right,
 4      Q You are not drawing the inference that              4 Professor Richman?
 5 the respondents on your suspense list survey who           5      A As I articulated before, you encounter
 6 indicated that they were non-citizens and were within      6 large degrees of uncertainty when you do that.
 7 the 2.2 percent that you describe as not having access     7      Q Okay.
 8 to citizenship documents, you are not making the           8           One last question about people who apply
 9 inference that these people are, in fact, non-citizens;    9 for and obtain TDLs.
10 correct?                                                  10           Someone who -- or --
11      A That is not the inference I'm making.              11      A Is there a particular place in this
12 There are several possibilities in terms of who they      12 report that --
13 are. It's also possible that ICE was not able to          13      Q No.
14 match, but perhaps these are individuals who were in      14      A Okay.
15 the ICE database. So I, I suppose that's another          15      Q Non-citizens who are here temporarily but
16 category.                                                 16 never apply for a driver's license are not on the TDL;
17      Q Looking at page 9, the last paragraph, is          17 correct?
18 it correct to say that of the survey respondents on the   18      A That's my impression. That's a temporary
19 suspense list who indicated they were citizens and did    19 driver's license list.
20 not, as you described them, have ready access to          20      Q And, so, one difference between people in
21 citizenship documents, that of those individuals,         21 the TDL and people not on the TDL -- and here I'm
22 18.8 percent are African-American?                        22 talking just about non-citizens who are in the United
23      A That is one of the numbers I, I noted              23 States temporarily, legally -- is that we know for a
24 here, yes.                                                24 fact that people who have obtained a TDL have had an
25      Q Are you aware that according to recent             25 interaction with the DMV where voter registration is


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 1 census data, the -- Kansas's population is about           1 offered, whereas we don't know whether or not
 2 6 percent black?                                           2 individuals who are similarly situated but haven't
 3      A I wasn't aware of the specific                      3 applied for a TDL have had such an interaction with the
 4 demographic -- I didn't have that right at the top of      4 state; correct?
 5 my head.                                                   5      A Yes, that's true.
 6      Q Does that sound wrong to you?                       6      Q And that would be a difference between
 7      A No.                                                 7 temporarily present non-citizens, here legally, in the
 8      Q Okay.                                               8 TDL, and those temporarily present non-citizens here
 9           So if about 6.3 percent of Kansas's              9 legally who are not in the TDL; correct?
10 population is black, comparatively speaking,              10      A Yes, that would be a difference between
11 African-Americans are represented at about three times    11 those groups. I would -- so that could be a difference
12 their rate in the overall population among the citizens   12 that would lead to differences in results.
13 on the suspense list whom you describe as lacking ready   13           MR. HO: Could we just take two minutes
14 capacity to document their citizenship; correct?          14 and -- I don't think I'm going to have questions after
15      A Well, this is based on an estimate which           15 the break, so you can start, I think, right after the
16 has -- would have, consequently, a degree of              16 break with whatever you might have. But I just want
17 uncertainty. It appears that they are present on the      17 to, before I rest, just check with my co-counsel.
18 suspense list at a higher rate.                           18           MR. ROE: Why don't we take ten minutes.
19           On the other hand, for a sample of about        19           MR. HO: Yeah.
20 this size, as we were discussing before, the size of      20           THE VIDEOGRAPHER: Going off the record
21 the confidence intervals is very large. So my guess is    21 at 5:35 p.m.
22 that if one did a, a test to see whether the estimate     22           (Recess)
23 was significantly higher than the overall rate in the     23           THE VIDEOGRAPHER: Back on the record at
24 state, one would not be able to reject the null           24 6:27 p.m.
25 hypothesis.                                               25           MR. HO: We do not have any other

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 1 questions for you right now, Professor Richman.            1 attest they are citizens.
 2           THE WITNESS: Thank you.                          2      Q So if an individual provides a
 3                                                            3 non-citizenship document, it would be your
 4                 EXAMINATION                                4 understanding that they would still have to attest to
 5 BY MR. ROE:                                                5 being a citizen before they could register to vote;
 6      Q So, Professor Richman, I just have a few            6 correct?
 7 questions based on questions that were asked by Mr. Ho     7      A That would be my understanding.
 8 earlier.                                                   8      Q Regarding Sedgwick County, in your
 9           First off, you were asked about using the        9 initial report you discuss, I think a 2016 data, and
10 term "immediate access" regarding proof of citizenship    10 then your rebuttal report, you discussed the 2014/2015
11 documents. Are you an expert on --                        11 data; is that correct?
12           THE COURT REPORTER: I'm sorry; involving        12      A That's correct.
13 what documents? I didn't understand.                      13      Q And in your rebuttal report you mentioned
14           MR. ROE: Proof of citizenship documents.        14 findings -- you mentioned, I think you used the term
15           THE COURT REPORTER: Thank you.                  15 the "more valid" approach; is that correct?
16 BY MR. ROE:                                               16      A That was in talking about another
17      Q Are you an expert on election                      17 possible analysis, which I did not emphasize in the
18 administration in Kansas?                                 18 report, which was looking at the full set of data from
19      A No, I'm not.                                       19 2013 through 2015. The, the reason for not including
20      Q Were you hired to be an expert on                  20 2013 is that Sedgwick County only began to attend
21 election administration?                                  21 naturalization ceremonies partway through the year,
22      A No.                                                22 based on the information that was provided to me.
23      Q So do you know the different methods in            23      Q Were the findings between your initial
24 which a person can provide their citizenship documents    24 report and your rebuttal report, were there -- were
25 to election officials?                                    25 they similar or were they different?


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 1      A No, I have not studied that.                        1       A They were very similar, so in one report
 2      Q Do you know whether somebody has to                 2 the estimate was 1 percent, in the other report the
 3 provide it in person?                                      3 estimate was .9 percent.
 4      A I do not know.                                      4       Q Okay. Exhibit 22 would be
 5      Q Do you know whether somebody else can               5 Professor Ansolabehere's rebuttal report -- I'm sorry,
 6 provide it for that person?                                6 his report.
 7      A I do not know.                                      7          In that report --
 8      Q Okay. On page 5 of your initial report,             8       A I don't think that's Exhibit 22, but --
 9 you discussed the individuals who were not in the DHS      9 that's my response to his paper.
10 database.                                                 10          20 is, I believe, his rebut -- his
11           Do you know whether there is a federal          11 report.
12 database that includes all U.S. citizens that states      12       Q Okay. Okay. Sorry. Let me rephrase
13 can query?                                                13 that.
14      A My impression is that there is no such             14          Ans -- Professor Ansolabehere mentions in
15 database.                                                 15 your -- in his criticism of you, I think first in his
16      Q Page 34 of your rebuttal earlier, you              16 paper and then in his rebuttal -- in his report that
17 were asked about whether it was bad practice to offer     17 you don't take into account individuals who may have
18 an opportunity to register to vote to someone who         18 reported being a citizen and then a non-citizen. I
19 showed a non-citizen document. Do you remember that?      19 think the term he used in his report was that would be
20      A Yes.                                               20 impossible that somebody would be a citizen in 2010 and
21      Q Do you know when somebody applies to               21 a non-citizen in 2012; is that correct?
22 register to vote whether they have to attest to being a   22       A That's what he stated.
23 United States citizen?                                    23          And, so, I think what, what he's trying
24      A Yes. The federal voter form, and I                 24 to imply there is that, you know, his argument is that
25 believe the Kansas form as well, require individuals to   25 these are principally citizens who misstated their


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 1 citizenship status.                                        1   substantial portion of the time in their analysis of
 2           Based on a variety of other analyses I've        2   individuals who twice confirmed that they were
 3 run, I think there's -- that a much larger proportion      3   non-citizens.
 4 than one would expect, based on assuming that the -- as    4            So, for instance, I noted that, analyzing
 5 Professor Ansolabehere does in his electoral studies       5   the binomial distribution, with one set of assumptions,
 6 paper, that the same portion of citizens and               6   one would get the null value 57.4 percent of the time;
 7 non-citizens make a mistake on that question, I think      7   with another set of assumptions, one would get it
 8 there's -- there are a variety of sources of evidence      8   72.4 percent of the time. So that suggests there's
 9 that non-citizens are more likely to misstate              9   quite a substantial probability that one would get
10 citizenship status.                                       10   exactly the results they got in their analysis of
11      Q Okay.                                              11   individuals who twice said they were non-citizens if
12           Exhibit 21, I think was a letter that           12   the estimates in our original paper were, were right.
13 co-counsel -- opposing counsel showed you from various    13            And then going beyond that, there were a
14 political scientists.                                     14   number of -- there were a number of other things I
15      A Yes.                                               15   objected to in this, in this letter.
16      Q Is there anything in this letter you take          16            One of the -- one, one of the other
17 exception to?                                             17   issues involves the assertions about response error in
18      A So, another of the exhibits was                    18   the CCES.
19 specifically my response to this. There are a number      19            The additional analyses that I've done on
20 of, of limitations and problems with this letter that I   20   the issue of response error suggests that response
21 took exception to.                                        21   errors tend, on the immigration status question, tend
22           I titled that response -- let me find           22   to be concentrated among non-citizens; and there's also
23 which exhibit it is.                                      23   some indications that these errors are particularly
24           This is -- that was Exhibit 11. I titled        24   prevalent in contexts where not making a response error
25 it: "I would sign the 'open letter' if it were true."     25   would be -- would involve an admission of registration

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 1            My sense was that, in a variety of ways,        1   or voting that would be inappropriate, given
 2 the open -- the text of the open letter was misleading     2   citizenship status.
 3 and that -- and inaccurate. And in my response, I          3            And the, the final thing I, I objected to
 4 raised a number of different ways in which I thought       4   was the language in the final paragraph, which attempts
 5 that was the case.                                         5   to assert that the study -- 2014 study by myself,
 6            For example, in the second paragraph,           6   Gulshan Chattha, and David Earnest should not be cited
 7 they quote -- they cherry pick a quote about only one      7   or used in any debate over fraudulent voting.
 8 of the confidence intervals that was provided in the       8            I think that as one -- I have attempted,
 9 study, and that was a confidence interval for the          9   as I noted in my response to their letter, I have
10 estimate that was less precise, giving the sense that     10   attempted to frequently mention the Ansolabehere study.
11 we were claiming a much higher and more precise rate of   11              I believe that, ultimately, there should
12 non-citizen participation in elections than we in fact    12   be a public dialogue in which all sides are considered,
13 were.                                                     13   and I've tried to ensure that people are aware of both
14            And then they make some very strong            14   my work and the work of critics of that study.
15 claims about the Ansolabehere, Luks, and Schaffner        15              And, so, the -- my, my sense is that
16 paper. And the, the -- there are a number of issues       16   if -- as -- and I quote here from another of the pieces
17 that I think are raised, problems with taking such        17   I wrote, that we stand by our study but we encourage
18 strong claims from that paper.                            18   people to read the critiques too.
19            One of the key ones, as I articulated in       19              I think that the public debate on the
20 this letter, in response -- in my response to this        20   issue of the frequency of non-citizen registration and
21 letter, is that the -- if, if one believes that the       21   voting should not be shut down on the basis of a study
22 estimated rates of non-citizen voting that were           22   like the Ansolabehere, Luks, and Schaffner study, which
23 reported in the CCES analyses that we did are exactly     23   provides, as I have said in various forums, potentially
24 right, one would expect to get precisely the responses    24   a constructive contribution to the literature, but it
25 that Ansolabehere, Luks, and Schaffner got a              25   is by no means the appropriate last word on, on this

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 1 question.                                                    1   deposition you've mentioned that you wanted certain
 2           They raise some issues; but at the same            2   follow-up questions on the CCES or on immigration
 3 time, the issues that are raised are ones that are --        3   status questions; is that correct?
 4 that in, for example, in the working paper that's one        4        A Yes.
 5 of -- I don't remember which number it is here, 23, or       5        Q And I think you also mentioned that you
 6 something like that -- no, it's not 23, it's one of the      6   had, you have maybe spoken to Professors Schaffner and
 7 exhibits that we discussed, a working paper with             7   Professor Ansolabehere on this?
 8 Gulshan Chattha and David Earnest -- a number of the         8        A I believe I spoke with both of them at a
 9 hypotheses that would arise that would be true if their      9   conference, the Southern Political Science Association
10 suggestion that non-citizens who said they voted are        10   conference, in 20 -- early 2016, and then I sent up a
11 actually all or very nearly all citizens just don't         11   follow-up -- sent a follow-up email to Professor
12 bear out.                                                   12   Schaffner based on that conversation proposing specific
13      Q Okay.                                                13   questions.
14           So, regarding the CCES study then, it             14            And his response was that -- it was,
15 seems like his hypoth -- Ansolabehere's hypothesis in       15   thanks, Jesse, we'll try to get this on the 2016 common
16 his report is that the incidence of (inaudible) --          16   content.
17           THE COURT REPORTER: I'm sorry.                    17       Q Is that a copy of the emails?
18           -- "the incidence of" --                          18       A These are a copy of the emails, yes.
19 BY MR. ROE:                                                 19       Q Let's put them into evidence then.
20      Q -- the incidence in the -- in your report            20            What was the last exhibit?
21 can be based entirely on response error; is that            21       A I believe it was 23.
22 correct?                                                    22            MR. ROE: Okay, this is going to be
23      A That's -- that seems to be the argument              23   Exhibit 24.
24 they are making, and --                                     24            (1/13/16 email string re: Proposed
25      Q Well, have you done other analyses to                25            non-citizen follow-up question for CCES

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 1   investigate the -- that claim?                           1             marked as Richman Exhibit Number 24)
 2        A Yes.                                              2             (Discussion off the record)
 3            So if they are right that individuals who       3     BY MR. ROE:
 4   said they -- all or nearly all of the individuals who    4         Q And this is an email from you to
 5   said they are non-citizens in the CCES and for whom we 5       Professor Schaffner; correct?
 6   have indications that they voted are actually citizens, 6          A That's right. It's an email from me to
 7   then in a variety of ways we might expect them to look 7       Professor Schaffner with the email chain below that, in
 8   more like citizens and less like non-citizens.           8     terms of Professor Schaffner's reply to my initial
 9             In fact, across a range of comparators --      9     email and then my reply to Professor Schaffner's email.
10   we looked at, for instance, a number of different       10         Q And have you received any more emails
11   questions on immigration policy. The people who said 11        from Professor Schaffner after January 13, 2016?
12   they were non-citizens and cast validated votes, for 12            A I received no further emails from him
13   example, were very similar to the other individuals who 13     about this issue.
14   said they were non-citizens and quite distinct from     14               I followed up recently with him about the
15   naturalized citizens or all citizens. And, so, that's   15     issue of inclusion of the question, and he, he did not
16   not what you would expect; similarly on presidential 16        specifically address my query on that.
17   preference.                                             17         Q Do you know who designs the survey
18             There were a number of other analyses         18     questions for the CCES?
19   that we did which all aligned in the same way, in terms 19         A My impression is that it's done by a
20   of indicating that these individuals were very much 20         group of people, but the leaders on the, the survey
21   like other non-citizens and very much not like          21     design are Professors Schaffner and Ansolabehere. They
22   citizens, which is directly contrary to what one would 22      are the principal investigators for the study.
23   expect in the -- if Ansolabehere, Luks, and Schaffner 23            Q So if these questions were to be included
24   were correct.                                           24     in the survey, it is likely that Professor Schaffner
25        Q I think a few times in your -- in this           25     and Professor Ansolabehere would make that decision?


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 1        A I, I would imagine they would play a key            1           Now, earlier you were asked about public
 2   role in that decision making.                              2 education in Kansas with non-citizens.
 3        Q Okay.                                               3           Do you know whether Kansas law prevents
 4             Earlier, you were asked about                    4 non-citizens from registering to vote?
 5   professor -- confidence intervals quite a bit, and you     5      A I believe it does.
 6   mentioned that Professor Ansolabehere's confidence         6      Q In your research in this case, have you
 7   interval used -- confidence intervals used were, quote,    7 found that noncitizens are registering to vote
 8   wildly inappropriate.                                      8 nevertheless?
 9             Do you remember that?                            9      A Yes.
10        A Yes.                                               10      Q Do you know whether Kansas law has speed
11        Q Why do you believe they were wildly                11 limits?
12   inappropriate?                                            12      A I do. I drove through Kansas in 2015 and
13        A Professor Ansolabehere's confidence                13 there were speed limits.
14   intervals are based on an assumption that 50 percent of   14      Q Do you know whether Kansas -- speed
15   individuals who were asked or otherwise assessed on the   15 limits in Kansas are violated?
16   issue of non-citizen registration were registered.        16      A My impression from driving through Kansas
17   They were based on that 50 percent assumption. I have     17 is that that does happen.
18   a graph in my, my second report which depicts what the    18      Q Okay. Going back to the CCES regarding
19   confidence interval looks like as you -- the size of      19 education, there's some questions regarding that
20   it -- as you shift across the different assumptions.      20 specific point, that I think counsel was asking about
21             I think it was an odd assumption to make        21 the differences in voting between education levels of,
22   for a number of reasons, including that                   22 I think naturalized citizens; is that correct?
23   Professor Ansolabehere's is in print in other places      23      A I'm sorry, please restate the question.
24   asserting no or almost no non-citizens participate in     24      Q Earlier you were asked questions about --
25   voting U.S. elections. It would seem odd to assume        25 this goes back to the issue of education and


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 1 that 50 percent do, and more appropriate, I would            1 non-citizens.
 2 argue, to take as a base starting position, that the         2      A Oh, yeah.
 3 observed proportion is, is the relevant proportion for       3      Q I think you were asked questions about
 4 calculating confidence intervals. That's how                 4 the different rates of -- was it voting of naturalized
 5 confidence intervals for specific probability, binomial      5 citizens?
 6 estimates are typically calculated.                          6      A That's right, yeah. I was asked about
 7       Q If you go back to Exhibit 21, which is               7 voting by non-citizens. And I mentioned a study that I
 8 the letter signed by the various political                   8 think is cited in the -- my --
 9 scientists --                                                9      Q I'm sorry. Real --
10       A Yes.                                                10      A -- 2014 paper --
11       Q -- the last sentence in the second to               11      Q Sorry.
12 last paragraph, it quotes: We agree with Ansolabehere,      12           (Talking over)
13 et al., that, quote, the likely percent of non-citizen      13           THE COURT REPORTER: Excuse me. You have
14 voters --                                                   14 to speak one at a time.
15            THE COURT REPORTER: I'm sorry?                   15 BY MR. ROE:
16            MR. ROE: -- the likely percent of                16      Q You were asked about voting by
17 noncitizen voters in recent U.S. elections is zero, end     17 naturalized citizens or by non-citizens?
18 quote.                                                      18      A I think I was asked questions relating to
19 BY MR. ROE:                                                 19 voting by non-citizens.
20       Q You know what? Scratch that. Never                  20      Q Okay.
21 mind.                                                       21      A I think I was also asked a question about
22       A Yeah, this is an example of what I was              22 whether patterns of vote -- the level of voting or
23 just talking about. It makes the 50 percent assumption      23 registration not being associated with --
24 surprising.                                                 24      Q Oh, okay.
25       Q Okay.                                               25      A -- education occur in other groups.

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 1      Q Okay.                                                 1       I, JESSE T. RICHMAN, PH.D., do hereby certify
 2      A And in that context, I mentioned studies              2   that I have read the foregoing transcript of my
 3 of non -- of naturalized citizens.                           3   testimony and further certify that said transcript,
 4      Q So going to the issue of non-citizens, so             4   with the corrections noted below, is a true and
 5 you discussed differences in, in the voting rate of          5   accurate transcript of said testimony.
 6 non-citizens; correct?                                       6       Dated at __________ this _____ day of ________,
 7      A Yes.                                                  7   2017.
 8      Q But you were not asked about the                      8
 9 differences in rates of non-citizens registering to          9
10 vote; correct?                                              10                ERRATA SHEET
11      A Yes.                                                 11   PAGE LINE    CORRECTION        REASON FOR CHANGE
12           And in my rebuttal report, I talk about a         12   ____ ____ ______________________ _________________
13 number of analyses looking at the association between       13   ____ ____ ______________________ _________________
14 registration rates and education, and I did not             14   ____ ____ ______________________ _________________
15 identify any analyses that were -- that showed a            15   ____ ____ ______________________ _________________
16 statistically significant association in either             16   ____ ____ ______________________ _________________
17 direction between non-citizen registration and              17   ____ ____ ______________________ _________________
18 education.                                                  18   ____ ____ ______________________ _________________
19      Q Okay.                                                19   ____ ____ ______________________ _________________
20           MR. ROE: Can we take just a two-minute            20   ____ ____ ______________________ _________________
21 break? I think I'm done. But I just want to check one       21   ____ ____ ______________________ _________________
22 thing.                                                      22   ____ ____ ______________________ _________________
23           THE VIDEOGRAPHER: Going off the record            23   ____ ____ ______________________ _________________
24 at 6:51 p.m.                                                24   ____ ____ ______________________ _________________
25           (Recess)                                          25


                                                   Page 354                                                       Page 356
                                                                1
 1             THE VIDEOGRAPHER: Back on the record at          2
                                                                3                    ______________________
 2   6:53 p.m.
 3   BY MR. ROE:                                                4                    JESSE T. RICHMAN, PH.D.

 4        Q Okay. I just have one last question.                5
 5             Going back to Exhibit 21, which is the           6
 6   letter of the political scientists, the third              7
 7   paragraph, where it starts -- I think it's the one,        8
 8   two, three -- the fourth sentence starts: "Stephen         9   COMMONWEALTH OF VIRGINIA AT LARGE, to wit:
 9   Ansolabehere, Samantha Luks, and Bryan Schaffner          10
10   demonstrated in a 2015 paper the response error           11
11   explains nearly all of this is posed at non-citizens in   12            Subscribed and sworn to before me this ______
12   Richman's, et al., sample who voted."                     13   day of ___________________, 2017.
13             Do you agree that that paper demonstrated       14
14   that as a fact?                                           15
15        A No, I do not.                                      16
16             MR. ROE: Okay. I'm done.
                                                               17
17             MR. HO: No more questions from us.
                                                               18
18             THE VIDEOGRAPHER: Okay. This deposition
                                                               19                     ___________________________________
19   is complete at 6:53 p.m.
20             (Whereupon, the deposition was concluded        20
                                                                                                 Notary Public
21             at 6:53 p.m.)                                   21   MY COMMISSION EXPIRES:

22                                                             22   _____________________

23                                                             23
24                                                             24
25                                                             25


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 1 COMMONWEALTH OF VIRGINIA AT LARGE, to wit:
 2          I, Kerry E. Zahn, RMR-CRR, Notary Public for
 3 the Commonwealth of Virginia at Large, of qualification
 4 in the Circuit Court of the City of Norfolk, Virginia,
 5 and whose commission expires March 31, 2021, do hereby
 6 certify that the within named deponent, JESSE T.
 7 RICHMAN, PH.D., appeared before me at Norfolk,
 8 Virginia, as hereinbefore set forth, and after being
 9 first duly sworn by me, was thereupon examined upon his
10 oath by counsel for the parties; that his examination
11 was recorded in Stenotype by me and reduced to computer
12 printout under my direction; and that the foregoing
13 constitutes a true, accurate and complete transcript of
14 such proceeding.
15         I further certify that I am not related to nor
16 otherwise associated with any counsel or party to this
17 proceeding, nor otherwise interested in the event
18 thereof.
19          Given under my hand and notarial seal this
20 26th day of April, 2017, at Norfolk, Virginia.
21
22
23
24 Kerry E. Zahn RMR-CRR
   Notary Registration No. 209810
25




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                         323:1;331:3,9;333:7,    actual (11)              adopting (1)              agencies (1)
           $             20;337:10                 91:9,10;93:17,19;         108:8                     290:6
                       accessible (1)              120:16;121:9;144:1;    ads (1)                   ages (3)
$100 (2)                 66:2                      255:11;257:17;            109:2                     41:10,14;282:10
  9:24;10:22           accidental (1)              259:12;265:13          adult (10)                aggravated (1)
$250 (1)                 51:9                    actually (35)               114:19;137:25;            27:4
  10:24                accidentally    (1)         13:11;32:18;56:9;         317:20,23;318:25;      aggregate (3)
                         260:6                     64:22;68:14,16;           319:3,14,18;321:1,8       143:8;145:21;
            A          accomplish (1)              73:25;76:6;105:22,     adults (4)                   149:17
                         290:21                    23;135:22;159:18;         144:9;145:1;           aggregated (1)
AAPOR (3)              According     (2)           172:5;188:10;208:19,      317:25;321:22             217:5
  219:15,21;220:5        219:15;333:25             25;210:3,6;211:14;     advance (2)               aggregates (5)
A-A-P-O-R (1)          accordingly (1)             213:19;227:10;            64:14,21                  112:1;141:3,15,17;
  220:6                  153:22                    236:21;239:14;         advantage (1)                147:15
ability (1)            account    (13)             240:17,21;244:11,23;      104:24                 aggregating (2)
  201:4                  38:12;101:2;              255:2;256:5;258:8;     advantaged (1)               141:8;143:12
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